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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

                                                   )
 UNITED STATES SECURITIES                          )
 AND EXCHANGE COMMISSION,                          )
                                                   )
                        Plaintiff,                 )      Civil Action No. 18-cv-5587
                                                   )
 v.                                                )      Judge John Z. Lee
                                                   )
 EQUITYBUILD, INC., EQUITYBUILD                    )      Magistrate Judge Young B. Kim
 FINANCE, LLC, JEROME H. COHEN,                    )
 and SHAUN D. COHEN,                               )
                                                   )
                        Defendants.                )
                                                   )

           RECEIVER'S CONSOLIDATED SIXTH MOTION FOR COURT
       APPROVAL OF THE PROCESS FOR PUBLIC SALE OF REAL ESTATE
       BY SEALED BID, FIFTH MOTION FOR APPROVAL OF THE SALE OF
        CERTAIN REAL ESTATE AND FOR THE AVOIDANCE OF CERTAIN
       MORTGAGES, LIENS, CLAIMS, AND ENCUMBRANCES, AND MOTION
        TO AMEND THE AUGUST 17, 2018 ORDER APPOINTING RECEIVER

       Pursuant to that certain minute order entered November 26, 2019 (Docket No. 591), Kevin

B. Duff, as receiver (“Receiver”) for the Estate of Defendants EquityBuild, Inc. ("EquityBuild"),

EquityBuild Finance, LLC ("EquityBuild Finance"), their affiliates, and the affiliate entities of

Defendants Jerome Cohen and Shaun Cohen (collectively, the “Receivership Defendants”), and

pursuant to the powers vested in him by that certain Order Appointing Receiver entered on

August 17, 2018 (Docket No. 16), respectfully moves (1) for judicial approval of a process for the

public sale of certain real property through sealed bid, (2) for approval of the sale of certain real

estate and for the avoidance of certain mortgages, liens, claims, and encumbrances, and (3) to

amend the August 17, 2018 Order Appointing Receiver to remove 11117 S. Longwood LLC as a

Receivership Defendant and substitute SSPH 11117 S Longwood LLC in place thereof and to

include SSDF1 4520 S. Drexel LLC as an additional Receivership Defendant.
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       To assist the Court and all other interested parties, a Table Of Contents is attached at Tab A

identifying each property subsumed within this motion, the relief sought with respect to that

property, and the corresponding paragraphs of this motion and the accompanying exhibit numbers

in which that property is referenced.

       In addition, the information included herein is drawn from both title searches and

documentation contained in EquityBuild and EquityBuild-affiliate files in the possession of the

Receiver. To the extent that any as-yet unknown recorded interests exist or that non-record

claimants may assert an interest in any of the properties referenced herein, the Receiver reserves

the right to supplement the following information, if deemed necessary and appropriate.

       Finally, to the extent that this motion makes reference to "secured" interests or "released"

mortgages, those references are descriptive only and not intended as representations that the

subject security instruments have been conclusively determined by the Receiver to be "secured"

or "released." This motion takes no position with respect to the validity or priority of any

encumbrance referenced herein, and the order in which any encumbrances are enumerated in the

paragraphs that follow should not be construed as a finding or opinion regarding such issues.

                                        INTRODUCTION

This Court Authorized The Receiver To Sell Certain Assets Owned By The Receivership
Defendants.

       1.      The United States Securities and Exchange Commission filed this case against

EquityBuild, EquityBuild Finance, Jerome Cohen, and Shaun Cohen alleging violations of Section

10(b) of the Securities Exchange Act of 1934 (the "Exchange Act"), 15 U.S.C. § 78j(b), and Rule

10b-5 promulgated thereunder, 17 C.F.R. 240.10b-5, Section 20(a) of the Exchange Act, 15 U.S.C.

§78t(a), Sections 5(a) and 5(c) of the Securities Act of 1933 (the "Securities Act"), 15 U.S.C.

§77e(a) and (c), and Section 17(a) of the Securities Act, 15 U.S.C. §§77q(a).




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       2.      In the Complaint, the SEC alleged that the defendants operated a Ponzi-scheme that

raised at least $135 million from more than 900 investors by, among other things, making untrue

statements of material fact in connection with the sale of promissory notes allegedly secured by

residential real estate primarily located on the south side of Chicago.

       3.      On August 28, 2018, the Court entered a judgment against defendants Jerome

Cohen and Shaun Cohen which, among other things, enjoined future violations of federal securities

laws. (Docket No. 40)

       4.      In the August 17, 2018 Order Appointing Receiver, the Court assumed exclusive

jurisdiction over, and possession of, the assets of the Receivership Defendants, which defendants

were expressly identified as including 1700 Juneway LLC, 4533-37 S. Calumet LLC, 7109 S

Calumet LLC, EB South Chicago 3 LLC, and EquityBuild, Inc. (Docket No. 16, ¶ 1), and, by

Order dated March 14, 2019, the Court expanded the list of Receivership Defendants to include

5450 S. Indiana LLC, 6437 S Kenwood, LLC, 7749-59 S. Yates LLC, EB South Chicago 4 LLC,

SSDF1 4611 S. Drexel LLC, SSDF1 6751 S. Merrill LLC, SSDF1 7110 S Cornell LLC, SSDF2

1139 E 79th LLC, SSDF4 6217 S. Dorchester LLC, SSDF4 6250 S. Mozart LLC, SSDF4 7024 S

Paxton LLC, SSDF4 7255 S. Euclid LLC, SSDF5 Portfolio 1 LLC, SSDF7 Portfolio 1 LLC, SSPH

6951 S Merrill LLC and SSPH Portfolio 1 LLC. (Docket No. 290)

       5.      The August 17, 2018 Order Appointing Receiver erroneously identified 11117 S.

Longwood LLC as a Receivership Defendant, when SSPH 11117 S Longwood LLC was the

EquityBuild affiliate intended to be named, and the EquityBuild-affiliate SSDF1 S. 4520 Drexel

LLC has not yet been named as a Receivership Defendant.

       6.      In the Order Appointing Receiver, the Court also conferred upon the Receiver (1)

"all powers, authorities, rights and privileges" theretofore possessed by the principals of the

Receivership Defendants under applicable state and federal law, as well as by the governing



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operating and shareholders' agreements and (2) all powers and authority of a receiver at equity, as

well as all powers conferred upon a receiver under 28 U.S.C. §§ 754, 959, and 1692, and FRCP 66.

(Docket No. 16, ¶ 4)

       7.       The Court also authorized the Receiver to "take all necessary and reasonable actions

to cause the sale" of "all real property in the Receivership Estate, either at public or private sale,

on terms and in the manner the Receiver deems most beneficial to the Receivership Estate, and

with due regard to the realization of the true and proper value of such real property." (Docket

No. 16, ¶ 38)

The Receiver Will Provide Fair, Adequate, And Sufficient Notice Of This Consolidated Motion
To All Interested Parties.

       8.       The Receiver intends to serve a copy of this consolidated motion (and the

accompanying notice of motion) upon all interested parties of which he is currently aware by

electronic mail, to the extent he possesses an e-mail address, or by regular mail if he possesses a

mailing address but no e-mail address.

       9.       The Receiver will use information obtained from EquityBuild’s records, as well as

communications received during the course of the Receivership, to ensure that contact information

is as complete as reasonably possible.

       10.      A copy of this consolidated motion will also be posted on the Receiver’s webpage

at http://rdaplaw.net/receivership-for-equitybuild.

             SIXTH MOTION FOR COURT APPROVAL OF THE PROCESS
                FOR PUBLIC SALE OF REAL ESTATE BY SEALED BID

       11.      The Receiver seeks leave to market and sell 36 residential apartment properties in

accordance with the sealed bid public sale process described in Exhibit 1.

       12.      The properties that the Receiver seeks leave to market and sell are as follows:

                a.     7300-04 South St. Lawrence Avenue, Chicago, Illinois 60706
                       ("7300-04 South St. Lawrence")



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           b.    7760 South Coles Avenue, Chicago, Illinois 60649 ("7760 South
                 Coles")

           c.    8000 South Justine Street, Chicago, Illinois 60620 ("8000-02 South
                 Justine")

           d.    8107-09 South Ellis Avenue, Chicago, Illinois 60619 ("8107-09
                 South Ellis")

           e.    8209 South Ellis Avenue, Chicago, Illinois 60619 ("8209 South
                 Ellis")

           f.    8214-16 South Ingleside Avenue, Chicago, Illinois 60619 ("8214-
                 16 South Ingleside")

           g.    4611-17 South Drexel Boulevard, Chicago, Illinois 60653 ("4611-
                 17 South Drexel")

           h.    6217-27 South Dorchester Avenue, Chicago, Illinois 60637 (“6217-
                 27 South Dorchester”)

           i.    6250 South Mozart Street, Chicago, Illinois 60629 (“6250 South
                 Mozart")

           j.    7255-57 South Euclid Avenue, Chicago, Illinois 60649 (“7255-57
                 South Euclid")

           k.    2736-44 West 64th Street, Chicago, Illinois 60629 (“2736-44 West
                 64th”)

           l.    4317-19 South Michigan Avenue, Chicago, IL 60653 (“4317-19
                 South Michigan”)

           m.    6355-59 South Talman Avenue, Chicago, Illinois 60629 (“6355-59
                 South Talman”)

           n.    6356 South California Avenue, Chicago, Illinois 60629 (“6356
                 South California”)

           o.    7051 South Bennett Avenue, Chicago, Illinois 60629 (“7051 South
                 Bennett”)

           p.    7201-07 South Dorchester Avenue, Chicago, Illinois 60619 (“7201-
                 07 South Dorchester”)

           q.    7442-48 South Calumet Avenue, Chicago, Illinois 60619 (“7442-48
                 South Calumet”)

           r.    7508 South Essex Avenue, Chicago, Illinois 60649 (“7508 South
                 Essex”)


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           s.    7701-03 South Essex Avenue, Chicago, Illinois 60649 (“7701-03
                 South Essex”)

           t.    7953-59 South Marquette Road, Chicago, Illinois 60617 (“7953-59
                 South Marquette”)

           u.    816-20 East Marquette Road, Chicago, Illinois 60621 (“816-20 East
                 Marquette”)

           v.    1422-24 East 68th Street, Chicago, Illinois 60637 (“1422-24 East
                 68th”)

           w.    2800-06 East 81st Street, Chicago, Illinois 60617 ("2800-06 East
                 81st")

           x.    4750 South Indiana Avenue, Chicago, Illinois 60615 (“4750 South
                 Indiana”)

           y.    5618-20 South Martin Luther King Drive, Chicago, Illinois 60637
                 (“5618-20 South King”)

           z.    6558 South Vernon Avenue, Chicago, Illinois 60637 (“6558 South
                 Vernon”)

           aa.   7840-42 South Yates Avenue, Chicago, Illinois 60649 (“7840-42
                 South Yates”)

           bb.   3074 East Cheltenham Place, Chicago, Illinois 60649 (“3074 East
                 Cheltenham")

           cc.   7201 South Constance Avenue, Chicago, Illinois 60649 (“7201
                 South Constance")

           dd.   1131-41 East 79th Place, Chicago, Illinois 60619 (“1113-41 East
                 79th”)

           ee.   7024-32 South Paxton Avenue, Chicago, Illinois 60649 (“7024-32
                 South Paxton”)

           ff.   4533-47 South Calumet Avenue, Chicago, Illinois 60653 (“4533-47
                 South Calumet”)

           gg.   1700-08 West Juneway Terrace, Chicago, Illinois 60626 (“1700-08
                 West Juneway”)

           hh.   5450-52 South Indiana Avenue, Chicago, Illinois 60615 (“5450-52
                 South Indiana”)

           ii.   6437-41 South Kenwood Avenue, Chicago, Illinois 60637 (“6437-41 South
                 Kenwood”)


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                jj.     11117-11119 South Longwood Drive, Chicago, Illinois 60643 (“11117-19
                        South Longwood”)

        13.     Because the Receiver intends to sell the foregoing properties by "public sale" in

accordance with 28 U.S.C. §§ 2001, 2002, notice of that sale will be published “once a week for

four weeks prior to the sale in at least one newspaper regularly issued and of general circulation in

the county, state or judicial district of the United States wherein the realty is situated.”

        14.     Specifically, the Receiver will provide notice of the proposed public sale of the

properties subject to this motion in the Chicago Sun-Times and in the form attached as Exhibit 2.

        15.     In addition, the Receiver's retained real estate brokerage consultant, SVN Chicago

Commercial LLC ("SVN") will, for a period of four full weeks, market the public sale of the 36

properties through the following websites, which are generally regarded as popular forums for

marketing commercial real estate throughout the United States (including Chicago:

                a.      SVN

                b.      SVN Chicago Commercial

                c.      CoStar Group

                d.      LoopNet

                e.      City Feet

                f.      RealNex

                g.      CREXI

                h.      theBrokerList

                i.      Real Connex

                j.      LinkedIn

        16.     The winning bid accepted by the Receiver for each property, and any compensation

paid to SVN in connection therewith, will be subject to and presented to the Court for approval.




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       17.     To assist the Court and any persons or entities with an interest in one of the 36

receivership properties to understand how these properties were acquired, and how title to these

properties became clouded by mortgages, liens, claims, and encumbrances, certain relevant details

for each property are set forth in the paragraphs that follow, with the properties grouped by

ownership entity.

Properties Owned By EB South Chicago 3 LLC

       18.     EquityBuild acquired title to 7300-04 South St. Lawrence by warranty deed

recorded October 21, 2015, as Document No. 1529447175. (Exhibit 3.)

       19.     EquityBuild purchased 7300-04 South St. Lawrence for cash and later financed the

property with a $618,603 loan associated with a Mortgage recorded November 17, 2015, as

Document No. 1532145038, in favor of 2nd City Solo 401K Trust, as to an undivided 7.71%

interest; Eleven St. Felix Street Realty Corp., as to an undivided 8.08% interest; Paul N.

Wilmesmeier, as to an undivided 4.04% interest; Matthew T. Boyd, as to an undivided 41.92%

interest; Helen L. Boyd, as to an undivided 8.08% interest; Melanie T. Gonzales and Gary M.

Gonzales, as to an undivided 25.06% interest; and iPlanGroup Agent for Custodian FBO Yanicque

Michaux IRA, as to an undivided 4.04% interest; and SD ROTH IRA MissProperty, LLC, as to an

undivided 1.07% interest. (Exhibit 4.)

       20.     EquityBuild acquired title to 7760 South Coles by trustee's deed recorded July 7,

2015, as Document No. 1518822031. (Exhibit 5.)

       21.     EquityBuild purchased 7760 South Coles for cash and later financed the property

with an $810,000 loan associated with a Mortgage recorded July 23, 2015, as Document

No. 1520419083, in favor of Huiyi Yang and Hui Wang, as to an undivided 6.17% interest;

Matthew Boyd, as to an undivided 6.79% interest; Helen Boyd, as to an undivided 6.79% interest;

Patricia Guillen, as to an undivided 6.17% interest; LMJ Sales, Inc., as to an undivided 12.35%




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interest; John Wysocki, as to an undivided 8.02% interest; Equity Trust Company Custodian FBO

Kevin Bybee IRA Account Number Z128131, as to an undivided 9.38% interest; Metro Rural Real

Estate Solutions, as to an undivided 8.64% interest; The Entrust Group Inc. FBO Marjorie Jean

Sexton IRA# 7230013060, as to an undivided 6.17% interest; PNW Investments, LLC, as to an

undivided 3.09% interest; Scott E. Pammer, as to an undivided 3.70% interest; Julie Barksdale, as

to an undivided 6.17% interest; and EquityBuild, as to an undivided 16.54% interest. (Exhibit 6.)

       22.     On May 12, 2017, EB South Chicago 3 LLC ("EB South Chicago 3") was formed

as a Delaware limited liability company.

       23.     EquityBuild conveyed 7300-04 South St. Lawrence, 7760 South Coles and two

other properties to EB South Chicago 3 by special warranty deed recorded June 28, 2017, as

Document No. 1717922019. (Exhibit 7.)

       24.     In connection with the foregoing conveyances, EB South Chicago 3 obtained a

$1,491,000 acquisition loan from Corevest American Finance Lender LLC ("Corevest") associated

with a certain Mortgage, Assignment Of Leases And Rents, Security Agreement And Fixture

Filing recorded on June 28, 2017 as Document No. 1717922020 (the "EB South Chicago 3

Mortgage"). (Exhibit 8.)

       25.     The EB South Chicago 3 Mortgage is now held by Wilmington Trust, National

Association, As Trustee For The Benefit Of The Holders Of Corevest American Finance 2017-1

Trust Mortgage Pass-Through Certificates by virtue of an Assignment Of Security Instrument

recorded on December 29, 2017 as Document No. 1736315121. (Exhibit 9.)

       26.     The public records provide no indication that the prior mortgages encumbering

7300-04 South St. Lawrence or 7600 South Coles (Exhibits 4 and 6) were ever released.




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Properties Owned By EB South Chicago 4 LLC

       27.      EquityBuild acquired title to the property at 8000-02 South Justine by special

warranty deed recorded June 30, 2015, as Document No. 1518133043. (Exhibit 10.)

       28.      EquityBuild purchased 8000-02 South Justine for cash and later financed the

property with an $855,000 loan associated with a Mortgage recorded January 21, 2016, as

Document No. 1602156230, in favor of Michael James Guilford and Nancy Richard-Guilford,

jointly with right of survivorship, as to an undivided 12.87% interest; Rene Hribal, as to an

undivided 85.26% interest; and John B. Allred and Glenda K. Allred JTWROS, as to an undivided

1.87% interest. (Exhibit 11.)

       29.      EquityBuild acquired title to 8107-09 South Ellis by trustee's deed recorded

October 16, 2014, as Document No. 1428919100. (Exhibit 12.)

       30.      EquityBuild purchased 8107-09 South Ellis for cash and later financed the property

with a $525,000 loan associated with a Mortgage recorded December 3, 2014, as Document No.

1433750062, in favor of iPlan Group Agent for Custodian FBO Kelly Walton IRA, as to an

undivided 4.76% interest; Ahmad and Nahid S. Waleh, as to an undivided 4.76% interest; R.D.

Meredith General Contractor LLC 401K Plan, as to an undivided 11.43% interest; Robert A.

Pettigrew, as to an undivided 9.52% interest; Brian Sanders, as to an undivided 8.57% interest;

Penny Adams, as to an undivided 38.10% interest; Steven and Linda Lipschultz, as to an undivided

13.33% interest; and American IRA FBO Hyman J. Small IRA, as to an undivided 9.52% interest.

(Exhibit 13.)

       31.      EquityBuild conveyed 8107-09 South Ellis to Abundance Properties LLC

("Abundance Properties") by warranty deed recorded July 1, 2015, as Document No. 1518229052.

(Exhibit 14.)




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       32.     Abundance Properties acquired 8107-09 South Ellis with a $525,000 loan

associated with a Mortgage recorded July 1, 2015, as Document No. 1518229054, in favor of iPlan

Group Agent for Custodian FBO Kelly Walton IRA as to an undivided 4.99% interest; Penny

Adams as to an undivided 9.52% interest; R.D. Meredith General Contractor LLC 401K Plan as

to an undivided 11.98% interest; R.D. Meredith General Contractor LLC 401K Plan as to an

undivided 5.48% interest; Steven and Linda Lipschultz as to an undivided 13.97% interest;

American IRA, LLC FBO Hyman J. Small IRA as to an undivided 9.52% interest; SLB Ventures,

LLC as to an undivided 18.10% interest; Umbrella Investment Partners, LLC as to an undivided

0.97% interest; Hillside Fund, LLC as to an undivided 9.52% interest; John B. and Gloria K. Allred

JTWROS as to an undivided 10.04% interest; and iPlan Group Agent for Custodian FBO Ken

Jorgensen as to an undivided 5.90% interest. (Exhibit 15.)

       33.     Although a Release Deed (Exhibit 16) was recorded March 15, 2016, as Document

No. 1607550019 in connection with the mortgage attached as Exhibit 13, that release was not

executed by the mortgagees.

       34.     EquityBuild acquired title to 8209 South Ellis by warranty deed recorded August

12, 2014, as Document No. 1422435003. (Exhibit 17.)

       35.     EquityBuild purchased 8209 South Ellis for cash and later financed the property

with an $865,000 loan associated with a Mortgage recorded August 20, 2014, as Document No.

1423256024, in favor of Marilyn Ackerman, as to an undivided 23.26% interest; Penny Adams,

as to an undivided 29.07% interest; JKG Investments, LLC, as to an undivided 2.91% interest;

Leah Matthews, as to an undivided 2.91% interest; Deborah Dunster, as to an undivided 5.81%

interest; Bob Guiney, as to an undivided 2.91% interest; Desert Storm Properties Group, LLC, as

to an undivided 11.63% interest; 2224, LLC, as to an undivided 5.81% interest; Wesley Pittman,




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as to an undivided 8.14% interest; and Gitar Capital Ventures, LLC, as to an undivided 7.56%

interest. (Exhibit 18.)

        36.     EquityBuild conveyed 8209 South Ellis to Akshanash Properties LLC ("Akshanash

Properties") by warranty deed recorded October 21, 2014, as Document No. 1429445082.

(Exhibit 19.)

        37.     Akshanash Properties acquired 8209 South Ellis with an $860,000 loan associated

with a Mortgage recorded October 21, 2014, as Document No. 1429445084, in favor of Wesley

Pittman as to an undivided 8.14% interest; Marilyn Ackerman as to an undivided 23.26% interest;

JKG Investments LLC as to an undivided 2.91% interest; Desert Storm Properties Group, LLC as

to an undivided 11.63% interest; Edge Investments, LLC as to an undivided 11.63% interest;

Ashwin D. Patel as to an undivided 11.63% interest; Arbor Ventures Overseas Limited LLC as to

an undivided 13.37% interest; Penny Adams as to an undivided 5.81% interest; and Brown Rental

Properties, LLC as to an undivided 11.63% interest. (Exhibit 20.)

        38.     The public records provide no indication that the prior mortgage encumbering 8209

South Ellis (Exhibit 18) was released in connection with the conveyance to Akshanash Properties.

        39.     Akshanash Properties re-conveyed 8209 South Ellis to EquityBuild by quitclaim

deed recorded January 13, 2017, as Document No. 1701318121. (Exhibit 21.)

        40.     EquityBuild acquired title to 8214-16 South Ingleside by warranty deed recorded

May 20, 2015, as Document No. 1514018026. (Exhibit 22.)

        41.     EquityBuild purchased 8214-16 South Ingleside for cash and later financed the

property with a $759,000 loan associated with a Mortgage recorded July 23, 2015, as Document

No. 1520419084, in favor of James A. Tutsock, as to an undivided 42.09% interest and Rene

Hribal, as to an undivided 57.91% interest. (Exhibit 23.)




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       42.       On August 4, 2017, EB South Chicago 4 LLC ("EB South Chicago 4) was formed

as a Delaware limited liability company.

       43.       Abundance Properties conveyed 8107-09 South Ellis to EB South Chicago 4 by

special warranty deed recorded October 5, 2017, as Document No. 1727806052. (Exhibit 24.)

       44.       EquityBuild conveyed 8000-02 South Justine, 8209 South Ellis, and 8214-16 South

Ingleside to EB South Chicago 4 by special warranty deed recorded October 5, 2017, as Document

No. 1727806055. (Exhibit 25.)

       45.       In total, EB South Chicago 4 acquired a seven-property portfolio (containing the

four properties referenced herein) with a $2,426,250 loan from Corevest associated with a certain

Mortgage, Assignment Of Leases And Rents, Security Agreement And Fixture Filing recorded on

October 5, 2017 as Document No. 1727806056 (the "EB South Chicago 4 Mortgage")

(Exhibit 26.)

       46.       The EB South Chicago 4 Mortgage is now held by Wilmington Trust, National

Association, As Trustee For The Benefit Of The Holders Of Corevest American Finance 2017-2

Trust Mortgage Pass-Through Certificates by virtue of an Assignment Of Security Interest

recorded January 24, 2018 as Document No. 1802457110. (Exhibit 27.)

       47.       The public records provide no indication that the prior mortgages encumbering

8000-02 South Justine (Exhibit 11), 8107-09 South Ellis (Exhibit 13), 8209 South Ellis

(Exhibit 20), and 8214-16 South Ingleside (Exhibit 23) were released in connection with the

Corevest loan.

Properties Owned By SSDF1 And SSDF4 Entities

       48.       EquityBuild acquired title to 7255-57 South Euclid by special warranty deed

recorded June 13, 2016, as Document No. 1616504020. (Exhibit 28.)




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       49.    EquityBuild purchased 7255-57 South Euclid for cash and later financed the

property with a $1,100,000 loan associated with a Mortgage recorded August 2, 2016, as

Document No. 1621550124, in favor of the Fredric R. Gottlieb Revocable Trust, dated 7/31/08, as

to an undivided 4.80% interest; The Entrust Group Inc FBO Rita Deierlein Roth IRA Account #:

01-38102, as to an undivided 2.56% interest; iPlanGroup Agent for Custodian FBO Michael

Borgia IRA, as to an undivided 10.00% interest; iPlanGroup Agent for Custodian FBO Robert

Houston IRA, as to an undivided 4.00% interest; Madison Trust Company Custodian FBO Bolanle

Addo M1604003, as to an undivided 4.00% interest; Katie Whitlock, as to an undivided 4.00%

interest; Paul N. Wilmesmeier, as to an undivided 2.00% interest; Johnny Colson, as to an

undivided 4.00% interest; Kevin Scheel, as to an undivided 2.00% interest; Bill Akins, as to an

undivided 4.00% interest; Conrad Hanns, as to an undivided 4.00% interest; Asians Investing In

Real Estate, LLC, as to an undivided 4.80% interest; Eco2 Capital Inc. 401k, as to an undivided

4.00% interest; Joseph P. McCarthy, as to an undivided 3.20% interest; Mark Young, as to an

undivided 3.20% interest; John Witzigreuter, as to an undivided 4.00% interest; Terry M.

McDonald and Rhonda R. McDonald, as to an undivided 4.00% interest; Alton P. Motes and Vicki

Elaine Washburn, as to an undivided 4.80% interest; Equity Trust Company Custodian for James

Robinson IRA, as to an undivided 4.80% interest; Vladimir Matviishin, as to an undivided 4.00%

interest; Equity Trust Company Custodian FBO Kelly Welton IRA Account # 200271700, as to

an undivided 0.16% interest; iPlan Group Agent for Custodian FBO Kelly Welton IRA, as to an

undivided 0.40% interest; Sidney Glenn Willeford II, as to an undivided 6.00% interest; iPlan

Group Agent for Custodian FBO Kelly Welton Roth IRA, as to an undivided 0.11% interest; Tolu

Makinde, as to an undivided 2.00% interest; iPlanGroup Agent for Custodian FBO Ken Jorgensen

IRA, as to an undivided 4.12% interest; New Direction IRA Inc Custodian FBO Frances D. Cook

IRA Account #: 9003717, as to an undivided .48% interest; Principle Assets, LLC, as to an



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undivided 0.56% interest; Frank Sohm and Laura Sohm, as to an undivided 2.82% interest; and

Pittman Gold, LLC, as to an undivided 1.18% interest. (Exhibit 29.)

       50.     On December 7, 2017, SSDF4 7255 S. Euclid LLC ("SSDF4 Euclid") was formed

as an Illinois limited liability company.

       51.     EquityBuild conveyed 7255-57 South Euclid to SSDF4 Euclid by warranty deed

recorded December 19, 2017, as Document No. 1735312036. (Exhibit 30.)

       52.     SSDF4 Euclid acquired 7255-57 South Euclid with a $984,000 loan from CBRE

Capital Markets, Inc. ("CBRE") associated with a Multifamily Mortgage, Assignment Of Rents

And Security Agreement recorded December 12, 2017 as Document No. 1735312037. (Exhibit

31.)

       53.     The security instruments associated with the loan to SSDF4 Euclid are now held by

Citibank, N.A., as Trustee for the Registered Holders of Wells Fargo Commercial Mortgage

Securities, Inc., Multifamily Mortgage Pass-Certificates, Series 2018-SB48 by virtue of an

Assignment Of Multifamily Mortgage, Assignment Of Rents And Security Agreement recorded

April 25, 2018 as Document No. 1811508178. (Exhibit 32.)

       54.     The public records provide no indication that the prior mortgage encumbering

7752-57 South Euclid (Exhibit 29) was released.

       55.     EquityBuild acquired title to 6250 South Mozart by special warranty deed recorded

July 11, 2016, as Document No. 1619319105. (Exhibit 33.)

       56.     EquityBuild purchased 6250 South Mozart for cash and later financed the property

with a $1,825,000 loan associated with a Mortgage recorded September 8, 2016, as Document No.

1625250138, in favor of DK Phenix Investments LLC, as to an undivided 5.48% interest; iPlan

Group Agent for Custodian FBO Vladimir Matviishin IRA, as to an undivided 8.22% interest;

Asians Investing in Real Estate, LLC, as to an undivided 2.74% interest; iPlanGroup Agent for



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Custodian FBO Eric Schwartz IRA, as to an undivided 3.29% interest; iPlanGroup Agent for

Custodian FBO Jason Ragan IRA, as to an undivided 0.78% interest; Phyllis Harte, as to an

undivided 0.40% interest; Pat Desantis, as to an undivided 6.03% interest; Samir Totah, as to an

undivided 8.22% interest; SWFL Investment Trust, as to an undivided 3.29% interest; SB

Investment Partners, LLC, as to an undivided 20.82% interest; Annie Chang, as to an undivided

2.74% interest; La Donna Acklen, as to an undivided 5.64% interest; Steve Bald, as to an undivided

2.19% interest; Madison Trust Company Custodian FBO Robert W. Jennings Account

#M1605053, as to an undivided 12.35% interest; Mennco Properties LLC Solo 401K, as to an

undivided 0.78% interest; Madison Trust Company Custodian FBO Robert Mennella Roth IRA

Account #M1604064, as to an undivided 0.99% interest; Madison Trust Company Custodian FBO

Sheryl Mennella Roth IRA Account #M1604088, as to an undivided 0.99% interest; American

IRA, LLC FBO Kevin Lyons IRA (Acct. No. 02799-14), as to an undivided 1.37% interest;

Michael James Guilford and Nancy Richard-Guilford, jointly with right of survivorship, as to an

undivided 2.74% interest; John and/or Cynthia Braden, as to an undivided 1.10% interest; Chetram

Jodha, as to an undivided 1.10% interest; Jason Park, as to an undivided 0.55% interest; KKW

Investments, as to an undivided 0.19% interest; Gavin Kemp, as to an undivided 2.19% interest;

Baron Real Estate Holdings, LLC, as to an undivided 5.81% interest. (Exhibit 34.)

       57.     On December 7, 2017, SSDF4 6250 S. Mozart LLC ("SSDF4 Mozart") was formed

as an Illinois limited liability company.

       58.     EquityBuild conveyed 6250 South Mozart to SSDF4 Mozart by warranty deed

recorded December 19, 2017, as Document No. 17353155042. (Exhibit 35.)

       59.     SSDF4 Mozart acquired 6250 South Mozart with a loan from CBRE associated

with a Multifamily Mortgage, Assignment Of Rents And Security Agreement recorded December

19, 2017 as Document No. 1735315043. (Exhibit 36.)



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       60.     The security instruments associated with the loan from CBRE to SSDF4 Mozart

are now held by Citibank, N.A., as Trustee for the Registered Holders of Wells Fargo Commercial

Mortgage Securities, Inc., Multifamily Mortgage Pass-Certificates, Series 2018-SB48 by virtue of

an Assignment Of Multifamily Mortgage, Assignment Of Rents And Security Agreement recorded

April 25, 2018, as Document No. 1811508179. (Exhibit 37.)

       61.     The public records provide no indication that the prior mortgage encumbering 6250

South Mozart (Exhibit 34) was released.

       62.     6217-27 S. Dorchester LLC (the "Dorchester Entity") was formed as an Illinois

limited liability company on February 17, 2017, and was indirectly owned and controlled by

Receivership Defendant Jerome Cohen.

       63.     The Dorchester Entity acquired title to 6217-27 South Dorchester by special

warranty deed recorded March 14, 2017, as Document No. 1707304014. (Exhibit 38.)

       64.     The Dorchester Entity purchased 6217-27 South Dorchester with an acquisition

loan from Liberty SBF Dorchester, LLC.

       65.     On December 7, 2017, SSDF4 6217 S. Dorchester LLC ("SSDF4 Dorchester") was

formed as an Illinois limited liability company.

       66.     The Dorchester Entity conveyed 6217-27 South Dorchester to SSDF4 Dorchester

by warranty deed recorded January 4, 2018, as Document No. 1800419066. (Exhibit 39.)

       67.     SSDF4 Dorchester acquired 6217-27 South Dorchester with a $1,700,000 loan

from CBRE associated with a Multifamily Mortgage, Assignment Of Rents And Security

Agreement recorded December 15, 2017, as Document No. 1734949079 (Exhibit 40), and the loan

from Liberty SBF Dorchester, LLC to 6217-27 S. Dorchester, LLC was retired at the time of the

conveyance.




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       68.     The security instruments associated with the loan from CBRE to SSDF4 Dorchester

are now held by Citibank, N.A., as Trustee for the Registered Holders of Wells Fargo Commercial

Mortgage Securities, Inc., Multifamily Mortgage Pass-Certificates, Series 2018-SB48 by virtue of

an Assignment Of Multifamily Mortgage, Assignment Of Rents And Security Agreement recorded

April 25, 2018 as Document No. 1811555208. (Exhibit 41.)

       69.     4611-17 S Drexel LLC (the "Drexel Entity") was formed as an Illinois limited

liability company on December 14, 2016, and was indirectly owned and controlled by

Receivership Defendant Jerome Cohen.

       70.     The Drexel Entity acquired title to 4611-17 South Drexel by special warranty deed

recorded December 27, 2016, as Document No. 1636249101. (Exhibit 42.)

       71.     The Drexel Entity purchased 4611-17 South Drexel for cash and later financed the

property with a $5,250,000 loan associated with a Mortgage recorded June 19, 2017, as Document

No. 1717018060, in favor of Alton P. Motes Revocable Trust Agreement dated 12/15/2011, as to

an undivided 0.29% interest; Annie Chang, as to an undivided 0.68% interest; Braden Galloway,

as to an undivided 0.95% interest; Baron Real Estate Holdings, LLC, as to an undivided 5.05%

interest; Bluebridge Partners Limited, as to an undivided 2.86% interest; Clarice Recamara, as to

an undivided 0.38% interest; Clearwood Funding, LLC, as to an undivided 0.95% interest; David

M. Harris, as to an undivided 0.99% interest; DeeAnn Nason, as to an undivided 0.08% interest;

Don Minchow, as to an undivided 0.57% interest; Duane A. Degenhardt and Linda S. Degenhardt,

as to an undivided 2.86% interest; EquityBuild, Inc., as to an undivided 10.48% interest; Eco2

Capital Inc. 401K, as to an undivided 0.95% interest; Ed Bancroft, as to an undivided 0.19%

interest; Eleven St. Felix Street Realty Corp, as to an undivided 0.95% interest; Endurance Capital

Management, LLC, as to an undivided 0.95% interest; Francisco Fernandez, as to an undivided

1.24% interest; Fredric R. Gottlieb, Revocable Trust, dated 7/31/08, as to an undivided 0.98%



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interest; Genevieve Giuliana Heger, as to an undivided 0.19% interest; Grathia Corporation, as to

an undivided 1.90% interest; Grathia Corporation, as to an undivided 0.95% interest; Harvey

Singer, as to an undivided 0.95% interest; Horizon Trust Company Custodian FBO Terry M.

McDonald IRA, as to an undivided 0.95% interest; Huiyi Yang and Hui Wang, as to an undivided

0.57% interest; iPlan Group Agent for Custodian FBO Charles Michael Anglin IRA, as to an

undivided 1.43% interest; iPlan Group Agent for Custodian FBO Laura Dimberger IRA, as to an

undivided 0.05% interest; iPlan Group Agent for Custodian FBO Michael Dimberger IRA, as to

an undivided 0.16% interest; iPlan Group Agent for Custodian FBO Paula Levand IRA, as to an

undivided 0.46% interest; iPlan Group Agent for Custodian FBO Vladimir Matviishin IRA, as to

an undivided 0.15% interest; iPlanGroup Agent for Custodian FBO Alcalli Sabat IRA, as to an

undivided 0.01% interest; iPlanGroup Agent for Custodian FBO Alcalli Sabat Roth IRA, as to an

undivided 0.07% interest; iPlanGroup Agent for Custodian FBO David Trengove IRA Account

#3300951, as to an undivided 2.86% interest; iPlanGroup Agent for Custodian FBO Garwood

Weatherhead IRA Acct #3421004, as to an undivided 1.09% interest; iPlanGroup Agent for

Custodian FBO Garwood Weatherhead Roth IRA Acct #3320844, as to an undivided 0.25%

interest; iPlanGroup Agent for Custodian FBO Jyotsna Sharma IRA, as to an undivided 0.48%

interest; iPlanGroup Agent for Custodian FBO Ken Jorgensen IRA #3300832, as to an undivided

2.86% interest; iPlanGroup Agent for Custodian FBO Laurie A. Connely IRA, as to an undivided

1.52% interest; iPlanGroup Agent for Custodian FBO Lorenzo Jaquias IRA, as to an undivided

0.41% interest; iPlanGroup Agent for Custodian FBO Patrick Connely Roth IRA, as to an

undivided 0.57% interest; iPlanGroup Agent for Custodian FBO Terri Shelton IRA #3301003, as

to an undivided 0.91% interest; James Factor, as to an undivided 0.95% interest; James Walsh, as

to an undivided 0.95% interest; John Bloxham, as to an undivided 0.95% interest; John

Witzigrueter, as to an undivided 0.95% interest; Karl R. DeKlotz, as to an undivided 5.71%



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interest; Kingsley Properties LLC, as to an undivided 0.95% interest; Law Office of V.L. Heger,

a professional corporation, as to an undivided 0.95% interest; Madison Trust Company Custodian

FBO Greg Wirth M1608103, as to an undivided 0.14% interest; Madison Trust Company

Custodian FBO Greg Wirth M1608104, as to an undivided 0.24% interest; Madison Trust

Company Custodian FBO Janet Eileen Taylor, as to an undivided 0.58% interest; Madison Trust

Company Custodian FBO Lori Moreland Acct #M1606115 Traditional IRA, as to an undivided

0.90% interest; Madison Trust Company Custodian FBO Lori Moreland Acct # M1606123

Inherited IRA, as to an undivided 0.86% interest; Madison Trust Company Custodian FBO Lori

Moreland Acct # M1606124 Roth IRA, as to an undivided 0.19% interest; Madison Trust FBO

Russell R. Moreland IRA, as to an undivided 1.14% interest; Mark P. Mouty, as to an undivided

0.12% interest; Melanie T. and/or Gary M. Gonzales, as to an undivided 1.90% interest; Michael

Kessock, as to an undivided 1.90% interest; Mike Goldman, as to an undivided 0.15% interest;

NBFAR Investment, LLC, as to an undivided 0.70% interest; New Direction IRA, Inc. FBO James

Anthony Ande IRA, as to an undivided 0.95% interest; Optima Property Solutions, LLC, as to an

undivided 2.00% interest; Pat Desantis, as to an undivided 4.76% interest; Paul N. Wilmesmeier,

as to an undivided 0.48% interest; Paula Tucker, as to an undivided 0.76% interest; Provident Trust

Group LLC FBO Stephen Tang IRA, as to an undivided 1.37% interest; Quest IRA Inc. FBO

Rebeca E. Savory-Romero IRA Account #15528-11, as to an undivided 0.95% interest; Ramsey

Stephan, as to an undivided 0.18% interest; Rene Hribal, as to an undivided 5.71% interest; Rene

Hribal, as to an undivided 0.63% interest; Robert A. Potter, as to an undivided 0.48% interest;

Samuel Cratis, as to an undivided 0.52% interest; Stanley Kessock, as to an undivided 0.95%

interest; Stephan Tang, as to an undivided 0.48% interest; Steve Bald, as to an undivided 3.43%

interest; Steven G. Mouty, as to an undivided 0.43% interest; Susan Tingle, as to an undivided

0.50% interest; Umbrella Investment Partners, LLC, as to an undivided 0.11% interest; United



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Capital Properties, LLC, as to an undivided 1.14% interest; Vartan Tarachyan, Trustee for Defined

Benefits Pension Plan and 401K Plan, as to an undivided 0.95% interest; Vladimir Malviishin, dba

Network Expert, as to an undivided 0.95% interest; Wisconsin Real Estate Investment Solutions,

LLC, as to an undivided 0.85% interest; and Wisemove Properties, LLC, as to an undivided 0.95%

interest. (Exhibit 43.)

        72.     Although a Release Deed (Exhibit 44) was recorded July 10, 2017, as Document

No. 1719113031 in connection with the mortgage attached as Exhibit 43, that release was not

executed by the mortgagees.

        73.     On December 15, 2017, SSDF1 4611 S. Drexel LLC ("SSDF1 Drexel") was formed

as an Illinois limited liability company.

        74.     The Drexel Entity conveyed 4611-17 South Drexel to SSDF1 Drexel by warranty

deed recorded January 11, 2018, as Document No. 1801118096. (Exhibit 45.)

        75.     In connection with the foregoing conveyance, SSDF1 Drexel obtained a $3,280,000

loan from CBRE associated with a Multifamily Mortgage, Assignment Of Rents And Security

Agreement recorded December 20, 2017, as Document No. 1735444073, and re-recorded

January 11, 2018 as Document No. 1801118097. (Exhibit 46.)

        76.     The security instruments associated with the loan from CBRE to SSDF1 Drexel are

now held by Citibank, N.A., as Trustee for the Registered Holders of Wells Fargo Commercial

Mortgage Securities, Inc., Multifamily Mortgage Pass-Certificates, Series 2018-SB48 by virtue of

an Assignment Of Multifamily Mortgage, Assignment Of Rents And Security Agreement recorded

April 25, 2018 as Document No. 1811501305. (Exhibit 47.)

Properties Owned By SSDF7 Portfolio 1 LLC

        77.     EquityBuild acquired title to 6356 South California by trustee's deed dated January

12, 2016, as Document No. 1601242010. (Exhibit 48.)




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       78.     EquityBuild purchased 6356 South California for cash and later financed the

property with a $750,000 loan associated with a Mortgage recorded February 4, 2016, as

Document No. 1603550264, in favor of Madison Trust Company Custodian FBO Rochelle

Minchow M1511505 IRA, as to an undivided 14.67% interest; Nicholas C Jenks and Joyce R Jenks

JTWROS, as to an undivided 3.33% interest; iPlanGroup Agent for Custodian FBO Ed Bancroft

IRA, as to an undivided 2.00% interest; Peter P Nuspl, as to an undivided 19.89% interest; MTASS

Realty, LLC, as to an undivided 33.40% interest; Self-Directed IRA Services FBO Vincent

Michael Spreuwenberg IRA 201207909, as to an undivided 4.68% interest; Scott E. Pammer, as

to an undivided 6.67% interest; Geraldine Martin, as to an undivided 6.68% interest;

Crossglobalfunding, LLC, as to an undivided 3.33% interest; Oak Barrel One, LLC, as to an

undivided 2.67% interest; and Chetram Jodha, as to an undivided 2.67% interest. (Exhibit 49.)

       79.     EquityBuild acquired title to 6355-59 South Talman by warranty deed dated June

17, 2016, as Document No. 1616910021. (Exhibit 50.)

       80.     EquityBuild purchased 6355-59 South Talman for cash and later financed the

property with a $1,250,000 loan associated with a Mortgage recorded August 2, 2016, as

Document No. 1621550123, in favor of Burnham 401K Trust, as to an undivided 2.27% interest;

Equity Trust Company Custodian FBO Kelly Welton IRA Account #200271700, as to an

undivided 0.27% interest; Madison Trust Company Custodian FBO Huiyi Yang Roth IRA

Account #M1604106, as to an undivided 3.36% interest; Tracy-Meek Trust dated March 12, 2001,

as to an undivided 6.36% interest; JSMS Trust, as to an undivided 4.55% interest; Pat Desantis, as

to an undivided 10.00% interest; The Moore/Ferrer Family 2004 Trust, as to an undivided 4.55%

interest; McKenzie Irrevocable Living Trust, dated February 3, 1999, Donald E. McKenzie,

Trustee, as to an undivided 18.18% interest; Sidney L. Cohn & Sheila L. Cohn JTWROS, as to an

undivided 5.45% interest; Sutherland Family Trust dated May 8, 1991, Peggy Sutherland Trustee,



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as to an undivided 4.55% interest; Adir Hazan, as to an undivided 4.55% interest; Daniel

Martineau, as to an undivided 2.20% interest; DK Phenix Investments LLC, as to an undivided

13.70% interest; Kester Brothers Farm, LLC, as to an undivided 2.73% interest; John or Cynthia

Braden, as to an undivided 3.64% interest; and EquityBuild, as to an undivided 13.64% interest.

(Exhibit 51.)

       81.      EquityBuild acquired title to 7051 South Bennett by special warranty deed recorded

April 8, 2015, as Document No. 1509801004. (Exhibit 52.)

       82.      EquityBuild purchased 7051 South Bennett for cash and later financed the property

with a $1,215,000 loan associated with a Mortgage recorded April 27, 2015, as Document No.

1511750077, in favor of Steve Weera and Esther Tonasut, as to an undivided 4.12% interest; Peter

P. Nuspl, as to an undivided 14.45% interest; Zin Investments LLC, as to an undivided 28.81%

interest; Equity Trust Company Custodian FBO Mark Mouty IRA, as to an undivided 6.58%

interest; Michael Mallory Gibbons, as to an undivided 25.84% interest; IRA Innovations, LLC,

FBO, Kimberly Robinsons, IRA, as to an undivided 3.62% interest; Jacqueline C. Rowe, as to an

undivided 6.17% interest; 1839 Fund I LLC, as to an undivided 5.80% interest; Kimberly

Robinson, as to an undivided 0.49% interest; and Carl Walker, as to an undivided 4.12% interest.

(Exhibit 53.)

       83.      Subsequently, Michael Mallory Gibbons assigned his entire beneficial interest in a

$25,000 promissory note associated with the foregoing Mortgage to Best Capital Funding, Inc. by

Document No. 1717018061, assigned his entire beneficial interest in a $99,000 promissory note

associated with that Mortgage to Provident Trust Group LLC: FBO Barbara E. Burton-IRA by

Document No. 1717018062, assigned his entire beneficial interest in a $50,000 promissory note

associated with that Mortgage to Adaz, LLC by Document No. 1717018063, assigned his entire

beneficial interest in a $50,000 promissory note associated with that Mortgage to Wisemove



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Properties, LLC by Document No. 1717018064, assigned his entire beneficial interest in a $50,000

promissory note associated with that Mortgage to the Paul S. Scribner Revocable Trust dated May

15, 2003 by Document No. 1717018065, and assigned his entire beneficial interest in a $40,000

promissory note associated with that Mortgage to Green Light Investments, LLC by Document

No. 1717018066, with each of the documents referenced herein recorded June 19, 2017.

        84.     EquityBuild acquired title to 7442-48 South Calumet by special warranty deed

recorded January 19, 2016, as Document No. 1601941081. (Exhibit 54.)

        85.     EquityBuild purchased 7442-48 South Calumet for cash and later financed the

property with a $1,150,000 loan associated with a Mortgage recorded February 4, 2016, as

Document No. 1603550260, in favor of Paul Harrison, as to an undivided 10.81% interest; Peter

P. Nuspl, as to an undivided 0.97% interest; Bluebridge Partners Limited, as to an undivided

25.22% interest; David Marcus, as to an undivided 9.13% interest; Jerome Shaffer, as to an

undivided 13.04% interest; iPlanGroup Agent for Custodian FBO Ed Bancroft IRA acct. no.

3320329, as to an undivided 0.70% interest; Shelton Family Trust, as to an undivided 2.61%

interest; Bonaparte Properties, LLC, as to an undivided 2.17% interest; Robert Guiney, as to an

undivided 2.17% interest; Demetres Velendzas, as to an undivided 4.35% interest; Alex Breslav,

as to an undivided 4.35% interest; Harvey Singer, as to an undivided 3.26% interest; iPlanGroup

Agent for Custodian FBO Richard Lohrman IRA, as to an undivided 3.04% interest; Timothy

Sharp, as to an undivided 4.35% interest; Arthur Bertrand, as to an undivided 4.35% interest;

Cheryl L. Pammer, as to an undivided 5.13% interest; and EquityBuild, as to an undivided 4.35%

interest. (Exhibit 55.)

        86.     EquityBuild acquired title to 7201-07 South Dorchester by special warranty deed

recorded April 27, 2016, as Document No. 1611841048. (Exhibit 56.)




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       87.     EquityBuild purchased 7201-07 South Dorchester for cash and later financed the

property with a $1,100,000 loan associated with a Mortgage recorded June 27, 2016, as Document

No. 1617919110, in favor of iPlanGroup Agent for Custodian FBO Mark Young IRA, as to an

undivided 1.82% interest; Frank & Laura Sohm, as to an undivided 1.34% interest; Ping Liu, as to

an undivided 4.55% interest; Asians Investing In Real Estate, LLC, as to an undivided 5.45%

interest; Paul N. Wilmesmeier, as to an undivided 2.27% interest; Towpath Investments LLC, as

to an undivided 2.73% interest; Pat Desantis, as to an undivided 10.00% interest; Equity Trust

Company Custodian FBO Terri Shelton Account #200338949 IRA, as to an undivided 4.55%

interest; iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA, as to an undivided

0.71% interest; Optima Property Solutions LLC, as to an undivided 7.05% interest; Nicholas C.

Jenks and Joyce R. Jenks JTWROS, as to an undivided 4.55% interest; Aluvelu Homes, LLC, as

to an undivided 0.45% interest; iPlanGroup Agent for Custodian FBO Rajanikanth Tanikella, IRA

Acct No. 3300878, as to an undivided 4.55% interest; Vartan Tarakchyan, Trustee for Defined

Benefits Plan and 401K Pension Plan, as to an undivided 5.91% interest; Clearwood Funding LLC,

as to an undivided 4.55% interest; Hillside Fund, LLC, as to an undivided 4.55% interest; Bill

Akins, as to an undivided 4.55% interest; Steven Roche, as to an undivided 1.82% interest; Remoni

Global Holdings, LLC, as to an undivided 3.18% interest; Timothy Sharp, as to an undivided

4.55% interest; Equity Trust Company Custodian for James Robinson IRA, as to an undivided

4.55% interest; Rachel C. Beck, as to an undivided 4.55% interest; Lori Waring, as to an undivided

4.55% interest; Quest IRA, Inc. FBO Freda Smith IRA # 16816-11, as to an undivided 1.82%

interest; and JN Investment Trust, as to an undivided 5.45% interest. (Exhibit 57.)

       88.     EquityBuild acquired title to 4317-19 South Michigan by special warranty deed

recorded January 22, 2016, as Document No. 1602242003. (Exhibit 58.)




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       89.      EquityBuild purchased 4317-19 South Michigan for cash and later financed the

property with a $990,000 loan associated with a Mortgage recorded February 22, 2016, as

Document No. 1605356098, in favor of Gerry Recamara and Clarice Recamara, as to an undivided

1.01% interest; Equity Trust Company Custodian FBO Ronald M. Beal IRA, as to an undivided

9.09% interest; Harvey Singer, as to an undivided 21.21% interest; Susan Martinez, as to an

undivided 5.05% interest; Sohm Strategic Investments LLC, as to an undivided 2.53% interest;

Paul N. Wilmesmeier, as to an undivided 2.53% interest; The Entrust Group Inc. FBO Marjorie

Jean Sexton IRA #7230013060, as to an undivided 0.95% interest; Pinellas Florida Freedom

Realty, LLC, as to an undivided 1.01% interest; iPlanGroup Agent for Custodian FBO Verdell

Michaux, as to an undivided 0.40% interest; Verdell Michaux, as to an undivided 0.10% interest;

iPlanGroup Agent for Custodian FBO Mario Flores IRA, as to an undivided 16.54% interest;

Hillside Fund, LLC, as to an undivided 7.58% interest; Deborah Buffamanti, as to an undivided

5.05% interest; Paul Harrison, as to an undivided 15.43% interest; Hang Zhou and Lu Dong; as to

an undivided 5.05% interest; Thaddeus Gala, as to an undivided 2.53% interest; Ramsey Stephan,

as to an undivided 2.02% interest; and Summit Trust Company, Trustee David R. Theil MD PS

PL Profit Sharing Keogh FBO David R. Theil Plan Administer, as to an undivided 1.92% interest.

(Exhibit 59.)

       90.      EquityBuild acquired title to 2736-44 West 64th by deed recorded February 11,

2015, as Document No. 1504246206. (Exhibit 60.)

       91.      EquityBuild purchased 2736-44 West 64th for cash and later financed the property

with a $740,000 loan associated with a Mortgage recorded March 19, 2015, as Document No.

1507856003 in favor of Mark Young, as to an undivided 6.76% interest; 1839 Fund I, LLC, as to

an undivided 3.38% interest; iPlanGroup Agent for Custodian FBO Yifan Tang IRA, as to an

undivided 7.70% interest; Sunshine Bliss, LLC, as to an undivided 3.38% interest; Paul S.



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Applefield, DDS, 401K Plan Paul S. Applefield, Trustee, as to an undivided 4.05% interest;

Applefield Family Trust dated July 25, 1997, Paul S. Applefield and Robin Kahn Applefield,

Trustees, as to an undivided 2.70% interest; Daniel J. Martineau, as to an undivided 6.76% interest;

Debbie Elizabeth Lasley, as to an undivided 6.76% interest; Arbor Ventures Overseas Limited,

LLC, as to an undivided 1.35% interest; Equity Trust Company Custodian FBO Albert Ruffin

IRA, as to an undivided 6.76% interest; The Anchor Group LLC, as to an undivided 4.05% interest;

Arthur L. and Dinah F. Bertrand, as to an undivided 13.51% interest; Hongjun Li and Sheyu Zhou,

as to an undivided 12.57% interest; iPlan Group Agent for Custodian FBO Leah Kalish IRA, as to

an undivided 9.46% interest; Robert Guiney, as to an undivided 6.76% interest; and Edge

Investments, LLC, as to an undivided 4.05% interest. (Exhibit 61.)

       92.     EquityBuild acquired title to 7508 South Essex by deed recorded May 24, 2016, as

Document No. 1614541065. (Exhibit 62.)

       93.     EquityBuild purchased 7508 South Essex for cash and later financed the property

with a $1,350,000 loan associated with a Mortgage recorded June 7, 2016, as Document No.

1615950074 (Exhibit 63) (and later re-recorded as Document No. 1634734075) in favor of Alex

Breslav, as to an undivided 4.22% interest; Bill Akins, as to an undivided 8.15% interest; Daniel

Martineau, as to an undivided 8.15% interest; Cosmos Building Maintenance Solo 401K Trust

Acct. # 2758150862, as to an undivided 3.70% interest; James Taber, as to an undivided 3.70%

interest; Beth Denton, as to an undivided 3.70% interest; IRA Services Trust Company CFBO

Beth Denton, as to an undivided 1.48% interest; Bridges Christopher, as to an undivided 1.85%

interest; Eleven St. Felix Street Realty Corp, as to an undivided 3.70% interest; Asians Investing

in Real Estate, LLC, as to an undivided 4.07% interest; Coleman Scheuller, as to an undivided

3.70% interest; Quest IRA Inc FBO Terri S. Tracy IRA #24921-31, as to an undivided 8.89%

interest; Grathia Corporation, as to an undivided 3.70% interest; Madison Trust Company



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Custodian FBO Rochelle Minchow # M151150, as to an undivided 3.70% interest; JFKN

Investment Trust, as to an undivided 2.96% interest; Madison Trust Company Custodian FBO

Stuart Edelman # M1510082, as to an undivided 3.70% interest; Receivables to Cash, LLC d/b/a

Berenger Capital, as to an undivided 3.70% interest; Capital Liability Investments, LLC, as to an

undivided 4.07% interest; EquityBuild, as to an undivided 0.74% interest; Equity Trust Company

Custodian FBO James McKnight SEP, as to an undivided 0.38% interest; Equity Trust Company

Custodian FBO Silma McKnight SEP, as to an undivided 0.44% interest; Madison Trust Company

Custodian FBO Huiyi Yang M1604042, as to an undivided 1.62% interest; iPlan Group Agent for

Custodian FBO Jason Ragan Account #3300445 IRA, as to an undivided 1.19% interest; iPlan

Group Agent for Custodian FBO Jason Ragan Account #3320326 Roth IRA, as to an undivided

1.53% interest; Madison Trust Company Custodian FBO David Harris #1604039, as to an

undivided 3.93% interest; Umbrella Investment Partners LLC, as to an undivided 2.96% interest;

LaDonna W. Acklen, as to an undivided 3.70% interest; Principal Assets, LLC, as to an undivided

0.14% interest; Russ Moreland, as to an undivided 3.70% interest; Cama Plan FBO Bill Akins

IRA, as to an undivided 0.74% interest; Phyllis Harte, as to an undivided 0.69% interest; and

Pittman Gold, LLC, as to an undivided 1.05% interest. (Exhibit 64.)

       94.    EquityBuild acquired title to 816-20 East Marquette by special warranty deed

recorded November 2, 2016, as Document No. 1630719098. (Exhibit 65.)

       95.    EquityBuild purchased 816-20 East Marquette for cash and later financed the

property with a $1,150,000 loan associated with a Mortgage recorded January 13, 2017, as

Document No. 1701318124, in favor of iPlanGroup Agent for Custodian FBO Betty Beal Mize

IRA, as to an undivided 3.30% interest; Flying Hound Holdings, LLC, as to an undivided 4.35%

interest; Harendra Pal, as to an undivided 8.70% interest; Ed Bancroft, as to an undivided 0.52%

interest; Shengjie Li and Yuye Xu, as to an undivided 2.17% interest; La Donna Acklen, as to an



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undivided 3.48% interest; Hillside Fund, LLC, as to an undivided 5.65% interest; Petra Zoeller, as

to an undivided 2.61% interest; Quest IRA Inc. FBO Terri S. Tracy IRA 24921-11, as to an

undivided 4.35% interest; CAMA SDIRA, LLC FBO Bill Akins IRA, as to an undivided 21.74%

interest; Wisemove Properties, LLC, as to an undivided 8.70% interest; Concorde Management,

LLC, as to an undivided 10.43% interest; Pat Desantis, as to an undivided 8.70% interest;

iPlanGroup Agent for Custodian FBO William Jack Needham IRA Account #3300944, as to an

undivided 0.52% interest; Madison Trust Company Custodian FBO Ricardo Acevedo IRA, as to

an undivided 3.04% interest; iPlanGroup Agent for Custodian FBO Mark Young IRA, as to an

undivided 4.35% interest; Grathia Corporation, as to an undivided 3.04% interest; and Frank Sohm

and Laura Sohm, as to an undivided 4.35% interest. (Exhibit 66.)

       96.     EquityBuild acquired title to 7701-03 South Essex by general warranty deed

recorded November 22, 2013, as Document No. 1332619007. (Exhibit 67.)

       97.     EquityBuild conveyed 7701-03 South Essex to Shane Veltri by warranty deed

recorded January 14, 2014, as Document No. 1401456016. (Exhibit 68.)

       98.     Shane Veltri purchased 7701-03 South Essex with an $890,000 loan associated with

a Mortgage recorded January 14, 2014, as Document No. 1401456018, in favor of Jay Zerfoss, as

to an undivided 11.24% interest; iPlan, LLC FBO Dennis McCoy IRA, as to an undivided 11.24%

interest; Covenant Funding LLC, as to an undivided 33.71% interest; Terry L. and Sheryl R.

Merrill, as to an undivided 5.62% interest; Domenic Simone, as to an undivided 11.24% interest;

Alan and Vicky Schankman, as to an undivided 5.62% interest; Louis Duane Velez LLC, as to an

undivided 16.85% interest; and 1839 Fund I, LLC as to an undivided 5.62% interest. (Exhibit 69.)

       99.     EquityBuild acquired title to 7953-59 South Marquette by warranty deed recorded

April 14, 2015, as Document No. 1510418015. (Exhibit 70.)




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       100.    EquityBuild thereafter conveyed 7953-59 South Marquette to Property Solutions,

LLC ("Property Solutions") by warranty deed recorded May 21, 2015, as Document No.

1514129031. (Exhibit 71.)

       101.    Property Solutions (not affiliated with EquityBuild) acquired 7953-59 South

Marquette with an $887,000 loan associated with a Mortgage recorded May 21, 2015, as Document

No. 1514129033, in favor of Jacqueline C. Rowe, as to an undivided 5.64% interest, iPlanGroup

Agent for Custodian FBO Jim Taber IRA, as to an undivided 5.64% interest; iPlanGroup Agent

for Custodian FBO Dan O'Hare IRA, as to an undivided 5.64% interest; 1839 Fund I, LLC, as to

an undivided 4.45% interest; Quest IRA, Inc. FBO Steven K. Chennappan IRA #17293-31, as to

an undivided 5.64% interest; Burnham 401 K Trust, as to an undivided 2.54% interest; Steven and

Linda Lipschultz, as to an undivided 19.95% interest; Equity Trust Company Custodian FBO

Account # Z149966 IRA, as to an undivided 1.86% interest; Equity Trust Company Custodian

FBO Account # Z150206 IRA, as to an undivided 1.92% interest; Christopher Maher, as to an

undivided 1.86% interest, American Estate and Trust Self-Directed IRA FBO Brenda Elder IRA

Acct #T1001616147, as to an undivided 5.05% interest; Pensco Trust Company Custodian FBO

Steve Weera Tonasut IRA#20004340, as to an undivided 5.64% interest; Edge Investments, LLC,

as to an undivided 6.54% interest; 2nd City Solo 401K Trust, as to an undivided 11.27% interest

(which interest was assigned to The Entrust Group FBO Daniel Mathews IRA Acct #51-01005 by

Document No. 1728613035 recorded October 13, 2017), John E. Bloxham, as to an undivided

12.40% interest; and Howard and Doris Bybee, as to an undivided 5.64% interest. (Exhibit 72.)

       102.    On April 2, 2018, SSDF7 Portfolio 1 LLC ("SSDF7") was formed as an Illinois

limited liability company.

       103.    EquityBuild quitclaimed 6356 South California, 6355-59 South Talman, 7051

South Bennett, 7442-48 South Calumet, 7201-07 South Dorchester, 4317-19 South Michigan,



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2736-44 West 64th, 7508 South Essex, and 816-20 East Marquette to SSDF7 by a series of deeds

recorded May 7, 2018, as Document Nos. 1812734029, 1812734030, 1812734031, 1812734032,

1812734033,    1812734035,    1812734036,     1812734037,    and    1812734039,    respectively.

(Exhibits 73-81.)

       104.   Shane Veltri conveyed 7701-03 South Essex to SSDF7 by recorded May 7, 2018,

as Document No. 1812734042. (Exhibit 82.)

       105.   Property Solutions conveyed 7953-59 South Marquette to SSDF7 by special

warranty deed recorded May 7, 2018, as Document No. 1812734043. (Exhibit 83.)

       106.   The eleven properties referenced herein, as well as six others, were acquired by

SSDF7 with $9,200,000 in financing extended by Liberty EBCP, LLC ("Liberty").

       107.   The loan from Liberty was associated with a Mortgage, Assignment Of Leases And

Rents, Security Agreement And Fixture Filing recorded May 7, 2018, as Document No.

1812734045 (Exhibit 84) and a Mortgage, Assignment Of Leases And Rents, Security Agreement

And Fixture Filing recorded May 7, 2018, as Document No. 1812734048 (Exhibit 85) (the "Liberty

4048 Mortgage").

       108.   A Release Deed was recorded May 7, 2018, as Document No. 1812734052 in

connection with the prior mortgage encumbering 6356 South California (Exhibit 86), but that

release was not executed by the mortgagees.

       109.   A Release Deed was recorded May 7, 2018, as Document No. 1812734053 in

connection with the prior mortgage encumbering 6355-59 South Talman (Exhibit 87), but that

release was not executed by the mortgagees.

       110.   A Release Deed was recorded May 7, 2018, as Document No. 1812734054 in

connection with the prior mortgage encumbering 7051 South Bennett (Exhibit 88), but that release

was not executed by the mortgagees. (Notwithstanding the foregoing, a Release Of Mortgage was



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executed by the Paul S. Scribner Revocable Trust dated May 15, 2003, Adaz, LLC, Green Light

Investments, LLC, Wisemove Properties, LLC, Provident Trust Group LLC: FBO Barbara E.

Burton-IRA, and Best Capital Funding, Inc. by Document Nos. 1812734055, 1812734056,

1812734057, 1812734058, 1812734059, and 1812734060, respectively.) (Exhibits 89-94.)

       111.   A Release Deed was recorded May 7, 2018, as Document No. 1812744010 in

connection with the prior mortgage encumbering 7442-48 South Calumet (Exhibit 95), but that

release was not executed by the mortgagees.

       112.   A Release Deed was recorded May 7, 2018, as Document No. 1812744011 in

connection with the prior mortgage encumbering 7201-07 South Dorchester (Exhibit 96), but that

release was not executed by the mortgagees.

       113.   A Release Deed was recorded May 7, 2018, as Document No. 1812744015 in

connection with the prior mortgage encumbering 4317-19 South Michigan (Exhibit 97), but that

release was not executed by the mortgagees.

       114.   A Release Deed was recorded May 7, 2018, as Document No. 1812744016 in

connection with the prior mortgage encumbering 2736-44 West 64th (Exhibit 98), but that release

was not executed by the mortgagees.

       115.   A Release Deed was recorded May 7, 2018, as Document No. 1812744017 in

connection with the prior mortgage encumbering 7508 South Essex (Exhibit 99), but that release

was not executed by the mortgagees.

       116.   A Release Deed was recorded May 7, 2018, as Document No. 1812744018 in

connection with the prior mortgage encumbering 7701-03 South Essex (Exhibit 100), but that

release was not executed by the mortgagees.




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       117.      A Release Deed was recorded May 7, 2018, as Document No. 1812744021 in

connection with the prior mortgage encumbering 816-20 East Marquette (Exhibit 101), but that

release was not executed by the mortgagees.

       118.      A Release Deed was recorded May 7, 2018, as Document No. 1812744022 in

connection with the prior mortgage encumbering 7953-59 South Marquette (Exhibit 102), but that

release was not executed by the mortgagees. (Notwithstanding the foregoing, the Entrust Group

FBO Daniel Matthews IRA Acct #51-01005 executed a Release Of Mortgage recorded May 7,

2018, as Document No. 1812744023.)

Properties Owned By SSPH Portfolio 1 LLC

       119.      SSPH Portfolio 1 LLC ("SSPH") was formed as an Illinois limited liability

company on March 27, 2017.

       120.      EquityBuild acquired title to 1422-24 East 68th by trustee's deed recorded February

10, 2014, as Document No. 1404141077. (Exhibit 103.)

       121.      EquityBuild conveyed 1422-24 East 68th to 1422 E68, LLC (an entity owned or

controlled by Receivership Defendant Jerome Cohen) by warranty deed recorded April 29, 2014,

as Document No. 1411950135. (Exhibit 104.)

       122.      1422 E68, LLC acquired 1422-24 East 68th with a $425,920 loan associated with

a Mortgage recorded April 29, 2014 as Document No. 1411950137, in favor Fixed Slice LLC, as

to a 70% interest, and Daniel Behm, as to a 30% interest. (Exhibit 105.)

       123.      1422 E68, LLC later obtained an additional $163,917.88 in financing associated

with a Mortgage recorded against 1422-24 East 68th on January 12, 2015, as Document No.

1501256149, in favor of Barry Gelber, Rona Gelber, Lonnie Gelber, and Karen Timko.

(Exhibit 106.)




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       124.   EquityBuild acquired title to 2800-06 East 81st by warranty deed recorded April

26, 2013, as Document No. 1311618003. (Exhibit 107.)

       125.   EquityBuild conveyed 2800-06 East 81st to Kendall Chenier by warranty deed

recorded August 13, 2014, as Document No. 1422519020. (Exhibit 108.)

       126.   Kendall Chenier acquired 2800-06 East 81st with a $430,000 loan associated with

a Mortgage recorded March 4, 2014, as Document No. 1406310014, in favor of Nicholas D. and

Pamela M. Rende. (Exhibit 109.)

       127.   EquityBuild acquired title to 4750 South Indiana by warranty deed recorded

December 5, 2013, as Document No. 1333941006. (Exhibit 110.)

       128.   EquityBuild purchased 4750 South Indiana for cash and later financed the property

with a $325,000 loan associated with a Mortgage recorded January 8, 2014, as Document No.

1400856025 in favor of Hard Money Company, as to an undivided 38.46% interest, and Covenant

Funding FBO iPlan Group as to an undivided 61.54% interest. (Exhibit 111.)

       129.   EquityBuild conveyed 4750 South Indiana to 4750 S Indiana, LLC by warranty

deed recorded March 12, 2014, as Document No. 1407156057. (Exhibit 112.)

       130.   EquityBuild acquired title to 5618-20 South King by warranty deed recorded

April 1, 2015, as Document No. 1509119083. (Exhibit 113.)

       131.   EquityBuild purchased 5618-20 South King for cash and later financed the property

with an $865,000 loan associated with a Mortgage recorded April 24, 2015, as Document No.

1511456068, in favor of Duane Young, as to an undivided 5.78% interest; Advanta IRA Trust,

LLC FBO Brian Shea IRA #6213202, as to an undivided 3.04% interest; Equity Trust Company

Custodian FBO Kevin Bybee IRA, as to an undivided 23.12% interest; iPlan Group Agent for

Custodian FBO Leah Kalish IRA, as to an undivided 6.80% interest; Arthur L. Bertrand and Dinah

F. Bertrand, as to an undivided 5.78% interest; IB Investments LLC, as to an undivided 5.78%



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interest; The Income Fund, LLC, as to an undivided 49.67% interest; and EquityBuild, as to an

undivided 0.02% interest. (Exhibit 114.)

       132.      EquityBuild acquired title to 6558 South Vernon by trustee's deed recorded June 3,

2014, as Document No. 1415418083. (Exhibit 115.)

       133.      EquityBuild purchased 6558 South Vernon for cash and later financed the property

with a $1,035,066 loan associated with a Mortgage recorded August 8, 2014, as Document No.

1422050101 (Exhibit 116), in favor of Hard Money Company, LLC, of which an undivided 4.35%

interest was assigned from Russell and Ursula Waite to Pensco Trust Company Custodian FBO

Kathleen Robinson Self-Directed Roth IRA 080000001320 by Document No. 1621550122,

recorded August 2, 2016. (Exhibit 117.)

       134.      EquityBuild conveyed 6558 South Vernon to EB 6558 S. Vernon, LLC (an entity

owned or controlled by Jerome Cohen) by quitclaim deed recorded June 6, 2016, as Document No.

1615819110. (Exhibit 118.)

       135.      EquityBuild acquired title to 7840-42 South Yates by trustee's deed recorded

January 3, 2013, as Document No. 1300312113. (Exhibit 119.)

       136.      EquityBuild conveyed 7840-42 South Yates to Kendall Chenier by warranty deed

recorded March 18, 2013, as Document No. 1307722024. (Exhibit 120.)

       137.      Kendall Chenier acquired 7840-42 South Yates with a $400,000 loan associated

with a Mortgage recorded March 18, 2013, as Document No. 1307722026 in favor of Nicholas D.

or Pamela M. Rende and re-recorded December 12, 2013, as Document No. 1334645001.

(Exhibit 121).

       138.      Kendall Chenier conveyed 7840-42 South Yates to SSPH by special warranty deed

recorded May 23, 2017, as Document No. 1714316077. (Exhibit 122.)




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       139.   Kendall Chenier conveyed 2800-06 East 81st to SSPH by special warranty deed

recorded May 23, 2017, as Document No. 1714316078. (Exhibit 123.)

       140.   1422 E68, LLC conveyed 1422-24 East 68th to SSPH by warranty deed recorded

May 23, 2017, as Document No. 1714316079. (Exhibit 124.)

       141.   4750 S Indiana, LLC conveyed 4750 South Indiana to SSPH by warranty deed

recorded May 23, 2018, as Document No. 1714316080. (Exhibit 125.)

       142.   EB 6558 S. Vernon, LLC conveyed 6558 South Vernon to SSPH by warranty deed

recorded May 23, 2018, as Document No. 1714316081. (Exhibit 126.)

       143.   EquityBuild conveyed 5618-20 South King to SSPH by warranty deed recorded

May 23, 2017, as Document No. 1714316082. (Exhibit 127.)

       144.   The properties at 1422-24 East 68th, 2800-06 East 81st, 4750 South Indiana, 5618-

20 South King, 6558 South Vernon, and 7840-42 South Yates (along with one other) were acquired

by SSPH with in financing from UBS AG ("UBS").

       145.   The $4,100,000 loan from UBS was associated with a Mortgage And Security

Agreement recorded May 23, 2017, as Document No. 1714316084 (Exhibit 128), an Assignment

Of Rents recorded May 23, 2017, as Document No. 1714316085, and a Financing Statement filed

May 23, 2017, as Document No. 1714316086.

       146.   The public records provide no evidence that the prior mortgage encumbering 7840-

42 South Yates (Exhibit 121), the prior mortgage encumbering 2800-06 East 81st (Exhibit 109),

the prior mortgages encumbering 1422-24 East 68th (Exhibits 105 and 106), the prior mortgage

encumbering 4750 South Indiana (Exhibit 111), the prior mortgage encumbering 6558 South

Vernon (Exhibit 117), or the prior mortgage encumbering 5618-20 South King (Exhibit 114) were

released.




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Properties Owned By SSDF5 Portfolio 1 LLC

       147.    EquityBuild acquired title to 3074 East Cheltenham by special warranty deed

recorded July 29, 2016, as Document No. 1621134011. (Exhibit 129.)

       148.    EquityBuild purchased 3074 East Cheltenham for cash and later financed the

property with a $2,200,000 loan associated with a Mortgage recorded September 8, 2016, as

Document No. 1625250140 in favor of Danyel Tiefenbacher and Jamie Lai, as to an undivided

2.27% interest; The Entrust Group Inc. FBO Jill Halverson IRA #33-21296, as to an undivided

2.27% interest; MayREI LLC, as to an undivided 3.93% interest; iPlanGroup Agent for Custodian

FBO Christopher Pong IRA, as to an undivided 1.33% interest; iPlanGroup Agent for Custodian

FBO Julia Pong IRA, as to an undivided 1.57% interest; Kevin Randall, as to an undivided 2.27%

interest; Alton P. Motes and Vicki Elaine Washburn JTWROS, as to an undivided 3.64% interest;

Paul N. Wilmesmeier, as to an undivided 1.14% interest; iPlanGroup Agent for Custodian FBO

James B. Ploeger IRA, as to an undivided 0.29 interest; Flying Hound Holdings, LLC, as to an

undivided 0.84% interest; Pat Desantis, as to an undivided 5.00% interest; Adir Hazan, as to an

undivided 2.27% interest; Optima Property Solutions LLC, as to an undivided 2.73% interest;

Quest IRA Inc. FBO Francis Webb IRA #1437711, as to an undivided 1.00% interest; Kester

Brothers Farm, LLC, as to an undivided 2.27% interest; James Hoven, as to an undivided 2.27%

interest; 2nd City Solo 401K Trust, as to an undivided 0.91% interest (which interest was assigned

to The Entrust Group FBO Daniel Mathews IRA Acct #51-01005 by Document No. 1728613034

recorded October 13, 2017); Joshua Morrow, as to an undivided 2.27% interest; D & D Investment

Circle LLC, as to an undivided 1.36% interest; iPlanGroup Agent for Custodian FBO Yvette

Camacho IRA, as to an undivided 1.36% interest; Madison Trust Company Custodian FBO Robert

W. Jennings Account #M1605053, as to an undivided 3.39% interest; iPlanGroup Agent for

Custodian FBO Jyotsna Sharma IRA, as to an undivided 1.14% interest; Erika Dietz, as to an




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undivided 2.27% interest; iPlanGroup Agent for Custodian FBO Mark Young IRA, as to an

undivided 4.55% interest; 1839 Fund I, LLC, as to an undivided 2.27% interest; Joseph M.

Martinez and Linda M. Martinez, as to an undivided 2.27% interest; Ira J. Fields Living Trust,

Glynis Sheppard, Trustee, as to an undivided 2.27% interest; Terry L. Merrill and Sheryl R.

Merrill, as to an undivided 2.27% interest; Equity Trust Company Custodian FBO Paula Levand

IRA, as to an undivided 2.05% interest; TruStar Real Estate Solutions, LLC, as to an undivided

3.41% interest; Quest IRA, Inc. FBO Francisco A. Romero Sr. Acct. #25282-11; as to an undivided

2.55% interest; iPlanGroup Agent for Custodian FBO Jacqueline C. Rowe IRA, as to an undivided

2.27% interest; G & M You-nique Properties LLC, as to an undivided 2.73% interest; Walter T.

Akita and Margaret M. Akita, as to an undivided 2.27% interest; Scott E. Pammer, as to an

undivided 3.18% interest; Equity Trust Company Custodian FBO Stanley J. Kessock IRA, as to

an undivided 2.27% interest; iPlanGroup Agent for Custodian FBO Filomena Mora IRA, as to an

undivided 1.75% interest; KKW Investments, as to an undivided 0.07% interest; PNW

Investments, LLC, as to an undivided 0.45% interest; New Move Ventures Inc., as to an undivided

2.27% interest; iPlanGroup Agent for Custodian FBO Maria Christina Jorgensen IRA #3320820,

as to an undivided 1.91% interest; Vantage FBO Sidney Haggins IRA, as to an undivided 1.36%

interest; Grathia Corporation, as to an undivided 4.55% interest; Vladimir Matviishin, dba

Network Expert, as to an undivided 1.28% interest; Susan Tingle, as to an undivided 2.27%

interest; and Samuel Home Solutions, LLC, as to an undivided 1.92% interest. (Exhibit 130.)

       149.   EquityBuild acquired title to 7201 South Constance by trustee's deed recorded July

30, 2015, as Document No. 1521113052. (Exhibit 131.)

       150.   EquityBuild purchased 7201 South Constance for cash and later financed the

property with a $2,250,000 loan associated with a Mortgage recorded November 17, 2015, as

Document No. 1532145039 in favor of Towpath Investments LLC, as to an undivided 2.22%



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interest; Michael Borgia, as to an undivided 29.75% interest; Reynald Lalonde and Chantal

Lemaire, as to an undivided 2.22% interest; Initium LLC, managed by Harry Saint-Preux, as to an

undivided 2.22% interest; Steven J. Talyai, as to an undivided 6.67% interest; Shaw Family Trust,

as to an undivided 2.44% interest; PNW Investments, LLC, as to an undivided 2.22% interest;

John Sullivan, as to an undivided 2.22% interest; Arthur L. Bertrand and Dinah F. Bertrand, as to

an undivided 4.44% interest; Kirk Road Investments LLC, as to an undivided 2.80% interest;

Equity Trust Company Custodian FBO Sidney Haggins IRA, as to an undivided 2.22% interest;

Quest IRA, Inc. FBO Steven K. Chennappan IRA # 17293-31, as to an undivided 0.44% interest;

Edge Investments, LLC, as to an undivided 0.77% interest; Property Solutions, LLC, as to an

undivided 2.67% interest; and EquityBuild as to an undivided 36.68% interest. (Exhibit 132.)

       151.   SSDF5 Portfolio 1 LLC ("SSDF5") was formed as an Illinois limited liability

company on August 29, 2017.

       152.   EquityBuild conveyed 3074 East Cheltenham, 7201 South Constance, and three

other properties to SSDF5 by quitclaim deed recorded September 29, 2017, as Document No.

1727219055. (Exhibit 133.)

       153.   SSDF5 acquired the five properties with a $5,328,433.43 loan from BC57, LLC

associated with a Mortgage, Assignment Of Leases And Rents, Security Agreement and Fixture

Filing recorded September 29, 2017, as Document No. 1727219056 and amended by corrective

recording on October 4, 2017, as Document No. 1727715135 (Exhibit 134).

       154.   A Release Deed was recorded September 29, 2017, as Document No. 1727219059

in connection with the prior mortgage encumbering 3074 East Cheltenham (Exhibit 135), but that

release was not executed by the mortgagees.




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       155.     A Release Deed was recorded September 29, 2017, as Document No. 1727219063

in connection with the prior mortgage encumbering 7201 South Constance (Exhibit 136), but that

release was not executed by the mortgagees.

Properties Owned By Other EquityBuild Affiliate Entities

       156.     SSDF2 1139 E 79th LLC ("SSDF2 1139") was formed as an Illinois limited liability

company on December 21, 2017, and is indirectly owned or controlled by Receivership Defendant

Jerome Cohen.

       157.     SSDF2 1139 acquired title to 1131-41 East 79th by warranty deed recorded

February 20, 2018, as Document No. 1805108193. (Exhibit 137.)

       158.     The property at 1131-41 East 79th is encumbered by a Multifamily Mortgage,

Assignment Of Leases And Rents, Security Agreement And Fixture Filing recorded December 23,

2013, as Document No. 1335722057 (Exhibit 138) associated with a $1,300,000 loan and assigned

to FannieMae by Document No. 1335722058, recorded December 23, 2013 (Exhibit 139),

although SSDF2 1139 executed an Assumption And Release Agreement recorded February 21,

2018, as Document No. 1805213041 (Exhibit 140).

       159.     The property at 1131-41 East 79th is also encumbered by a Financing Statement

filed January 2, 2014, as Document No. 1400210062 and a continuation statement filed July 25,

2018 as Document No. 1820633426, as well as a Financing Statement filed March 6, 2018, as

Document No. 1806504023.

       160.     EquityBuild acquired title to 7024-32 South Paxton by deed recorded January 3,

2017, as Document No. 1700310120. (Exhibit 141.)

       161.     EquityBuild acquired 7024-32 South Paxton with $2,000,000 in financing from

Master's Holdings, LLC associated with a Mortgage recorded January 3, 2017, as Document No.

1700310121. (Exhibit 142.)




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       162.    EquityBuild later obtained an additional $2,750,000 in financing associated with a

Mortgage recorded against 7024-32 South Paxton on April 10, 2017, as Document No.

1710055037 in favor of Aaron Beauclair, as to an undivided .36% interest; Alan Rubin, as to an

undivided .91% interest; Baron Real Estate Holdings, LLC, as to an undivided 7.27% interest;

Bright Venture, as to an undivided .91% interest; David M. Harris, as to an undivided 3.64%

interest; Dennis and Mary Ann Hennefer, as to an undivided 12.73% interest; Don Minchow, as

to an undivided 1.45% interest; DVH Investment Trust, as to an undivided 1.27% interest; Emile

Dufrene, as to an undivided 1.82% interest; Ernest D. Marcus, as to an undivided 1.82% interest;

Florybeth & David Stratton, as to an undivided 2.41% interest; Francisco Fernandez, as to an

undivided 3.64% interest; Gallowglass LLC, as to an undivided 1.82% interest; Girl Cat Capital

West LLC, as to an undivided 1.82% interest; Gowrisankar Challagundla, as to an undivided .91%

interest; GRB Properties LLC, as to an undivided 3.85% interest; Hidden Diamonds LLC, as to an

undivided 1.82% interest; iPlan Group Agent for Custodian FBO Randall Pong IRA, as to an

undivided 1.82% interest; iPlanGroup Agent for Custodian FBO Maricris Lee IRA, as to an

undivided .29% interest; IRA Resources, FBO Edward Day, IRA Acct #35- 36374, as to an

undivided .55% interest; JS Investment Trust, as to an undivided .87% interest; Julie Patel, as to

an undivided 1.45% interest; Karl R. DeKlotz, as to an undivided 5.45% interest; Kevin P.

Kennedy, as to an undivided 1.82% interest; KKW Investments, as to an undivided .14% interest;

Kuldeep Jain, as to an undivided 3.64% interest; Madison Trust Company Custodian FBO Phillip

Vender Kraats IRA # M1611034, as to an undivided 1.82% interest; Madison Trust Company

Custodian FBO Steven Rocher IRA #M1610060, as to an undivided .35% interest; Madison Trust

Company Custodian FBO Zinaida V. Goltseva IRA, as to an undivided .62% interest; MayREI

LLC, as to an undivided .07% interest; Michael Alden Schankman, as to an undivided 1.82%

interest; Michael F. Grant & L. Gretchen Grant Revocable Trust dated March 16, 2012, as to an



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undivided 1.45% interest; NBFAR Investment LLC, as to an undivided 1.09% interest; Pat

Desantis, as to an undivided 9.09% interest; Patricia J. Theil C/F Jacqueline M. Theil, as to an

undivided 1.82% interest; Pensco Trust Company Custodian FBO Bruce Kaechele Self-Directed

IRA, as to an undivided 1.82% interest; Robert A. Demick DDS PA 401K, as to an undivided

1.82% interest; Samuel D. Theil, as to an undivided .91% interest; Steven Roche, as to an

undivided .02% interest; Strategic Wealth Ventures, LLC, as to an undivided .91% interest; Tahiti

Trust, as to an undivided 2.00% interest; The Dominguez-Peters Living Trust, as to an undivided

1.82% interest; United Capital Properties LLC, as to an undivided 2.0% interest; US Freedom

Investments, LLC, as to an undivided 1.82% interest; Vantage Custodian FBO Sidney Haggains

IRA, as to an undivided 1.27% interest; and White Tiger Revocable Trust, as to an undivided

3.02% interest. (Exhibit 143.)

       163.    SSDF4 7024 S Paxton LLC ("SSDF4 Paxton") was formed as an Illinois limited

liability company on March 27, 2018, and was indirectly owned or controlled by Receivership

Defendant Jerome Cohen.

       164.    EquityBuild quitclaimed 7024-32 South Paxton to SSDF4 Paxton by deed recorded

June 18, 2018, as Document No. 1816918190. (Exhibit 144.)

       165.    SSDF4 Paxton acquired 7024-32 South Paxton with a $1,541,000 loan from

Greystone Servicing Corporation, Inc. ("Greystone") associated with a Multifamily Mortgage,

Assignment Of Rents And Security Agreement recorded June 18, 2018, as Document No.

1816918191. (Exhibit 145.)

       166.    The security instruments associated with the loan from Greystone to SSDF4 Paxton

are now held by the Federal Home Loan Mortgage Corporation ("Freddie Mac") by virtue of an

Assignment Of Security Instrument recorded on June 18, 2018, as Document No. 1816918192




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(Exhibit 146), and the loan from Freddie Mac to SSDF4 Paxton is also associated with a Financing

Statement filed June 18, 2018, as Document No. 1816918193.

       167.    A Release Deed was recorded June 19, 2017, as Document No. 1717018059 in

connection with a prior mortgage encumbering 7024-32 South Paxton (Exhibit 147), but that

release was not executed by the mortgagees.

       168.    Although a settlement statement associated with the loan from Greystone to SSDF4

Paxton (Exhibit 148) indicates that the promissory note given to Master's Holdings, LLC was likely

repaid pursuant to the terms of the corresponding payoff letter (Exhibit 149), the public records

provide no indication that a release of the Master's Holdings mortgage was ever recorded.

       169.    EquityBuild acquired title to 4533-47 South Calumet by deed recorded August 3,

2016, as Document No. 1621646081. (Exhibit 150.)

       170.    EquityBuild purchased 4533-47 South Calumet for cash and later financed the

property with a $2,900,000 loan associated with a Mortgage recorded September 8, 2016, as

Document No. 1625250139, in favor of Annie Chang, as to an undivided 1.72% interest; iPlan

Group Agent for Custodian FBO Vladimir Matviishin IRA, as to an undivided 1.76% interest;

Rabbi Dr. Gideon Goldenholz, as to an undivided 1.72% interest; iPlan Group Agent for Custodian

FBO Joshua Mora IRA, as to an undivided 1.97% interest; iPlan Group Agent for Custodian FBO

Christopher Mora IRA, as to an undivided 2.31% interest; Dee Ann Nason, as to an undivided

1.72% interest; Lorraine K. McClane, as to an undivided 1.72% interest; Shengjie LI and Yuye

Xu, as to an undivided 1.72% interest; Jackie Becker, as to an undivided 0.86% interest; Joyce W.

Bak Revocable Trust Joyce Becker Bak Trustee, as to an undivided 0.86% interest; Walter Becker,

as to an undivided 3.45% interest; iPlan Group Agent for Custodian FBO Mark Young IRA, as to

an undivided 1.72% interest; Asians Investing in Real Estate LLC, as to an undivided 1.83%

interest; Madison Trust Company Custodian FBO Xuwen Lin IRA Account #M1606034, as to an



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undivided 1.72% interest; Harvey Singer, as to an undivided 3.45% interest; Robert A. Potter, as

to an undivided 1.72% interest; Madison Trust Company FBO James Henderson IRA, as to an

undivided 1.38% interest; Eleven St. Felix Street Realty Corp, as to an undivided 1.72% interest;

IRA Trust Services Co. FBO SLM Property Investments IRA Account #: 5877315203, as to an

undivided 1.72% interest; Layne A. Hermansen, as to an undivided 1.76% interest; Paul N.

Wilmesmeier, as to an undivided 0.86% interest; iPlanGroup Agent for Custodian FBO Darrell

Duty IRA, as to an undivided 0.22% interest; Captain Jack, LLC, as to an undivided 0.69% interest;

Douglas & Narine Nebel, as to an undivided 1.72% interest; Equity Trust Company Custodian

FBO Andrew Brooks 401k Plan, as to an undivided 0.69% interest; Vantage Appraisals, Inc. 401k,

as to an undivided 1.90% interest; Denton Real Estate Company Inc. 401k, as to an undivided

3.45% interest; Baron Real Estate Holdings, LLC, as to an undivided 10.34% interest; iPlanGroup

Agent for Custodian FBO William Jack Needham IRA Account#3300944, as to an undivided

5.84% interest; Optima Property Solutions LLC, as to an undivided 2.41% interest; New Move

Ventures Inc., as to an undivided 2.41% interest; Charles Savona, as to an undivided 1.72%

interest; The Entrust Group Inc. FBO Patrick Sheehan IRA #11011, as to an undivided 1.72%

interest; iPlanGroup Agent for Custodian FBO David Trengove IRA Account #3300951, as to an

undivided 6.90% interest; Tierra Buena, LLC, as to an undivided 2.59% interest; Russ Moreland,

as to an undivided 1.72% interest; Quest IRA, Inc. FBO Steven C. Noss IRA#12201-11, as to an

undivided 1.72% interest; Louis Liu, as to an undivided 1.72% interest; Hoang-Small Trust, as to

an undivided 1.72% interest; Bluebridge Partners Limited, as to an undivided 3.45% interest;

Rajitha Dundigalla, as to an undivided 1.72% interest; Double Portion Foundation, as to an

undivided 1.38% interest; iPlan Group Agent for Custodian FBO Brett Burnham, as to an

undivided 2.76% interest; and Big Bean, LLC, as to an undivided 3.45% interest. (Exhibit 151.)




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       171.   On January 12, 2017, 4533-37 S. Calumet LLC (the "Calumet Entity") was formed

as an Illinois limited liability company and was indirectly owned or controlled by Receivership

Defendant Jerome Cohen.

       172.   EquityBuild conveyed 4533-37 South Calumet to the Calumet Entity by warranty

deed recorded February 23, 2017, as Document No. 1705429016. (Exhibit 152.)

       173.   The Calumet Entity acquired 4533-37 South Calumet with a $3,020,000 loan from

BMO Harris Bank, N.A. associated with a Construction Mortgage recorded February 23, 2017, as

Document No. 1705429017 (Exhibit 153) and an Assignment Of Rents recorded February 23,

2017, as Document No. 1705429018 (Exhibit 154).

       174.   The public records provide no indication that the prior mortgage recorded against

4533-37 South Calumet (Exhibit 151) was ever released.

       175.   1700 Juneway LLC (the "Juneway Entity") was formed on March 28, 2017, as an

Illinois limited liability company and was indirectly owned and controlled by Receivership

Defendant Jerome Cohen.

       176.   The Juneway Entity acquired title to 1700-08 West Juneway by special warranty

deed recorded April 11, 2017, as Document No. 1710129088. (Exhibit 155.)

       177.   The Juneway Entity acquired 1700-08 West Juneway with a $2,175,000 loan from

Thorofare Asset Based Lending REIT Fund IV, LLC associated with a Mortgage, Assignment Of

Leases And Rents, Security Agreement And Fixture Filing recorded April 11, 2017, as Document

No. 1710129089, and re-recorded April 12, 2017, as Document No. 1710206148 (Exhibit 156), as

well as a Financing Statement filed April 11, 2017, as Document No. 1710129090.

       178.   The Juneway Entity later obtained an additional $4,120,000 in financing associated

with Mortgage recorded against 1700 West Juneway on June 23, 2017, as Document No.

1717413024, in favor of the Agee Family Trust, as to an undivided 0.97% interest; Aluvelu Homes,



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LLC, as to an undivided 0.49% interest; American Estate and Trust FBO Layne Jones IRA, as to

an undivided 0.49% interest; Asians Investing In Real Estate LLC, as to an undivided 0.36%

interest; Bill Akins, as to an undivided 0.49% interest; Cadaval Investment Trust FBO Dana

Cadaval Solo 401k, as to an undivided 1.21% interest; CAMA SDIRA LLC FBO Bill Akins IRA

(Account Number: 000107), as to an undivided 0.61% interest; Capital Investors, LLC, as to an

undivided 6.07% interest; Clearwood Funding, LLC., as to an undivided 1.21% interest; Clove,

LLC, as to an undivided 0.12% interest; Coppy Properties, LLC, as to an undivided 1.21% interest;

Cross 5774 Holdings LLC - Cross Global Funding Group, as to an undivided 1.21% interest;

Danielle DeVarne, as to an undivided 1.21% interest; Darrell W. Duty and Frances C. Duty, as to

an undivided 0.24% interest; DeeAnn Nason, as to an undivided 1.21% interest; Denton Real

Estate Company Inc. 401k, as to an undivided 0.61% interest; Dream Homes 4u Inc, as to an

undivided 0.36% interest; Elaine Sison Ernst, as to an undivided 0.73% interest; Evans &

Associates LLC, as to an undivided 1.21% interest; Gilbert D. Sherman Declaration of Trust Dated

July 30, 2013, as to an undivided 1.21% interest; Helene D. Kapsky, as to an undivided 2.43%

interest; Hiroyuki Roy Chin and Lillian S. Chin, as to an undivided 0.58% interest; iPlan Group

Agent for Custodian FBO Dana Speed IRA, as to an undivided 0.97% interest; iPlan Group Agent

for Custodian FBO Jason Ragan Roth IRA #3320326, as to an undivided 0.24% interest; iPlan

Group Agent for Custodian FBO Jason Ragan SEP #3340597, as to an undivided 0.49% interest;

iPlanGroup Agent for Custodian FBO Andrew Brooks IRA, as to an undivided 0.49% interest;

iPlanGroup Agent for Custodian FBO David Trengove IRA Account #3300951, as to an undivided

0.85% interest; iPlanGroup Agent for Custodian FBO Gary Bumham JR Family HSA, as to an

undivided 0.22% interest; iPlanGroup Agent for Custodian FBO Janice G. Burrell IRA, as to an

undivided 2.11% interest; iPlanGroup Agent for Custodian FBO Michael Borgia IRA, as to an

undivided 3.03% interest; iPlanGroup Agent for Custodian FBO Raegan Bumham Roth IRA, as



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to an undivided 0.02% interest; iPlanGroup Agent for Custodian FBO Vladimir Matviishin IRA,

as to an undivided 0.18% interest; IRA Services Trust Company CFBO Jean-Marc Cabrol IRA

220656, as to an undivided 0.37% interest; IRA Services Trust Company CFBO Melbourne

Kimsey II IRA113530, as to an undivided 1.21% interest; JLo Enterprises, LLC, as to an undivided

0.66% interest; JLo Enterprises, LLC, as to an undivided 0.24% interest; JML Roth, LLC, as to an

undivided 0.05% interest; JML Roth, LLC, as to an undivided 0.05% interest; John A. Martino, as

to an undivided 2.43% interest; Juliette S. Barksdale, as Trustee of the Juliette S. Barksdale 2011

Revocable Trust u/d/t December 22, 2011, as to an undivided 7.28% interest; Kameda Investments

LLC, as to an undivided 2.43% interest; Madison Trust Company Custodian FBO Brian Shaffer

IRA Account # M1703059, as to an undivided 2.43% interest; Madison Trust Company Custodian

FBO Michael McClane IRA M1610052, as to an undivided 2.43% interest; Madison Trust

Company Custodian FBO Xuwen Lin IRA Account #M1606034, as to an undivided 0.21%

interest; Madison Trust Company Custodian FBO Zahra Mofrad IRA, as to an undivided 0.61%

interest; Madison Trust IRA FBO Grace Ndungu #M1703041, as to an undivided 1.21% interest;

Mark A. Miller ATF Domaskin Revocable Trust August 8th, 2006, as to an undivided 2.43%

interest; MayREI LLC, as to an undivided 1.46% interest; MayREI LLC, as to an undivided 1.21%

interest; Melanie T. Gonzales and Gary M. Gonzales, as to an undivided 6.07% interest; NuView

IRA fbo Elizabeth Monnot-Chase IRA Traditional IRA, as to an undivided 1.21% interest;

NuView IRA fbo Elizabeth Monnot-Chase IRA Traditional IRA, as to an undivided 1.33%

interest; Patrick Connely, as to an undivided 1.21% interest; Paul N. Wilmesmeier, as to an

undivided 0.61% interest; Paul S. Applefield, DDS, 401K Plan, as to an undivided 1.09% interest;

Pioneer Valley Properties, LLC, as to an undivided 1.21% interest; Quest IRA acc#26920-21 FBO

Mona Leonard Roth IRA, as to an undivided 1.21% interest; Quest IRA, Inc. FBO Paul S.

Applefield IRA# 16413-21, as to an undivided 0.16% interest; Quest IRA, Inc. FBO Rebeca E.



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Savory-Romero IRA #15528-21, as to an undivided 0.25% interest; Quest IRA, Inc. FBO Robin

Applefield IRA# 25164-21, as to an undivided 0.16% interest; R.D. Meredith General Contractors,

LLC, as to an undivided 2.43% interest; R.D. Meredith General Contractors, LLC 401K Plan, as

to an undivided 0.97% interest; Ricardo Acevedo Lopez, as to an undivided 0.36% interest; Rise

Up Real Estate Group, LLC, as to an undivided 3.50% interest; Robert A. Potter, as to an undivided

1.92% interest; Samuel R. Cratis, as to an undivided 1.82% interest; Scott H. Eaton, as to an

undivided 0.61% interest; Scott/Erquiaga Trust, as to an undivided 1.21% interest; Self Directed

IRA Services Inc., FBO: William Hooper, Account #100005001, as to an undivided 1.33%

interest; Serva Fidem, LLC, as to an undivided 0.85% interest; Simon Usuga, as to an undivided

1.09% interest; Source One Funding, LLC, as to an undivided 1.21% interest; Spectra Investments,

LLC, as to an undivided 2.67% interest; Steven Bald, as to an undivided 1.46% interest; The

Entrust Group Inc. FBO Jill Meekcoms IRA #33-21296, as to an undivided 1.21% interest; Tiger

Chang Investment LLC, as to an undivided 0.24% interest; Vantage Custodian FBO Sidney

Haggains IRA, as to an undivided 0.61% interest; and Vladimir Garcia Melijov, as to an undivided

2.43% interest. (Exhibit 157.)

       179.    5450 S. Indiana LLC (the "Indiana Entity") was formed on March 15, 2017, as an

Illinois limited liability company and was indirectly owned and controlled by Receivership

Defendant Jerome Cohen.

       180.    The Indiana Entity acquired title to 5450-52 South Indiana by special warranty deed

recorded April 4, 2017, as Document No. 1709445115. (Exhibit 158.)

       181.    The Indiana Entity purchased 5450-52 South Indiana with a $3,600,000 acquisition

loan associated with a Mortgage, Assignment Of Leases And Rents, Fixture Filing, And Security

Agreement recorded April 4, 2017, as Document No. 1709445116, in favor of 1111 Crest Dr. LLC,

as to an undivided 50% ownership; Abraham Aaron Ebriani, as to an undivided 14% ownership;



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Hamid Esmail, as to an undivided 14% ownership; and Farsaa Inc., as to an undivided 22%

ownership. (Exhibit 159.)

       182.   Abraham Aaron Ebriani conveyed his interest in the foregoing loan and security

agreement to the Pakravan Living Trust by Assignment Of Mortgage recorded January 4, 2019, as

Document No. 1900434068. (Exhibit 160.)

       183.   The Indiana Entity later obtained an $3,050,000 in additional financing associated

with a Mortgage recorded against 5450-52 South Indiana on June 23, 2017, as Document No.

1717413023, in favor of Aluvelu Homes, LLC, as to an undivided 0.66% interest, Argan Realty

LLC., as to an undivided 1.64% interest, Arthur L and Dinah F Bertrand, as to an undivided 1.64%

interest, Bill Akins, as to an undivided 0.33% interest, Blue Mountain Ventures (S/D IRA), as to

an undivided 4.92% interest, Bluebridge Partners LTD., as to an undivided 3.28%, Brad & Linda

Lutz, as to an undivided 1.64% interest, Bright Venture, as to an undivided 1.31% interest, CAMA

SDIRA, LLC FBO Bill Akins IRA, as to an undivided 0.66% interest, Distributive Marketing,

Inc., as to an undivided 1.64% interest, DK Phenix Investments LLC, as to an undivided 1.64%

interest, Douglas H Nebel, as to an undivided 1.31% interest, Douglas H Nebel, as to an undivided

0.82% interest, Girl Cat Capital West LLC, as to an undivided 1.64% interest, Graystone Realty,

LLC, as to an undivided 1.64% interest, Harendra Pal, as to an undivided 0.29% interest, Hiroyuki

Roy Chin & Lillian S. Chin JTWROS, as to an undivided 0.85% interest, IG Investment Trust, as

to an undivided 0.82% interest, Influx Investments, LLC, as to an undivided 0.82% interest,

iPlanGroup Agent for Custodian FBO Alcalli Sabat IRA, as to an undivided 0.66% interest,

iPlanGroup Agent for Custodian FBO Alcalli Sabat Roth IRA, as to an undivided 0.33% interest,

iPlanGroup Agent for Custodian FBO David Trengove IRA Account#3300951, as to an undivided

1.31% interest, iPlanGroup Agent for Custodian FBO Ed Bancroft Roth IRA, as to an undivided

0.19% interest, iPlanGroup Agent for Custodian FBO Rajanikanth Tanikella IRA, as to an



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undivided 0.33% interest, iPlanGroup Agent for Custodian FBO Terri Shelton IRA #3301003, as

to an undivided 1.64% interest, iPlanGroup Agent for Custodian FBO Verdell Michaux IRA, as to

an undivided 0.16% interest, iPlanGroup Agent for Custodian FBO Vladimir Matviishin IRA, as

to an undivided 0.46% interest, IRA Services Trust Company CFBO Jean-Marc Cabrol IRA

220656, as to an undivided 0.79% interest, IRA Services Trust Custodian FBO Ronald Stephen

Klein IRA, as to an undivided 1.64% interest, Karl R. DeKlotz, as to an undivided 4.92% interest,

Kirk Road Investments LLC, as to an undivided 4.00% interest, LMJ Sales, Inc., as to an undivided

3.28% interest, Luna D. and Jerry E. Ellis, as to an undivided 1.31% interest, Madison Trust

Company custodian FBO Anjanette Comer IRA M1609089, as to an undivided 0.33% interest,

Madison Trust Company Custodian FBO Denise R. Wilson Account #M1612128, as to an

undivided 1.64% interest, Madison Trust Company Custodian FBO Erika Dietz Account

#M1612085, as to an undivided 3.28% interest, Mark DeLuca, as to an undivided 3.61% interest,

Mark Mouty, as to an undivided 0.66% interest, Mid LLC, as to an undivided 1.64% interest, Mike

Dirnberger, as to an undivided 0.33% interest, Nancy A. Markwalter, as to an undivided 0.80%

interest, NEHASRI LTD, as to an undivided 0.82% interest, Nerses Abramyan, as to an undivided

0.82% interest, New Direction IRA, Inc. FBO James Anthony Ande IRA, as to an undivided 0.82%

interest, Optima Property Solutions, LLC, as to an undivided 5.61%, Paul Harrison, as to an

undivided 1.41% interest, Paul N. Wilmesmeier, as to an undivided 0.82% interest, Petra Zoeller,

as to an undivided 1.64% interest, Provident Trust Group F.B.O Charles Smith SoloK, as to an

undivided 1.64% interest, R2V2 Investments, LLC, as to an undivided 0.66% interest, Robert

Jennings, as to an undivided 4.92% interest, Sam Harrison, as to an undivided 0.82% interest,

Sandeep Kattar, as to an undivided 1.64% interest, Seadog Properties, LLC, as to an undivided

0.79% interest, Steven G. Mouty, as to an undivided 1.64% interest, Steven Roche, as to an

undivided 0.16% interest, Strategic Wealth Ventures, LLC, as to an undivided 1.17% interest, The



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Wanda M. Behling Trust, as to an undivided 0.37% interest, Thomas F. Gordon, as to an undivided

3.28%, Timothy Sharp, as to an undivided 1.64%, Vartan Tarakchyan, Trustee for defined Benefits

Pension Plan and 401K Plan, as to an undivided 0.98%, Vivek Pingili, as to an undivided 0.98%

and Yin Liu & Ping Xu, as to an undivided 6.56% interest. (Exhibit 161.)

       184.    EquityBuild acquired title to 6437-41 South Kenwood by trustee's deed recorded

June 1, 2017, as Document No. 1715206150. (Exhibit 162.)

       185.    6437 S Kenwood, LLC (the "Kenwood Entity") was formed on April 20, 2017, as

an Illinois limited liability company and was indirectly owned and controlled by Receivership

Defendant Jerome Cohen.

       186.    EquityBuild conveyed 6437-41 South Kenwood to the Kenwood Entity by

quitclaim deed recorded October 25, 2017, as Document No. 1729829041. (Exhibit 163.)

       187.    The Kenwood Entity later financed 6437-41 South Kenwood with a $2,500,000

loan associated with a Mortgage recorded December 15, 2017, as Document No. 1734944038, in

favor of Adir Hazan, as to a 2.00% interest; the Agee Family Trust, as to a 0.60% interest; Asians

Investing In Real Estate, LLC, as to a 2.80% interest; Captain Jack, LLC, as to a 3.00% interest,

Charlotte A. Hofer, as to a 1.40% interest; Cosmopolitan Properties, as to a 6.00% interest; Cree

Capital Ventures, LLC, as to a 10.00% interest; David M. Harris, as to an 8.00% interest;

Distributive Marketing, LLC, as to a 2.00% interest; Duane A. Degenhardt and Linda S.

Degenhardt, as to a 6.00% interest; Ed Bancroft, as to a 0.30% interest; Ed Bancroft, as to a 0.52%

interest; Equity Capital Resources, LLC, as to a 1.00% interest; Freyja Partners, authorized by

Sangham Partners, LLC, Lyman Black Manager, as to a 2.00% interest; Garwood M.

Weatherhead, as to a 6.00% interest; Grathia Corp, as to a 2.28% interest; Hoang-Small Trust, as

to a 6.00% interest; iPlanGroup Agent for Custodian FBO Ed Bancroft Roth IRA, as to a 0.01%

interest; iPlanGroup Agent for Custodian FBO Elizabeth Zeng ROTH, as to a 1.00% interest;



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iPlanGroup Agent for Custodian FBO Eric Schwartz IRA, as to a 0.48% interest; iPlanGroup

Agent for Custodian FBO Jacqueline Rowe IRA, as to a 2.40% interest; iPlanGroup Agent for

Custodian FBO Laurie A. Connely IRA, as to a 0.80% interest; iPlanGroup Agent for Custodian

FBO Thomas F. Gordon SEP IRA, as to a 2.12% interest; John Bloxham, as to a 2.00% interest;

Julie Patel, as to a 1.60% interest; KKW Investments, LLC, as to a 0.08% interest; Lawrence Daly,

as to a 6.00% interest; Madison Trust Company Custodian FBO James R. Robinson Traditional

IRA Acct #M1705044, as to a 1.00% interest; Madison Trust Company Custodian FBO Steven

Roche IRA #M1610060, as to a 0.64% interest; Midatlantic IRA, LLC FBO Charles McEvoy IRA,

as to a 4.48% interest; Optima Property Solutions, LLC, as to a 1.20% interest; Paul S. Scribner

Revocable Trust dated May 15, 2003, as to a 2.00% interest; PNW Investments, LLC, as to a

0.40% interest; Quest IRA, Inc. FBO Steven C. Noss IRA #12201-11, as to a 1.00% interest;

Ramsey Stephan, as to a 0.38% interest; Robert A. Demick DDS PA 401K, as to a 2.00% interest;

Robert A. Potter, as to a 1.23% interest; RSS Triad Investments, LLC, as to a 1.20% interest;

Steven Roche, as to a 1.69% interest; Sunwest Trust FBO David M. Williams IRA Acct #1612425,

as to a 0.97% interest; Sunwest Trust, Custodian FBO Glenda K. Allred IRA #1612617, as to 0.a

62% interest; Susan Kalisiak, as to a 2.00% interest; Terry L. Merrill and Sheryl R. Merrill, as to

a 2.00% interest; and Vartan Tarakchyan, Trustee for Defined Benefits Pension Plan and 401K

Plan, as to a 0.80% interest. (Exhibit 164.)

       188.    SSPH 11117 S Longwood, LLC (the "Longwood Entity") was formed on May 24,

2017, as an Illinois limited liability company and was indirectly owned and controlled by

Receivership Defendant Jerome Cohen.

       189.    The Longwood Entity acquired title to 11117-19 South Longwood by special

warranty deed recorded October 3, 2017, as Document No. 1727639007. (Exhibit 165.)




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       190.    The Longwood Entity purchased 11117-19 South Longwood for cash and later

financed the property with a $5,200,000 loan associated with a Mortgage recorded April 25, 2018,

as Document No. 1811506119, in favor of 88 Legacy LLC, as to an undivided 0.96% interest; the

Agee Family Trust, as to an undivided 0.48% interest, Alan Schankman, as to an undivided 0.96%

interest, Allred Living Trust dated 12/07/2016, as to an undivided 0.96% interest; Asians Investing

In Real Estate LLC, as to an undivided 2.88% interest, Blue Mountain Ventures PSP 401K, as to

an undivided 1.92% interest; Braden Galloway, as to an undivided 1.97% interest; Brook

Swientisky, as to an undivided 0.96% interest; Btrue LLC, as to an undivided 0.96% interest;

Chestnut Capital LLC, as to an undivided 0.96% interest; Concorde Management, LLC, as to an

undivided 1.15% interest; Cree Capital Ventures, LLC, as to an undivided 4.81% interest; Danyel

Tiefenbacher and Jamie Lai, as to an undivided 0.96% interest; David M. Harris, as to an undivided

0.63% interest; DeeAnn Nason, as to an undivided 0.96% interest; Distributive Marketing LLC,

as to an undivided 1.06% interest, DK Phenix Investments LLC, as to an undivided 1.44% interest;

Eco2 Capital Inc 401K, as to an undivided 0.96% interest; Edge Investments, LLC, as to an

undivided 1.92% interest; Gallowglass LLC, as to an undivided 0.96% interest; Grathia

Corporation, as to an undivided 1.02% interest; Hillside Fund, LLC, as to an undivided 1.44%

interest; iPlanGroup Agent for Custodian FBO David Trengove IRA Account#3300951, as to an

undivided 0.88% interest; James S. Factor TTEE James S. Factor Revocable Trust U/A dtd

05/23/2008, as to an undivided 0.29% interest; James Tutsock, as to an undivided 4.81% interest;

JFKN Investment Trust, as to an undivided 0.48% interest; John McDevitt, as to an undivided

1.92% interest; John S. Ennema and Roswitha M. Ennema, as to an undivided 0.10% interest;

Koates LLC, as to an undivided 0.96% interest; Kristien Van Hecke as trustee of DK Phenix

Investments LLC 401 (k) FBO Kristien Van Hecke, as to an undivided 0.48% interest; Leon Liu,

as to an undivided 2.88% interest, Madison Trust Company Custodian FBO Bruce Walter



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M1705137, as to an undivided 0.96% interest; Madison Trust Company Custodian FBO Harry

Shaffer #M1707067, as to an undivided 1.92% interest; Madison Trust Company Custodian FBO

Patrick Coppinger M1708149, as to an undivided 1.15% interest; Madison Trust Company

Custodian FBO Rajesh Gupta #M1707030, as to an undivided 5.11% interest; Mary Chang Family

Trust, as to an undivided 1.92% interest; Mike M. Cocos and Loryn T. Cocos, as to an undivided

0.96% interest; Nancy Fillmore, as to an undivided 0.96% interest; Paul N. Wilmesmeier, as to an

undivided 0.29% interest; Paul S. Applefield, DDS, 401K Plan, as to an undivided 0.21% interest,

Petra Zoeller, as to an undivided 3.83% interest; PNW Investments, LLC, as to an undivided 0.35%

interest; Quest IRA, Inc. FBO Paul S. Applefield Roth IRA, as to an undivided 0.13% interest;

Quest IRA, Inc. FBO Robin Applefield Roth IRA, as to an undivided 0.13% interest; Rajitha

Dundigalla, as to an undivided 0.96% interest; RAVIN3 LLC, as to an undivided 7.69% interest;

Rinku Uberoi, as to an undivided 4.81% interest; Rise Up Real Estate Group, LLC, as to an

undivided 2.40% interest; Robert Jennings, as to an undivided 2.88% interest; Samuel Cratis, as

to an undivided 0.44% interest; Scott H. Eaton, as to an undivided 0.96% interest; Serva Fidem,

LLC, as to an undivided 0.48% interest; Steven Trzaska and Annamarie Trzaska, as to an

undivided 1.92% interest; Steven Bald, as to an undivided 0.87% interest; Sunshine Bliss, LLC,

as to an undivided 0.49% interest; Sunwest Trust Inc. FBO John B. Allred IRA #1612618, as to

an undivided 0.25% interest; Sunwest Trust, Custodian FBO Joseph E. Kennedy IRA #161595, as

to an undivided 0.96% interest; The Melbourne Kimsey II Revocable Trust, as to an undivided

0.96% interest; The Shaw Family Trust, as to an undivided 0.96% interest; The Steven G. Mouty

Trust, as to an undivided 2.88% interest; Timothy Sharp, as to an undivided 0.96% interest;

William H. Akins, Jr., LLC, as to an undivided 4.81% interest; WT Investment Trust, as to an

undivided 0.33% interest; and Zouhair Stephan and Nada Stephan, as to an undivided 2.88%

interest. (Exhibit 166.)



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Encumbrances Recorded Against The Properties

       191.      The properties at 4750 South Indiana Avenue, 5618-20 South King, 6558 South

Vernon, 7024 South Paxton, and 4533-37 South Calumet are encumbered by a lis pendens

recorded July 2, 2018, as Document No. 1818318076 (the "Markwell 8076 Lis Pendens"), in

connection with the case captioned Anson Markwell, as Trustee for the Amark Investment Trust v.

EquityBuild, Inc., et al., United States District Court for the Southern District of Texas, Houston

Division, Case No. 4:18-cv-01274 (the "Markwell Action"). (Exhibit 167.)

       192.      The properties at 1422-24 East 68th Street, 8000-02 South Justine, 8209 South

Ellis, 8214-16 South Ingleside, 2800-06 East 81st, 7840-42 South Yates Avenue, and 7201 South

Constance are encumbered by a lis pendens recorded July 2, 2018, as Document No. 1818318077

(the "Markwell 8077 Lis Pendens"), in connection with the Markwell Action. (Exhibit 168.)

       193.      The properties at 7255-57 South Euclid, 6250 South Mozart, 7442-48 South

Calumet, 7201-07 South Dorchester, 7051 South Bennett, 3074 East Cheltenham, and 6437-41

South Kenwood are encumbered by a lis pendens recorded July 2, 2018, as Document No.

1818318078 (the "Markwell 8078 Lis Pendens"), in connection with the Markwell Action.

(Exhibit 169.)

       194.      The properties at 6355-59 South Talman, 6356 South California, 2736-44 West

64th, 4317-19 South Michigan, 816-20 East Marquette, 7508 South Essex, 7656-58 South

Kingston, and 7600-10 South Kingston are encumbered by a lis pendens recorded July 2, 2018, as

Document No. 1818318079 (the "Markwell 8079 Lis Pendens"), in connection with the Markwell

Action. (Exhibit 170.)

       195.      The properties at 7701-03 South Essex and 7953-59 South Marquette are

encumbered by a lis pendens recorded July 2, 2018, as Document No. 1818318080 (the "Markwell

8080 Lis Pendens"), in connection with the Markwell Action. (Exhibit 171.)




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       196.      The properties at 6356 South California, 6355-59 South Talman, 7051 South

Bennett, 7442-48 South Calumet, 7201-07 South Dorchester, 4317-19 South Michigan, 2736-44

West 64th, and 7508 South Essex are encumbered by a lis pendens recorded August 15, 2018, as

Document No. 1822706115 (the "Michigan Shores 6115 Lis Pendens") in connection with that

certain case captioned Michigan Shores Apartments, LLC v. EquityBuild, Inc., SSDF7 Portfolio 1,

LLC, [and] Liberty EBCP LLC, Circuit Court of Cook County, Case No. 2018-CH-09098 (the

"Michigan Shores Action"). (Exhibit 172.)

       197.      The property at 816-20 East Marquette is encumbered by a lis pendens recorded

August 15, 2018, as Document No. 1822706116 (the "Michigan Shores 6116 Lis Pendens") in

connection with Michigan Shores Action. (Exhibit 173.)

       198.      The property at 7760 South Coles is encumbered by a lis pendens recorded July 6,

2018, as Document No. 1818742177 in connection with that certain case captioned City of Chicago

v. EB South Chicago 3 LLC, et al., Circuit Court of Cook County, Illinois, Case No. 18-M1-

401995. (Exhibit 174.)

       199.      The property at 8107-09 South Ellis is encumbered by a lis pendens recorded

September 11, 2018, as Document No. 1825441132, in connection with the case captioned City of

Chicago v. EB South Chicago 4 LLC, et al., Circuit Court of Cook County, Illinois, Case No. 18-

M1-402805. (Exhibit 175.)

       200.      The property at 7201 South Constance is encumbered by a lis pendens recorded

September 20, 2019, as Document No. 1926341164, in connection with the case captioned City of

Chicago v. BC57, LLC, et al., Circuit Court of Cook County, Illinois, Case No. 19-M1-402334.

(Exhibit 176.)

       201.      Notwithstanding the lis pendens recorded by the City of Chicago against 7760

South Coles, 8107-09 South Ellis, and 7201 South Constance, the Receiver intends to convey these



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properties subject to the lis pendens recorded against them and does not intend to request a court

order authorizing the sale of these properties free and clear of those particular encumbrances.

       202.      The property at 3074 East Cheltenham is encumbered by a mechanic's lien recorded

in favor of Chicago Real Estate Resources, Inc. on April 25, 2018, as Document No. 1811519132.

(Exhibit 177.)

       WHEREFORE, the Receiver respectfully requests that this Court grant the Sixth Motion

For Court Approval Of The Process For Public Sale Of Real Estate By Sealed Bid by entering an

order in the form attached at Tab B, and grant such other relief as the Court deems just and proper.

                FIFTH MOTION FOR APPROVAL OF THE SALE OF
              CERTAIN REAL ESTATE AND FOR THE AVOIDANCE OF
           CERTAIN MORTGAGES, LIENS, CLAIMS, AND ENCUMBRANCES

       203.      The Receiver seeks leave to close the sales of fifteen residential apartment buildings

pursuant to purchase and sale contracts executed with successful third-party bidders or, in one

case, with a credit bidding lender.

       204.      On February 15, 2019, the Receiver filed a Second Motion For Court Approval Of

The Process For Public Sale Of Real Property By Sealed Bid (the "Second Motion"). (Docket

No. 288)

       205.      The Second Motion related to several properties, including the property at 4520-26

South Drexel Boulevard, Chicago, Illinois 60653 ("4520-26 South Drexel"), the property at 6749-

59 South Merrill Avenue, Chicago, Illinois 60649 ("6749-59 South Merrill"), the property at 7110-

16 South Cornell Avenue, Chicago, Illinois 60649 ("7110-16 South Cornell"), the property at

7600-10 South Kingston, Chicago, Illinois 60649 ("7600-10 South Kingston"), the properties at

8326-58 South Ellis Avenue, Chicago, Illinois 60619 ("8326-58 South Ellis"), and the property at

6949-59 South Merrill Avenue, Chicago, Illinois 60649 ("6949-59 South Merrill").




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        206.    On April 18, 2019, the Receiver filed a Fifth Motion For Court Approval Of The

Process For Public Sale Of Real Property By Sealed Bid (the "Fifth Motion"). (Docket No. 329)

        207.    The Fifth Motion related to several properties, including the property at 7749-59

South Yates Avenue, Chicago, Illinois 60649 ("7749-59 South Yates"), the property at 7450 South

Luella Avenue, Chicago, Illinois 60649 ("7450 South Luella"), the property at 7109-19 South

Calumet Avenue, Chicago, Illinois 60619 ("7109-19 South Calumet"), the property at 7656-58

South Kingston Avenue, Chicago, Illinois 60649 ("7656-58 South Kingston"), the property at 8201

South Kingston Avenue, Chicago, Illinois 60617 ("8201 South Kingston"), and the property at

7546-48 South Saginaw Avenue, Chicago, Illinois 60649 ("7546-48 South Saginaw").

        208.    The Second Motion was granted by Magistrate Judge Kim by Memorandum

Opinion and Order dated May 2, 2019 (Docket No. 352), subject, among other things, to the rights

of lenders to credit bid for the properties securing their loans, provided they post a letter of credit

in the amount of the bid if the Receiver identifies a bona fide dispute regarding the validity or

priority of their security.

        209.    The Fifth Motion was granted by Magistrate Judge Kim by Order dated May 22,

2019 (Docket No. 382), subject to the same conditions imposed by Court in its May 2, 2019

Memorandum Opinion and Order (Docket No. 352).

        210.    Following a series of lender motions seeking modification of Magistrate Judge

Kim's May 2, 2019 Memorandum Opinion and Order, its May 22, 2019 Order (Docket No. 352),

and other subsequent orders relating to credit bidding issues, and following the appeals of certain

lenders pursuant to Federal Rule of Civil Procedure 72, this Court entered an Order on October 4,

2019 (Docket No. 540) adopting the rulings of Magistrate Judge Kim "in full."

        211.    Following a marketing process that conformed with the procedures proposed by the

Receiver in both the Second Motion (Docket No. 228) and the Fifth Motion (Docket No. 329), and



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after each lender was afforded an opportunity to credit bid, the Receiver accepted offers to

purchase the properties, as described more fully in the paragraphs below.

4520-26 South Drexel Boulevard

       212.     The Receiver, acting upon the advice of both SVN and his retained professionals,

asked $5,100,000 for 4520-26 South Drexel.

       213.     Bids were submitted by eight prospective purchasers, and the Receiver initially

accepted an offer in the amount of $6,150,000 from 3802 LLC.

       214.     After the Receiver rejected a request for $390,000 in deferred maintenance credit,

3802 LLC terminated the purchase and sale agreement during the due diligence period, and the

Receiver accepted an offer from 4520-26 S. Drexel Residences LLC to purchase the property for

$6,110,000. (A true and accurate copy of the Purchase And Sale Agreement is attached at

Exhibit 178.)

       215.     Title to 4520-26 South Drexel is vested in SSDF1 4520 S Drexel LLC and

encumbered by that certain Multifamily Mortgage, Assignment Of Rents And Security Agreement

recorded August 9, 2017, as Document No. 1722149130 in favor of CBRE Capital Markets, Inc.

(Exhibit 179), to secure a note in the originally stated principal amount of $4,400,000 and last

assigned to U.S. Bank, N.A., as Trustee for the Registered Holders of J.P. Morgan Chase

Commercial Mortgage Securities Corp., Multifamily Mortgage Pass-Through Certificates, Series

2018-SB41, as evidenced by Document No. 1732457116 (Exhibit 180).

7450 South Luella Avenue

       216.     The Receiver, acting upon the advice of both SVN and his retained professionals,

asked $450,000 for 7450 South Luella.




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       217.   Bids were submitted by three prospective purchasers, and the Receiver accepted an

offer from Neder Capital Services LLC to purchase the property for $278,000. (A true and accurate

copy of the Purchase And Sale Agreement is attached at Exhibit 181.)

       218.   Title to 7450 South Luella is vested in EquityBuild and clouded by the following

potential encumbrances:

              a.      That certain Mortgage recorded July 14, 2015, as Document No.

       1519519126 (Exhibit 182) in favor of Burnham 401K Trust, as to an undivided 0.75%

       interest; Sunwest Trust Custodian for Francis Webb Jr IRA, as to an undivided 4.55%

       interest; Gerry and Clarice Recamara, as to an undivided 5.05% interest; FDD Properties

       LLC, as to an undivided 10.10% interest; Edge Investments, LLC, as to an undivided

       7.07% interest; Howard R Stoops and Betty J Stoops JTWROS, as to an undivided 8.42%

       interest; Equity Trust Company Custodian FBO Kevin Bybee IRA, as to an undivided

       8.42% interest; 2nd City Solo 401K Trust, as to an undivided 16.84% interest; James A.

       Tutsock, as to an undivided 30.39% interest; and Penny Adams, as to an undivided 8.42%

       interest, to secure a note in the originally stated principal amount of $594,000.

              b.      That certain Mortgage And Security Agreement recorded May 23, 2017, as

       Document No. 1714316084 (Exhibit 183); that certain Assignment Of Leases And Rents

       recorded May 23, 2017, as Document No. 1714316085 (Exhibit 184); and that certain

       Financing Statement filed May 23, 2017, as Document No. 1714316085, each securing a

       promissory note held by UBS AG in the originally stated principal amount of $4,100,000.

              c.      The Markwell 8077 Lis Pendens. (Exhibit 168.)

6749-59 South Merrill Avenue

       219.   The Receiver, acting upon the advice of both SVN and his retained professionals,

asked $1,425,000 for 6749-59 South Merrill.



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       220.    Bids were submitted by nine prospective purchasers, and the Receiver accepted an

offer from Merrill Court LLC to purchase the property for $1,480,000. (A true and accurate copy

of the Purchase And Sale Agreement is attached at Exhibit 185.)

       221.    Title to the property at 6749-59 South Merrill is vested in SSDF1 6751 S Merrill

LLC and clouded by the following potential encumbrances:

               a.     That certain Multifamily Mortgage, Assignment Of Rents And Security

       Agreement recorded February 8, 2018, as Document No. 1803919055 (Exhibit 186) and

       last assigned to U.S. Bank, N.A., as Trustee for the Registered Holders of J.P. Morgan

       Chase Commercial Mortgage Securities Corp., Multifamily Mortgage Pass-Through

       Certificates, Series 2018-SB50, as evidenced by Document No. 1817957034 (Exhibit 187)

       (the "U.S. Bank Series 2018 SB-50 Mortgage").

               b.     That certain lis pendens recorded June 7, 2017, as Document No.

       1715841055 in connection with the case captioned City Of Chicago v. TR# 8002363805

       Chicago Title Land Trust Co., et al., Circuit Court of Cook County, Case No. 17-M1-

       401223. (Exhibit 188.) (The Receiver is not seeking leave to sell free and clear of this

       encumbrance, which predates the acquisition of the property by SSDF1 6751 S Merrill

       LLC.)

7110-16 South Cornell Avenue

       222.    The Receiver, acting upon the advice of both SVN and his retained professionals,

asked $1,240,000 for 7110-16 South Cornell.

       223.    Bids were submitted by four prospective purchasers, and the Receiver accepted an

offer from Ventus Holdings, LLC to purchase the property for $1,240,000. (A true and accurate

copy of the Purchase And Sale Agreement is attached at Exhibit 189.)




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       224.    Title to the property at 7110-16 South Cornell is currently vested in SSDF1 7110

S Cornell LLC and clouded by the following potential encumbrances:

               a.      The U.S. Bank Series 2018 SB-50 Mortgage (Exhibit 187).

               b.      That certain lis pendens recorded December 31, 2018, as Document No.

       1836541138 in connection with the case captioned City Of Chicago v. SSDF1 7110 S.

       Cornell LLC, et al., Circuit Court of Cook County, Case No. 18-M1-403814. (Exhibit 190.)

       (The Receiver is not seeking leave to sell free and clear of this encumbrance, which post-

       dates the acquisition of the property by SSDF1 7110 S Cornell LLC.)

7109-19 South Calumet Avenue

       225.    The Receiver, acting upon the advice of both SVN and his retained professionals,

asked $1,290,000 for 7109-19 South Calumet.

       226.    Although bids were received from four prospective purchasers, U.S. Bank, N.A.,

as Trustee for the Registered Holders of J.P. Morgan Chase Commercial Mortgage Securities

Corp., Multifamily Mortgage Pass-through Certificates, Series 2017-SB30, one of the putative

noteholders and current mortgagees, submitted a credit bid in the amount of $1,122,000, and none

of the prospective purchasers was thereafter willing to increase its offer, as a result of which the

Receiver accepted the credit bid, although the form of the letter of credit to be posted in respect of

that credit bid is still being negotiated with the lender, and the Receiver will not close the sale

(even if this motion is granted) unless and until the terms of that letter of credit are satisfactory.

(A true and accurate copy of the Purchase And Sale Agreement constituting the credit bid is

attached at Exhibit 191.)

       227.    Title to 7109-19 South Calumet is vested in 7109 S Calumet LLC and clouded by

the following potential encumbrances:




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            a.      That certain Mortgage recorded October 17, 2014, as Document No.

     1429050012 (Exhibit 192) in favor of Russell Waite and Ursula Waite, as to an undivided

     2.78% interest; Peggy Christensen Living Trust dated September 16, 2011, as to an

     undivided 5.56% interest; Ashwin D. Patel, as to an undivided 11.56% interest; Navin

     Vardya, as to an undivided 5.56% interest; iPlanGroup Agent for Custodian FBO Mark

     Young IRA, as to an undivided 5.56% interest; Edge Investments, LLC, as to an undivided

     3.61% interest; EZ NJ Ventures, LLC, as to an undivided 2.78% interest; Jerome B. Shaffer

     Trust, as to an undivided 5.56% interest; Focus4 Investments, LLC, as to an undivided

     2.78% interest; R.D. Meredith General Contractors, LLC 401K Plan, as to an undivided

     8.33% interest; Steven Canning, as to an undivided 5.56% interest; Optima Property

     Solutions, LLC, as to an undivided 11.11% interest; R2V2 Investments, LLC, as to an

     undivided 1.67% interest; Brown Rental Properties, LLC, as to an undivided 5.56%

     interest; iPlanGroup Agent for Custodian FBO Charles Michael Anglin IRA, as to an

     undivided 4.33% interest; 1839 Fund I, LLC, as to an undivided 2.78% interest; Shankar

     Thiruppathi, as to an undivided 5.56% interest; John Love, as to an undivided 1.94%

     interest; Jackie Rowe, as to an undivided 0.50% interest; Joe Siracusa, as to an undivided

     2.78% interest; and Scott E. Pammer, as to an undivided 4.17% interest, to secure a note in

     the originally stated principal amount of $1,800,000.

            b.      That certain Multifamily Mortgage, Assignment Of Rents And Security

     Agreement (Exhibit 193) recorded February 7, 2017, as Document No. 1703816048 in

     favor of Red Mortgage Capital, LLC to secure a note in the originally stated principal

     amount of $1,507,000 and last assigned to U.S. Bank, N.A., as Trustee for the Registered

     Holders of J.P. Morgan Chase Commercial Mortgage Securities Corp., Multifamily




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       Mortgage Pass-through Certificates, Series 2017-SB30, by virtue of Document No.

       1713608071 recorded May 16, 2017 (Exhibit 194).

              c.      The Markwell 8076 Lis Pendens. (Exhibit 167.)

7749-59 South Yates Avenue

       228.   The Receiver, acting upon the advice of both SVN and his retained professionals,

asked $1,100,000 for 7749-59 South Yates.

       229.   Bids were submitted by seven prospective purchasers, and the Receiver accepted

an offer from Oppelli LLC to purchase the property for $1,125,000. (A true and accurate copy of

the Purchase And Sale Agreement is attached as Exhibit 195.)

       230.   Title to 7749-59 South Yates is vested in 7749-49 S Yates LLC and clouded by the

following potential encumbrances:

              a.      That certain Mortgage, Assignment Of Leases And Rents, Fixture Filing,

       And Security Agreement recorded April 4, 2017, as Document No. 1709445117

       (Exhibit 196) in favor of 1111 Crest Drive LLC, as to an undivided 50% interest; Abraham

       Aaron Ebriani, as to an undivided 14% interest; Hamid Esmail, as to an undivided 14%

       interest; and Farsaa Inc, as to an undivided 22% interest, to secure a note in the originally

       stated principal amount of $3,600,000, although Abraham Aaron Ebriani assigned his

       interest in the Mortgage to Pakravan Living Trust by Assignment Of Mortgage recorded

       January 4, 2019, as Document No. 1900434067 (Exhibit 197).

              b.      That certain Mortgage recorded June 23, 2017, as Document No.

       1717413022 (Exhibit 198) in favor of Advanta IRA Services, LLC FBO Dwight L. Plymale

       IRA #8006189, as to an undivided 3.35% interest; American Estate & Trust FBO Donald

       R. Hendrickson IRA, as to an undivided .35% interest; American Estate & Trust FBO

       Karen L. Hendrickson IRA, as to and undivided .35% interest; American Estate & Trust



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     LC, FBO Lynn Kupfer’s IRA, as to an undivided 3.45% interest; American Estate and

     Trust, LC FBO Edward J. Netzel IRA, as to an undivided .35% interest; Amit Hammer, as

     to an undivided 1.04% interest; Cadaval Investment Trust FBO Manuel Cadaval Solo

     401K, as to an undivided .86% interest; Clearwood Funding, LLC, as to an undivided

     1.73% interest; David M. Harris, as to an undivided 3.45% interest; Duke E. Heger and

     Viviana Heger, as to an undivided 1.21% interest; Ed Bancroft, as to an undivided .17%

     interest; EquityBuild, Inc., as to an undivided 34.13% interest; Grathia Corporation, as to

     an undivided 3.45% interest; iPlan Group Agent for Custodian FBO Christopher Mora

     IRA, as to an undivided .21% interest; iPlan Group Agent for Custodian FBO Dana Speed

     IRA, as to an undivided 5.83% interest; iPlan Group Agent for Custodian FBO Filomena

     Mora IRA, as to an undivided .11% interest; iPlan Group Agent for Custodian FBO Joshua

     Mora IRA, as to an undivided .14% interest; iPlan Group Agent for Custodian FBO Rama

     Voddi IRA, as to an undivided 1.14% interest; iPlan Group Agent for Custodian FBO Rosa

     Ricciardi IRA, as to an undivided .58% interest; iPlan Agent for Custodian FBO Janice G.

     Burrell IRA, as to an undivided 1.73% interest; iPlan Group Agent for Custodian FBO

     Paula Levand IRA, as to an undivided .41% interest; iPlan Group Agent for Custodian

     FBO Teena Ploeger IRA, as to an undivided .64% interest; iPlan Group Agent for

     Custodian FBO Todd Colucey IRA, as to a .28% interest; John E. Bloxham, as to an

     undivided 1.21% interest; John Witzigreuter, as to an undivided 1.73% interest; Joseph P.

     McCarthy, as to an undivided .35% interest; Joshua A. Lapin, as to an undivided .86%

     interest; Keith P. Rowland and Jane E. Rowland, as to an undivided 1.73% interest; Keith

     Randall, as to an undivided 2.42% interest; Keven D. & Laura H. Allred JTWROS, as to

     an undivided 1.73% interest; KKW Investments, LLC, as to an divided .10% interest;

     Madison Trust Company Custodian FBO Guenter Scheel IRA M1702087, as to an



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       undivided .86% interest; Madison Trust Company Custodian FBO James R. Talman IRA,

       as to an undivided .69% interest; Manuel Cadaval, as to an undivided .86% interest; Manuel

       Cadaval Custodian for Jacob A. Cadaval, as to an undivided .86% interest; Michael F.

       Grant & L. Gretchen Revocable Trust dated March 16, 2012, as to an undivided 1.73%

       interest; Michael Grow Jr., as to an undivided 3.45% interest; Naveen Kwatra, as to an

       undivided .86% interest; Optima Property Solutions, LLC, as to an undivided 3.45%

       interest; Patrick Connely, as to an undivided .69% interest; PNW Investments, LLC, as to

       an undivided .41% interest; Quantum Growth Holdings, LLC, as to an undivided .19%

       interest; Raymond Thompson Investment Trust, LLC, as to an undivided 1.04% interest;

       Seadog Properties, LLC, as to an undivided .83% interest; Shlomo Zussman, as to an

       undivided 1.73% interest; Steve Weera Tonasut and Esther Kon Tonasut, as trustees of the

       Tonasut Family Trust dated June 14, 2004, as to an undivided 1.73% interest; Steven G.

       Mouty Trust, as to an undivided 1.73% interest; Summit Trust Company, trustee David R.

       Theil MC PS PL Profit Sharing Keogh FBO David R. Theil Plan Administrator, as to an

       undivided .86% interest; Tolu Makinda, as to an undivided 1.04% interest; Wesley Pittman,

       as to an undivided 1.10% interest; and White Tiger Revocable Trust, as to an undivided

       1.73% interest, to secure a note in the originally stated principal amount of $2,860,000.

7600-10 South Kingston Avenue

       231.   The Receiver, acting upon the advice of both SVN and his retained professionals,

asked $1,700,000 for 7600-10 South Kingston.

       232.   Bids were submitted by five prospective purchasers, and the Receiver accepted an

offer from Ventus Holdings, LLC to purchase the property for $1,870,000. (A true and accurate

copy of the Purchase And Sale Agreement is attached at Exhibit 199.)




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       233.   Title to 7600-10 South Kingston is vested in SSDF7 and clouded by the following

potential encumbrances:

              a.      That certain Mortgage recorded February 4, 2016 as Document No.

       1603550265 (Exhibit 200) in favor of Equity Trust Company Custodian FBO John Allred

       IRA Account No 125952, as to a 1.39% interest; Equity Trust Company FBO Glenda K.

       Allred IRA Account No. 187991, as to a 0.19% interest; Equity Trust Company Custodian

       FBO Carly A. Allred Roth IRA Account No. 163781, as to a 0.14% interest; Fraser Realty

       Capital, LLC, as to a 0.70% interest; Spectra Investments, LLC, as to a 4.43% interest;

       Quest IRA Inc. FBO Rebeca E. Savory-Romero IRA Account No. 15528-11, as to a 1.40%

       interest; iPlanGroup Agent for Custodian FBO Frank Sohm IRA, as to a 0.55% interest;

       Private Finance Solutions, LLC, as to a 0.82% interest; Arthur Bertrand, as to a 0.61%

       interest; Equity Trust Company Custodian FBO Paula Levand CESA, as to a 0.65%

       interest; Don Minchow, as to a 3.86% interest; Asians Investing in Real Estate, LLC, as to

       a 5.26% interest; iPlanGroup Agent for Custodian FBO Jason Ragan IRA, as to a 1.04%

       interest; NuView IRA Inc. FBO Janet Eileen Taylor IRA, as to a 12.63% interest; Towpath

       Investments, LLC, as to a 0.88% interest; AdvantalRA Trust, LLC FBO Terry Merrill No.

       6820601, as to a 2.11% interest; Equity Trust Company Custodian FBO David M. Williams

       IRA No. Z51886, as to a 0.26% interest; TruStar Real Estate, LLC, as to a 7.37% interest;

       Vantage FBO Joseph S. Ratkovic IRA No. 16325, as to a 5.26% interest; David Marcus,

       as to a 31.42% interest; Paul N. Wilmesmeier, as to a 0.88% interest; CM Group, LLC, as

       to a 3.86% interest; Uyen Dinh, as to a 0.25% interest; Timothy Sharp, as to a 1.75%

       interest; iPlanGroup Agent for Custodian FBO Stephen J. Apple ROTH IRA, as to a 1.53%

       interest; Charwin Properties, LLC, as to a 0.18% interest; Nehasri ltd., as to a 1.86%

       interest; Janet Eileen Taylor, as to a 1.75% interest; Robert Maione, as to a 3.86% interest;



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       and EquityBuild, Inc., as to a 3.10% interest, to secure a promissory note in the originally

       stated principal amount of $2,850,000.

              b.      The Liberty 4048 Mortgage (Exhibit 85); that certain Assignment Of Leases

       And Rents recorded May 7, 2018 as Document No. 1812734049 (Exhibit 201); and that

       certain Financing Statement filed May 7, 2018 as Document No. 1812734050 evidencing

       the indebtedness from SSDF7 to Liberty.

              c.      The Markwell 8079 Lis Pendens. (Exhibit 170.)

              d.      The Michigan Shores 6116 Lis Pendens. (Exhibit 173.)

       234.   Although a Release Deed (Exhibit 202) was recorded May 7, 2018, as Document

No. 1812744024 in connection with the mortgage attached as Exhibit 200, that release was not

executed by the mortgagees.

8201 South Kingston Avenue

       235.   The Receiver, acting upon the advice of both SVN and his retained professionals,

asked $400,000 for 8201 South Kingston.

       236.   Bids were submitted by five prospective purchasers, and the Receiver accepted an

offer from PRE Holdings 5, LLC to purchase the property for $400,000. (A true and accurate copy

of the Purchase And Sale Agreement is attached at Exhibit 203.)

       237.   Title to 8201 South Kingston is vested in SSDF7 and clouded by the following

potential encumbrances:

              a.      That certain Mortgage recorded January 13, 2017 as Document No.

       1701318123 (Exhibit 204) in favor of Matthew P. Hutchings, as to an undivided 18.18%

       interest; iPlanGroup Agent for Custodian FBO Mark Young IRA, as to an undivided 7.27%

       interest; Mark Young, as to an undivided 6.06% interest, Stuart Edelman, as to an

       undivided 9.09% interest; Madison Trust Company Custodian FBO Stuart Edelman #



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       M1510082, as to an undivided 6.06% interest; Madison Trust Company Custodian FBO

       Arvind Kinjarapu IRA #M1608088, as to an undivided 12.12% interest; Madison Trust

       Company Custodian FBO David M. Geldart IRA #M1608105, as to an undivided 1.21%

       interest; Harendra Pal, as to an undivided 12.12% interest; Seadog Properties, LLC as to

       an undivided 7.27% interest; iPlanGroup Agent for Custodian FBO Shelton Gandy IRA,

       as to an undivided 6.06% interest; Amit Hammer, as to an undivided 6.06% interest; Fraser

       Realty Investments, LLC as to an undivided 2.42% interest; iPlanGroup Agent for

       Custodian FBO Vladimir Matviishin IRA, as to an undivided 2.42% interest; MayREI,

       LLC, as to an undivided 3.03% interest, and Umbrella Investment Partners, LLC, as to an

       undivided 0.61% interest, to secure a note in the originally stated principal amount of

       $825,000.

              b.      The Liberty 4048 Mortgage (Exhibit 85) and the accompanying

       Assignment Of Leases And Rents (Exhibit 201) and Financing Statement.

              c.      The Markwell 8080 Lis Pendens. (Exhibit 171.)

              d.      The Michigan Shores 6116 Lis Pendens (Exhibit 173.)

       238.   Although a Release Deed (Exhibit 205) was recorded May 7, 2018, as Document

No. 1812744026 in connection with the mortgage attached as Exhibit 204, that release was not

executed by the mortgagees.

7656-58 South Kingston Avenue

       239.   The Receiver, acting upon the advice of both SVN and his retained professionals,

asked $500,000 for 7656-58 South Kingston.

       240.   Bids were submitted by five prospective purchasers, and the Receiver accepted an

offer from Ventus Holdings, LLC to purchase the property for $510,000. (A true and accurate copy

of the Purchase And Sale Agreement is attached at Exhibit 206.)



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       241.    Title to 7656-58 South Kingston is vested in SSDF7 and clouded by the following

potential encumbrances:

               a.     That certain Mortgage recorded January 8, 2015 as Document No.

       1500616026 (Exhibit 207) in favor of "The Persons Listed on Exhibit A," although the

       recorded Mortgage omitted the referenced "Exhibit A." (EquityBuild records indicate,

       however, that the following persons or entities, among potentially others, may possess an

       unrecorded mortgagee interest in the property: Harpreet Singh Kapoor, Harvey Singer,

       Edge Investments, LLC, John Wysocki, Jose G. Galarza, Joseph McCarthy, Tylor More,

       Mike More, iPlan Group Agent for Custodian FBO Alcalli Sabat IRA, iPlan Group Agent

       for Custodian FBO Michael Anglin IRA, The Edward Falkowitz Living Trust, The

       Falkowitz Group Retirement Trust, The Entrust Group, Inc. FBO Mark Whittlesey

       Account #54-00502, iPlan Group Agent for Custodian FBO Leah Kalish IRA, Mark E.

       Young, The Kingdom Trust Company, Custodian, FBO Louis Duane Velez, Account

       #7422686172, Peggy Christensen, and Peter P. Nuspl.)

               b.     The Liberty 4048 Mortgage (Exhibit 85) and the accompanying Assignment

       Of Leases And Rents (Exhibit 201) and Financing Statement.

               c.     The Markwell 8079 Lis Pendens. (Exhibit170.)

       242.    Although a Release Deed (Exhibit 208) was recorded May 7, 2018, as Document

No. 1812744025 in connection with the mortgage attached as Exhibit 207, that release was not

executed by the mortgagees.

8326-58 South Ellis Avenue

       243.    The Receiver, acting upon the advice of both SVN and his retained professionals,

asked $1,950,000 for the four properties at 8326-58 South Ellis.




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       244.   Bids were submitted by three prospective purchasers, and the Receiver accepted an

offer from PRE Holdings 5, LLC to purchase the properties for $1,610,000. (A true and accurate

copy of the Purchase And Sale Agreement is attached at Exhibit 209.)

       245.   Title to the four properties at 8326-58 South Ellis is vested in SSDF7 and clouded

by the following potential encumbrances:

              a.      That certain Mortgage recorded July 10, 2017, as Document No.

       1719113030 (Exhibit 210) in favor of Agee Family Trust, as to an undivided 1.25%

       interest; Annie Chang, as to an undivided 0.17% interest; Applefield Family Trust Dated

       July 25, 1997 Paul S. Applefield and Robin Kahn Applefield, Trustees, as to an undivided

       2.63% interest; Blue Mountain Ventures (S/D IRA), as to an undivided 1.64% interest;

       Brad & Linda Lutz, as to an undivided 1.25% interest; CAMA Plan F.B.O. Judith D

       Ferrara, Roth IRA, as to an undivided 0.63% interest; Danielle DeVarne, as to an undivided

       1.25% interest; David and Leanne Ruesch, as to an undivided 1.25% interest; David

       Marcus, as to an undivided 3.00% interest; DeeAnn Nason, as to an undivided 1.25%

       interest; Eleven St. Felix Street Realty Corp., as to an undivided 1.25% interest;

       EquityBuild, Inc., as to an undivided 8.16% interest; Fredric R. Gottlieb, MD, PA Money

       Purchase Pension Plan, as to an undivided 1.88% interest; Fredric R. Gottlieb, Revocable

       Trust, DTD 7/31/08, as to an undivided 2.11% interest; Freyja Partners, a CA Limited

       Partnership, approved by Sangham Partners, LLC, Lyman Black manager, as to an

       undivided 1.25% interest; Girl Cat Capital West LLC, as to an undivided 2.50% interest;

       H. Coleman Scheuller, as to an undivided 1.00% interest; Harendra Pal, as to an undivided

       1.03% interest; Harvey Singer, as to an undivided 1.63% interest; Hoang-Small Trust, as

       to an undivided 1.25% interest; iPlan Group Agent for Custodian FBO Marvette Cofield

       IRA, as to an undivided 0.25% interest; iPlan Group Agent for Custodian FBO C Michael



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     E Fowler IRA, as to an undivided 1.58% interest; iPlan Group Agent for Custodian FBO

     Ganpat Seunath Traditional IRA, as to an undivided 0.75% interest; iPlan Group Agent for

     Custodian FBO James B. Ploeger IRA, as to an undivided 0.43% interest; iPlan Group

     Agent for Custodian FBO Mark Young IRA, as to an undivided 1.13% interest; iPlan

     Group Agent for Custodian FBO Michael Dirnberger IRA, as to an undivided 0.13%

     interest; iPlan Group Agent for Custodian FBO Swetha Voddi IRA, as to an undivided

     0.35% interest; iPlan Group Agent for Custodian FBO Virginia Oton IRA, as to an

     undivided 0.24% interest; IRA Services Trust Custodian FBO Ronald Stephen Klein IRA,

     as to an undivided 1.25% interest; John Wysocki, as to an undivided 0.25% interest; Joseph

     P. McCarthy, as to an undivided 0.38% interest; Keith Randall, as to an undivided 2.50%

     interest; Kevin Randall, as to an undivided 1.75% interest; KKW Investments, LLC, as to

     an undivided 0.15% interest; Kon Family Trust dated April 26, 2002, as to an undivided

     1.25% interest; Leonard A. Grosso, as to an undivided 1.25% interest; Madison Trust Co,

     Custodian FBO Sonia Silver IRA #M1612049, as to an undivided 1.25% interest; Madison

     Trust Company Custodian FBO Arvind Kinjarapu IRA #M1608088, as to an undivided

     0.26% interest; Madison Trust Company Custodian FBO David E. Chambers Roth IRA

     M1701035, as to an undivided 0.70% interest; Madison Trust Company Custodian FBO

     David E. Chambers Traditional IRA M1071034, as to an undivided 0.57% interest;

     Madison Trust Company Custodian FBO George Black M1612041, as to an undivided

     1.70% interest; Madison Trust Company Custodian FBO Judy Newton IRA, as to an

     undivided 1.25% interest; Madison Trust Company Custodian FBO Scott Eaton IRA, as to

     an undivided 1.50% interest; Madison Trust Company Custodian FBO Nathan Hennefer

     M1612122, as to an undivided 1.10% interest; MayREI LLC, as to an undivided 1.25%

     interest; Michael Burns, as to an undivided 1.25% interest; Michael F. Grant & L. Gretchen



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     Grant Revocable Trust Dated March 16 2012, as to an undivided 0.88% interest; Mike

     Prokop, as to an undivided 1.25% interest; Next Generation TS FBO Elain Sison Ernst IRA

     2410, as to an undivided 2.50% interest; Nicholas C Jenks and Joyce R Jenks JTWROS,

     as to an undivided 0.63% interest; Optima Property Solutions, LLC, as to an undivided

     1.25% interest; Pat Desantis, as to an undivided 6.25% interest; Paul Harrison, as to an

     undivided 0.63% interest; Paul N. Wilmesmeier, as to an undivided 1.25% interest; Pensco

     Trust Company Custodian FBO Kathleen Robinson IRA, as to an undivided 0.31%

     interest; Peter Gelinas, as to an undivided 0.32% interest; Phillip Silver Trust dated

     12/11/08, as to an undivided 1.25% interest; Phyllis Harte and Irys Schenker, as to an

     undivided 0.38% interest; Raymond Thompson Investment Trust, LLC, as to an undivided

     1.25% interest; Samuel R. Cratis, as to an undivided 1.88% interest; Self Directed IRA

     Services, Inc. Custodian FBO Asbury Robert Lockett IRA #201632849, as to an undivided

     2.50% interest; Shaw Family Trust, a revocable trust, as to an undivided 1.25% interest;

     Simon Usuga, as to an undivided 1.25% interest; Stephen W. and Bonnie L Young

     Revocable Trust, as to an undivided 1.25% interest; Steven Bald, as to an undivided 1.50%

     interest; Strategis Wealth Ventures, LLC, as to an undivided 0.25% interest; Susan

     Kalisiak, as to an undivided 1.00% interest; The Bellandi Group, LLC, as to an undivided

     1.25% interest; The Moore/Ferrer family 2004 trust, as to an undivided 2.50% interest;

     TruStar Real Estate, LLC, as to an undivided 0.63% interest; Umbrella Investment

     Partners, LLC, as to an undivided 0.31% interest; Vantage Custodia FBO Sidney Haggains

     IRA, as to an undivided 0.50% interest; Viren R. Patel, as to an undivided 1.25% interest;

     Vladimir Matviishin, dba Network Expert, as to an undivided 1.25% interest; and Wiegert

     Tierie, as to an undivided 2.50% interest, to secure a note in the originally stated principal

     amount of $4,000,000.



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              b.      The Liberty 4045 Mortgage (Exhibit 84); that certain Assignment Of Leases

       And Rents recorded May 7, 2018 as Document No. 1812734046 (Exhibit 211); and that

       certain Financing Statement filed May 7, 2018 as Document No. 1812734047.

              d.      The Markwell 8078 Lis Pendens. (Exhibit 169.)

              e.      The Michigan Shores 6116 Lis Pendens (Exhibit 173), which was recorded

       against only against the property at 8334-40 South Ellis Avenue.

       246.   Although a Release Deed (Exhibit 212) was recorded May 7, 2018, as Document

No. 1812744051 in connection with the mortgage attached as Exhibit 210, that release was not

executed by the mortgagees.

7546-48 South Saginaw Avenue

       247.   The Receiver, acting upon the advice of both SVN and his retained professionals,

asked $600,000 for 7546-48 South Saginaw.

       248.   Bids were submitted by five prospective purchasers, and the Receiver accepted an

offer from LJ Promise Realty Management LLC to purchase the property for $625,000. (A true

and accurate copy of the Purchase And Sale Agreement is attached at Exhibit 213.)

       249.   Title to 7546-48 South Saginaw is vested in SSDF7 Portfolio 1 LLC ("SSDF7")

and clouded by the following potential encumbrances:

              a.      That certain Mortgage recorded February 4, 2016 as Document No.

       1603550263 in favor of Paul N. Wilmesmeier, as to an undivided 5.45% interest; Equity

       Trust Company Custodian FBO Marvette Cofield SEP IRA, as to an undivided 0.73%

       interest; Equity Trust Company Custodian FBO Marvette Cofield Roth IRA, as to an

       undivided 1.09% interest; Peter P. Nuspl, as to an undivided 6.22% interest; Kevin Scheel,

       as to an undivided 0.55% interest; Michael & Gretchen Grant, JTWROS, as to an undivided

       8.00% interest; Louis Duane Velez, LLC, as to an undivided 3.64% interest; Sohm



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     Strategic Investments, LLC, as to an undivided 3.64% interest; Joseph P. McCarthy, as to

     an undivided 3.25% interest; Eleven St Felix Street Realty Corp., as to an undivided 3.64%

     interest; Katie Whitlock, as to an undivided 3.64% interest; iPlanGroup Agent for

     Custodian FBO Richard Lohman IRA, as to an undivided 10.91% interest; iPlanGroup

     Agent for Custodian FBO Gina Ricciardi Meyer IRA, as to an undivided 2.18% interest;

     Gregory M. Wetz, as to an undivided 3.64% interest; GRB Properties, LLC, as to an

     undivided 0.73% interest; Horizon Trust Company Custodian FBO Terry M. McDonald

     IRA, as to an undivided 6.35% interest; Penny Adams Inc. Solo 401K Trust, as to an

     undivided 2.98% interest; Asians Investing in Real Estate, LLC, as to an undivided 14.55%

     interest; John Wysocki, as to an undivided 0.87% interest; iPlanGroup Agent for Custodian

     FBO Jacqueline Rowe IRA, as to an undivided 1.24% interest; Equity Trust Company

     Custodian FBO Sidney Haggins IRA, as to an undivided 1.45% interest; Petra Zoeller, as

     to an undivided 3.64% interest; Equity Trust Company Custodian FBO John B. Allred IRA

     (acct. no. 125952), as to an undivided 1.67% interest; Samir S. Totah and Norma S. Totah

     Declaration of Trust dated March 2000, as to an undivided 3.64% interest; and Hiroyuki

     Roy Chin & Lillian S. Chin JTWROS, as to an undivided 3.65% interest to secure a

     promissory note in the originally stated amount of $1,375,000. (Exhibit 214.)

                  i.       The Penny Adams Inc. Solo 401K Trust assigned $29,000 of her

            $40,979 interest in the foregoing Mortgage to 2nd City Solo 401K Trust by

            Document No. 1734944037, recorded on December 15, 2017 (Exhibit 215),

            although 2nd City Solo 401K Trust had already assigned the entirety of that interest

            to The Entrust Group FBO Daniel Matthews IRA Acct #51-01005 by Document

            No. 1728613039, recorded October 19, 2017 (Exhibit 216).




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                     ii.          The Entrust Group FBO Daniel Mathews IRA Acct #51-01005 and

               2nd City Solo 401K Trust released any mortgage interests they held in 7546 South

               Saginaw by Document Nos. 1812744012 and 1812744013, respectively, recorded

               on May 7, 2018. (Exhibits 217, 218.)

               b.          The Liberty 4045 Mortgage (Exhibit 84) and the accompanying

       Assignment Of Leases And Rents (Exhibit 208) and Financing Statement.

               c.          The Markwell 8078 Lis Pendens. (Exhibit 169.)

               d.          The Michigan Shores 6115 Lis Pendens. (Exhibit 172.)

       250.    Although a Release Deed (Exhibit 219) was recorded May 7, 2018, as Document

No. 1812744014 in connection with the mortgage attached as Exhibit 214, that release was not

executed by the mortgagees.

6949-59 South Merrill

       251.    The Receiver, acting upon the advice of both SVN and his retained professionals,

asked $1,800,000 for 6949-59 South Merrill.

       252.    Bids were submitted by eight prospective purchasers, and, on September 7, 2019,

the Receiver accepted an offer from 3802 LLC to purchase the property for $2,100,000.

       253.    On November 15, 2019, however, the property was materially damaged by fire,

and, as a result, the prospective purchaser timely exercised its right to terminate the Purchase And

Sale Agreement.

       254.    The Receiver disclosed the damage to the next highest bidder, who then discounted

its original $2,061,500 offer to $1,935,200, and the Receiver accepted this bid. (A true and accurate

copy of the Purchase And Sale Agreement is attached at Exhibit 220.)

       255.    Title to 6949-59 South Merrill is vested in SSPH 6951 S Merrill LLC and clouded

by that certain Mortgage, Assignment Of Leases And Rents, Security Agreement And Fixture



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Filing recorded September 14, 2017 as Document 1725729063 in favor of Thorofare Asset Based

Lending REIT Fund IV, LLC to secure a promissory note in the originally stated principal amount

of $1,540,000 (Exhibit 221).

The Lis Pendens Recorded By The Non-Governmental Were Improper Under Illinois Law
Because The Encumbrancers Do Not Seek Equitable Relief With Respect To Those Properties,
And Those Properties May Therefore Be Conveyed Free And Clear Of The Clouds On Title.

       256.    Ten of the properties subsumed within this motion are encumbered by a lis pendens

recorded in the Markwell Action, and four of the properties are encumbered by a lis pendens

recorded in the Michigan Shores Action.

       257.    The lis pendens recorded in connection with the Markwell Action purports to relate

to a proceeding pending in the United States District Court for the Southern District of Texas,

although the case was remanded to state court on July 27, 2018. (Exhibit 222.)

       258.    In his Original Petition (Exhibit 223), the plaintiff complains that he loaned money

to an EquityBuild affiliate in connection with the acquisition of a property at 1102 Bingham Street

in Houston, Texas, as well as a property at 5201-07 West Washington Boulevard in Chicago, but

that, in each instance, the mortgage securing his loan was released by EquityBuild Finance

(formerly known as Hard Money Company, LLC) without his consent.

       259.    Although the plaintiff in the Markwell Action seeks the imposition of a constructive

trust on any funds that the defendants received as a result of the alleged wrongdoing, he does not

seek any equitable remedy, including specific performance, in connection with any other real

estate, and thus the lis pendens he filed against the ten properties subsumed within this motion is

not authorized by 735 ILCS 5/2-1901.

       260.    The plaintiff in the Michigan Shores Action seeks to set aside allegedly fraudulent

conveyances of 14 properties by EquityBuild to SSDF7 Portfolio 1 LLC in connection with a

separate, underlying lawsuit alleging, among other things, fraud, breach of contract, breach of




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fiduciary duty, and civil conspiracy, in connection with the conveyance of a property located at

7616-24 South Phillips Avenue in Chicago, Illinois -- and not included within the receivership

estate. (Exhibit 224.)

        261.    The plaintiff in the Michigan Shores Action does not claim any actual right, title,

or interest to the properties against which it filed the lis pendens, but instead seeks to have 14

separate conveyances by EquityBuild to SSDF7 Portfolio 1 LLC set aside merely to improve its

chances of recovering money damages against EquityBuild in the underlying lawsuit.

Payment Of Transaction Costs & Treatment Of Proceeds

        262.    At the closings of these sales, certain costs and expenses will be paid from the sales

proceeds, including, but not limited to, (1) the cost of a survey, (2) the premiums associated with

the delivery of policies of owner's title insurance, (3) the cost of state, local, and municipal transfer

taxes, (4) the closing (or escrow) fee assessed by the title company, and (5) a series of ancillary

and customary charges relating to, among other things, the need to procure a full payment water

certificate from the City of Chicago, the Receiver's obligation to deliver ALTA extended title

insurance coverage, closing protection coverage, wire transfer fees (associated with the transfer of

sales proceeds to a receivership bank account), expediting fees, a gap risk update, and state

regulatory fees.

        263.    To convey clear title to each property, the Receiver will also be required to (1) pay

from the closing proceeds any and all past due or currently pending water charges and/or Cook

County property taxes and (2) extend credits in connection with prospective 2019 and pro-rated

2020 Cook County property tax liability.

        264.    The Receiver will also be required to pay sales commissions to SVN in connection

with each conveyance. Pursuant to that certain Exclusive Sales Listing & Asset Management

Agreement entered into between SVN and the Receiver, SVN will be entitled to receive a




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commission equal to 4.5% of the first $1,000,000 in sales price and 3.5% of the next $2,000,000

in sales price, with discounts of 0.5% in transactions where the prospective buyer was not procured

through the efforts of a cooperating broker.

       265.    None of the properties encompassed within this motion requires the payment of a

cooperating brokerage commission.

       266.    Accordingly, the Receiver will pay SVN real estate brokerage commissions in the

following amounts in connection with the conveyances of the following properties:

               7749-59 S Yates Boulevard             :      $ 43,750.00

               7450 S Luella Avenue                  :      $ 11,120.00

               4520-26 S Drexel Boulevard            :      $169,975.00

               6749-59 S Merrill Avenue              :      $ 54,400.00

               7110-16 S Cornell Avenue              :      $ 47,200.00

               7109-19 S Calumet Avenue              :      $ 43,660.00

               7600-10 S Kingston Avenue             :      $ 66,100.00

               7656-58 S Kingston Avenue             :      $ 20,400.00

               8201 S Kingston Avenue                :      $ 16,000.00

               8326-58 S Ellis Avenue                :      $ 58,300.00

               6949-59 S Merrill Avenue              :      $ 68,056.00

               7546-48 S Saginaw Avenue              :      $ 25,000.00

       267.    Finally, Andrew E. Porter, an attorney for the Receiver, serves as an agent for the

title company through which the sales subsumed within this motion will close and will therefore

generate agency fees for the title examination work he performed in connection with each proposed

conveyance, such fees to be in the following estimated amounts (subject to modest increases if

buyers who acquire with financing purchase with additional title insurance endorsements):



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                7749-59 S Yates Boulevard               :        $ 2,974.00

                7450 S Luella Avenue                    :        $ 1,552.00

                4520-26 S Drexel Boulevard              :        $ 8,956.00

                6749-59 S Merrill Avenue                :        $ 3,400.00

                7110-16 S Cornell Avenue                :        $ 3,112.00

                7109-19 S Calumet Avenue                :        $ 2,970.40

                7600-10 S Kingston Avenue               :        $ 3,868.00

                7656-58 S Kingston Avenue               :        $ 1,984.00

                8201 S Kingston Avenue                  :        $ 1,752.00

                8326-58 S Ellis Avenue                  :        $ 3,556.00

                6949-59 S Merrill Avenue                :        $ 3,946.40

                7546-48 S Saginaw Avenue                :        $ 2,176.00

        268.    The Receiver intends to reduce the fee application ultimately submitted to the Court

in connection with the corresponding asset disposition work in an amount equal to the agency fees

being paid to Mr. Porter.

        269.    In the Order Appointing Receiver, this Court vested the Receiver with authority to

sell, and transfer clear title to, all real property in the Receivership Estate. (Docket No. 16, ¶ 39)

(“Upon further Order of this Court, pursuant to such procedures as may be required by this Court

and additional authority such as 28 U.S.C. §§ 2001 and 2004, the Receiver will be authorized to

sell, and transfer clear title to, all real property in the Receivership Estate.”)

        270.    Pending the completion of the claims process and a to-be-approved distribution

plan, the proceeds from the sales of the properties subject to this motion will be held in separate

subaccounts established by the Receiver (and for which the Receiver will maintain an accounting

as to all sums deposited therein) and will not be available to pay operating expenses of the



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Receivership, absent further order of Court. The inclusion of such amounts in a subaccount does

not constitute an admission that any or all such amounts are subject to a valid security interest. The

actual amount of sales proceeds in the subaccount to which the parties claiming the secured interest

are entitled will be subject to determination through the claims process. The Receiver reserves all

rights to seek a transfer of any such proceeds to the Receiver’s operating account by subsequent

Order of the Court.

        WHEREFORE, the Receiver respectfully requests that this Court grant the Fifth Motion

For Approval Of The Sale Of Certain Real Estate And For The Avoidance Of Certain Mortgages,

Liens, Claims, And Encumbrances by entering an order in the form attached at Tab C approving

the sales of the properties at 7749-59 S Yates Boulevard, 7450 S Luella Avenue, 4520-26 S Drexel

Boulevard, 6749-59 S Merrill Avenue, 7110-16 S Cornell Avenue, 7109-19 S Calumet Avenue,

7600-10 S Kingston Avenue, 7656-58 S Kingston Avenue, 8201 S Kingston Avenue, 8326-58 S

Ellis Avenue, 6949-59 S Merrill Avenue, and 7546-48 S Saginaw Avenue, with such sales to be

free and clear of the mortgages, liens, claims, and encumbrances identified herein, and with all

such mortgages, liens, claims, and encumbrances attaching to the sales proceeds with the same

force, validity, status, and effect, if any, as they had against the properties being sold.



                                  MOTION TO AMEND
                              ORDER APPOINTING RECEIVER

        271.    Before the Receiver can market and sell 11117-19 South Longwood (see

Paragraphs 188-190, above), the August 17, 2018 Order Appointing Receiver (Docket No. 16)

requires modification, and before the Receiver can convey 4520-26 South Drexel, the titleholder

of the property, SSDF1 4520 S Drexel LLC, needs to be named as a Receivership Defendant.

        272.    The Order Appointing Receiver identified 11117 S. Longwood LLC as a

Receivership Defendant, although this entity, whose articles of organization were filed with the


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Illinois Secretary of State on December 28, 2007, and which was involuntarily dissolved on

June 11, 2010, is not an affiliate of Defendants Jerome Cohen or Shaun Cohen.

       273.    Rather, SSPH 11117 S Longwood LLC is an affiliate of Defendant Jerome Cohen

and was clearly the entity intended to be identified as a Receivership Defendant in the Order

Appointing Receiver.

       274.    The articles of organization of SSPH 11117 S Longwood LLC were filed with the

Illinois Secretary of State on May 24, 2017 (Exhibit 225), and those articles identified South Shore

Property Holdings LLC as the member-manager of the entity.

       275.    The Operating Agreement for SSPH 11117 S Longwood LLC was executed by

Jerome Cohen as managing member of South Shore Property Holdings LLC, the sole member of

SSPH 11117 S Longwood LLC. (Exhibit 226.)

       276.    South Shore Property Holdings LLC was formed as a Delaware limited liability

company on March 22, 2017 (Exhibit 227), and the Amended And Restated Operating Limited

Liability Company Agreement of South Shore Property Holdings LLC was executed by Jerome

H. Cohen as sole and managing member on June 28, 2018 (Exhibit 228).

       277.    The articles of organization of SSDF1 4520 S. Drexel LLC were filed with the

Illinois Secretary of State January 13, 2017, and those articles identified Offsite Asset

Management LLC as manager of the entity. (Exhibit 229.)

       278.    Offsite Asset Management LLC was formed as a Wyoming limited liability

company on December 14, 2016, with Jerome Cohen serving as manager. (Exhibits 230, 231.)

       WHEREFORE, the Receiver respectfully requests that this Court grant the Motion To

Amend Order Appointing Receiver to delete 1117 S. Longwood LLC as a Receivership Defendant

and substitute SSPH 1117 S Longwood LLC in place thereof, and to include SSDF1 4520




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S. Drexel LLC as a Receivership Defendant, and a proposed order consistent therewith is attached

at Tab D.


Dated: January 24, 2020                            Kevin B. Duff, Receiver

                                            By:    /s/ Michael Rachlis
                                                   Michael Rachlis
                                                   Nicole Mirjanich
                                                   Rachlis Duff & Peel LLC
                                                   542 South Dearborn Street, Suite 900
                                                   Chicago, IL 60605
                                                   Phone (312) 733-3950; Fax (312) 733-3952
                                                   mrachlis@rdaplaw.net
                                                   nm@rdaplaw.net




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                                                                        TAB A
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PROPERTY ADDRESS          RELIEF SOUGHT                 PARAGPRAPH NOS.                           EXHIBIT NOS.

816-20 East Marquette     Approval To Market And Sell   11, 12, 94, 95, 103, 107, 117, 194, 197   1, 65, 66, 81, 85, 101,
                                                                                                  170, 173

1102 Bingham              Approval To Market And Sell   258                                       223
                          Confirmation Of Sale

1131-41 East 79th         Approval To Market And Sell   11, 12,157, 158                           1, 137, 138, 139, 140


1422-24 East 68th         Approval To Market And Sell   11, 12, 120, 121, 122, 123, 140, 144,     1, 103, 104, 105, 106,
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1700-08 West Juneway      Approval To Market And Sell   11, 12, 176, 177, 178                     1, 155, 156, 157


2736-44 West 64th         Approval To Market And Sell   11, 12, 90, 91, 103, 106, 107, 114,       1, 60, 61, 79, 85, 98,
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2800-06 East 81st         Approval To Market And Sell   11, 12, 124, 125, 126, 139, 144, 146,     1, 107, 108, 109, 123,
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3074 East Cheltenham      Approval To Market And Sell   11, 12, 147, 148, 152, 153, 154, 193,     1, 129, 130, 133, 134,
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4317-19 South Michigan    Approval To Market And Sell   11, 12, 88, 89, 103, 106, 107, 113,       1, 58, 59, 78, 85, 97,
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4520-26 South Drexel      Confirmation Of Sale          205, 212, 214, 215, 266, 267, 270,        178, 180, 179, 229
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4533-47 South Calumet     Approval To Market And Sell   11, 12, 169, 170, 172, 173, 174, 191      1, 150, 151, 152, 154,
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4611-17 South Drexel      Approval To Market And Sell   11, 12, 70, 71, 72, 74, 75, 76            1, 42, 43, 44, 45, 46,
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4750 South Indiana        Approval To Market And Sell   11, 12, 127, 128, 129, 141, 144, 146,     1, 110, 111, 112, 125,
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5201-07 West Washington   Approval To Market And Sell   258                                       223
                          Confirmation Of Sale

5450-52 South Indiana     Approval To Market And Sell   11, 12, 180, 181, 182, 183                1, 158, 159, 160, 161


5618-20 South King        Approval To Market And Sell   11, 12, 130, 131, 143, 144, 146, 191      1, 113, 114, 127, 128,
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6217-27 South Dorchester     Approval To Market And Sell   11, 12, 63, 66, 67, 68                  1, 38, 39, 40, 41


6250 South Mozart            Approval To Market And Sell   11, 12, 55, 56, 58, 59, 60, 61, 193     1, 33, 34, 35, 36, 37,
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6355-59 South Talman         Approval To Market And Sell   11, 12, 79, 80, 103, 106, 107, 109,     1, 50, 51, 74, 84, 87,
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6356 South California        Approval To Market And Sell   11, 12, 77, 78, 103, 106, 107, 108,     1, 48, 49, 73, 84, 86,
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6437-41 South Kenwood        Approval To Market And Sell   11, 12, 184, 186, 187, 193              1, 162, 163, 164, 169


6558 South Vernon            Approval To Market And Sell   11, 12, 132, 133, 134, 142, 144, 146,   1, 115, 117, 118, 126,
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6749-59 South Merrill        Confirmation Of Sale          205, 219, 220, 221, 266, 267, 270       185, 186, 187, 188


6949-59 South Merrill        Confirmation Of Sale          205, 251, 254, 255, 266, 267, 270       220, 221


7024-32 South Paxton         Approval To Market And Sell   11, 12, 160, 161, 162, 164, 165, 166,   1, 141, 142, 143, 144,
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7051 South Bennett           Approval To Market And Sell   11, 12, 81, 82, 103, 106, 107, 110,     1, 52, 53, 75, 84, 88,
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7109-19 South Calumet        Confirmation Of Sale          207, 225, 226, 227, 266, 267, 270       167, 191, 192, 193,
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7110-16 South Cornell        Confirmation Of Sale          205, 222, 223, 224, 266, 267, 270       189, 187, 190


7201 South Constance         Approval To Market And Sell   11, 12, 149, 150, 152, 153, 155, 192,   1, 131, 132, 133, 134,
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7201-07 South Dorchester     Approval To Market And Sell   11, 12, 86, 87, 103, 106, 107, 112,     1, 56, 57, 77, 84, 96,
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7255-57 South Euclid         Approval To Market And Sell   11, 12, 48, 49, 51, 52, 53, 54, 193     1, 28, 29, 30, 31, 32,
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7300-04 South St. Lawrence   Approval To Market And Sell   11, 12, 18, 19, 23, 24, 25, 26          1, 3, 4, 7, 8, 9


7442-48 South Calumet        Approval To Market And Sell   11, 12, 84, 85, 103, 106, 107, 111,     1, 54, 55, 76, 84, 95,
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7508 South Essex          Approval To Market And Sell   11, 12, 92, 93, 103, 106, 107, 115,       1, 62, 64, 80, 85, 99,
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7616-24 South Phillips    Approval To Market And Sell   260                                       224
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7546-48 South Saginaw     Confirmation Of Sale          207, 247, 248, 249, 250, 266, 267, 270    84, 208, 213, 214,
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7656-58 South Kingston    Confirmation Of Sale          207, 239, 240, 241, 266, 267, 270         85, 170, 201, 206,
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7600-10 South Kingston    Confirmation Of Sale          205, 231, 232, 233, 266, 267, 270         85, 170, 173, 199,
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7749-59 South Yates       Confirmation Of Sale          207, 228, 229, 230, 266, 267, 270         195, 196, 197, 198


7760 South Coles          Approval To Market And Sell   11, 12, 20, 21, 23, 24, 25, 26, 198       1, 5, 6, 7, 8, 9, 174,
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7840-42 South Yates       Approval To Market And Sell   11, 12, 135, 136, 137, 138, 144, 146,     1, 119, 120, 121, 122,
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7953-59 South Marquette   Approval To Market And Sell   11, 12, 99, 100, 101, 105, 106, 107,      1, 70, 71, 72, 83, 85,
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8000 South Justine        Approval To Market And Sell   11, 12, 27, 28, 44, 45, 46, 47, 192       1, 10, 11, 25, 27, 168


8107-09 South Ellis       Approval To Market And Sell   11, 12, 29, 30, 31, 32, 33, 43, 45, 46,   1, 12, 13, 14, 15, 16,
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8201 South Kingston       Confirmation Of Sale          207, 235, 236, 237, 266, 267, 270         85, 171, 173, 203,
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8209 South Ellis          Approval To Market And Sell   11, 12, 34, 35, 36, 37, 38, 39, 44, 45,   1, 17, 18, 19, 20, 21,
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8214-16 South Ingleside   Approval To Market And Sell   11, 12, 40, 41, 44, 45, 46, 47, 192       1, 22, 23, 25, 27, 168


8326-58 South Ellis       Confirmation Of Sale          205, 243, 244, 245, 246, 266, 267, 270    84, 169, 173, 209,
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11117-11119 South       Approval To Market And Sell   11, 12, 189, 190, 271, 272, 274, 275,   1, 165, 166, 225, 226,
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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

                                                 )
 UNITED STATES SECURITIES                        )
 AND EXCHANGE COMMISSION,                        )
                                                 )
                        Plaintiff,               )       Civil Action No. 18-cv-5587
                                                 )
 v.                                              )       Hon. John Z. Lee
                                                 )
 EQUITYBUILD, INC., EQUITYBUILD                  )       Magistrate Judge Young B. Kim
 FINANCE, LLC, JEROME H. COHEN,                  )
 and SHAUN D. COHEN,                             )
                                                 )
                        Defendants.              )
                                                 )

      ORDER GRANTING RECEIVER’S SIXTH MOTION FOR COURT APPROVAL
      OF THE PROCESS FOR PUBLIC SALE OF REAL PROPERTY BY SEALED BID

        WHEREAS, Kevin B. Duff, as receiver (“Receiver”) for Estate of Defendants EquityBuild,

Inc., EquityBuild Finance, LLC, their affiliates, and the affiliate entities of Defendants Jerome

Cohen and Shaun Cohen (collectively, the “Receivership Defendants”), filed a Sixth Motion For

Court Approval Of The Process For Public Sale Of Real Property By Sealed Bid, and the Court

having been fully advised in the premises;

        NOW, THEREFORE, it is hereby ORDERED that:

        1.     The Receiver’s Motion is granted. The Court approves the sealed bid public sale

               process described by the Receiver and finds that this process complies with the

               requirements of 28 U.S.C. §§ 2001 and 2002.

        2.     The Receiver is authorized to conduct sealed bid public sales of the following real

               estate properties:

               a.     7300-04 South St. Lawrence Avenue, Chicago, Illinois 60706
                      PIN 20-27-219-018-0000
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           b.     7760 South Coles Avenue, Chicago, Illinois 60649
                  PIN 21-30-403-015-0000

           c.     8000 South Justine Street, Chicago, Illinois 60620
                  PIN 20-32-108-019-0000

           d.     8107-09 South Ellis Avenue, Chicago, Illinois 60619
                  PIN 20-35-118-002-0000, 20-35-118-003-0000

           e.     8209 South Ellis Avenue, Chicago, Illinois 60619
                  PIN 20-35-124-002-0000

           f.     8214-16 South Ingleside Avenue, Chicago, Illinois 60619
                  PIN 20-35-122-020-0000

           g.     7255-57 South Euclid Avenue, Chicago, Illinois 60649
                  PIN 20-25-122-007-0000

           h.     6250 South Mozart Street, Chicago, Illinois 60629
                  PIN 19-13-330-038-0000

           i.     6217-27 South Dorchester Avenue, Chicago, Illinois 60637
                  PIN 20-14-415-002-0000, 20-14-415-003-0000

           j.     4611-17 South Drexel Boulevard, Chicago, Illinois 60653
                  PIN 20-02-316-003-0000

           k.     6356 South California Avenue, Chicago, Illinois 60629
                  PIN 19-24-107-037-0000

           l.     6355-59 South Talman Avenue, Chicago, Illinois 60629
                  PIN 19-24-203-023-0000

           m.     7051 South Bennett Avenue, Chicago, Illinois 60629
                  PIN 20-24-328-011-0000

           n.     7442-48 South Calumet Avenue, Chicago, Illinois 60619
                  PIN 20-27-122-027-0000

           o.     7201-07 South Dorchester Avenue, Chicago, Illinois 60619
                  PIN 20-26-210-001-0000

           p.     4317-19 South Michigan Avenue, Chicago, IL 60653
                  PIN 20-03-302-002-0000

           q.     2736-44 West 64th Street, Chicago, Illinois 60629
                  PIN 19-24-200-029-0000

           r.     7508 South Essex Avenue, Chicago, Illinois 60649
                  PIN 21-30-301-030-0000


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           s.     816-20 East Marquette Road, Chicago, Illinois 60621
                  PIN 20-23-112-028-0000

           t.     7701-03 South Essex Avenue, Chicago, Illinois 60649
                  PIN 21-30-320-001-0000

           u.     7953-59 South Marquette Road, Chicago, Illinois 60617
                  PIN 21-31-106-024-0000

           v.     1422-24 East 68th Street, Chicago, Illinois 60637
                  PIN 20-23-404-016-0000

           w.     2800-06 East 81st Street, Chicago, Illinois 60617
                  PIN 21-31-208-023-0000

           x.     4750 South Indiana Avenue, Chicago, Illinois 60615
                  PIN 20-10-102-023-0000

           y.     5618-20 South Martin Luther King Drive, Chicago, Illinois 60637
                  PIN 20-15-112-018-0000, 20-15-112-019-0000

           z.     6558 South Vernon Avenue, Chicago, Illinois 60637
                  PIN 20-22-216-038-0000, 20-22-216-039-0000

           aa.    7840-42 South Yates Avenue, Chicago, Illinois 60649
                  PIN 20-25-430-038-0000

           bb.    3074 East Cheltenham Place, Chicago, Illinois 60649
                  PIN 21-30-414-040-0000

           cc.    7201 South Constance Avenue, Chicago, Illinois 60649
                  PIN 20-25-119-001-0000

           dd.    1131-41 East 79th Place, Chicago, Illinois 60619
                  PIN 20-35-106-022-0000

           ee.    7024-32 South Paxton Avenue, Chicago, Illinois 60649
                  PIN 20-24-424-011-0000

           ff.    4533-47 South Calumet Avenue, Chicago, Illinois 60653
                  PIN 20-03-317-009-0000, 20-03-317-010-0000,
                  20-03-317-011-0000, 20-03-317-012-0000

           gg.    1700-08 West Juneway Terrace, Chicago, Illinois 60626
                  PIN 11-30-205-011-0000

           hh.    5450-52 South Indiana Avenue, Chicago, Illinois 60615
                  PIN 20-10-310-056-0000




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           ii.    6437-41 South Kenwood Avenue, Chicago, Illinois 60637
                  PIN 20-23-213-009-0000

           jj.    11117-11119 South Longwood Drive, Chicago, Illinois 60643
                  PIN 25-19-113-010-0000



                                      ENTERED:


                                      ___________________________________
                                      John Z. Lee, United States District Judge


                                      Date: _________________________




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                                                                         TAB C
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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION
______________________________________
                                       )
UNITED STATES SECURITIES               )
AND EXCHANGE COMMISSION,               )
                                       ) Civil Action No. 18-CV-5587
                   Plaintiff,          )
           v.                          )
                                       ) Hon. John Z. Lee
EQUITYBUILD, INC.,                     )
EQUITYBUILD FINANCE, LLC,              )
JEROME H. COHEN, and                   ) Magistrate Judge Young B. Kim
SHAUN D. COHEN,                        )
                                       )
                  Defendants.          )
                                       )

        ORDER GRANTING RECEIVER’S FIFTH MOTION FOR APPROVAL
      OF THE SALE OF CERTAIN REAL ESTATE AND FOR THE AVOIDANCE
       OF CERTAIN MORTGAGES, LIENS, CLAIMS, AND ENCUMBRANCES

       WHEREAS, this Court took exclusive jurisdiction and possession of the assets of all

Receivership Defendants, including, but not limited to, EquityBuild, Inc. ("EquityBuild") and

7109 S Calumet LLC by Order Appointing Receiver, dated August 17, 2018. (Docket No. 16);

       WHEREAS, by Order dated March 14, 2019, this Court identified 7749-49 S. Yates

LLC, SSDF1 6751 S. Merrill LLC, SSDF1 7110 S Cornell LLC, SSDF7 Portfolio 1 LLC

("SSDF7 Portfolio 1"), and SSPH 6951 S Merrill LLC as Receivership Defendants;

       WHEREAS, by Order dated _______________, this Court identified SSDF1 4520

S. Drexel LLC as a Receivership Defendant;

       WHEREAS, SSDF5 Portfolio 7 is the owner of record of the real estate located at 7600-

10 South Kingston, Chicago, Illinois 60649 ("7600-10 South Kingston"), 7546-48 South

Saginaw Avenue, Chicago, Illinois 60649 ("7546-48 South Saginaw"), 7656-58 South Kingston

Avenue, Chicago, Illinois 60649 ("7656-58 South Kingston"), 8201 South Kingston Avenue,

Chicago, Illinois 60617 ("8201 South Kingston"), and 8326-58 South Ellis Avenue, Chicago,


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Illinois 60619 ("8326-58 South Ellis"), whose commonly known addresses, permanent index

numbers, and legal descriptions are contained on Tab A hereto;

          WHEREAS, SSDF1 4520 S. Drexel LLC is the owner of record of the real estate located

at 4520-26 South Drexel Boulevard, Chicago, Illinois 60653 ("4520-26 South Drexel"), whose

commonly known address, permanent index number, and legal description is contained on Tab A

hereto;

          WHEREAS, EquityBuild is the owner of record of the real estate located at 7450 South

Luella Avenue, Chicago, Illinois 60649 ("7450 South Luella"), whose commonly known

address, permanent index number, and legal description is contained on Tab A hereto;

          WHEREAS, SSDF1 6751 S. Merrill LLC is the owner of record of the real estate located

at 6749-59 South Merrill Avenue, Chicago, Illinois 60649 ("6749-59 South Merrill"), whose

commonly known address, permanent index number, and legal description is contained on Tab A

hereto;

          WHEREAS, SSDF1 7110 S Cornell LLC is the owner of record of the real estate located

at 7110-16 South Cornell Avenue, Chicago, Illinois 60649 ("7110-16 South Cornell"), whose

commonly known address, permanent index number, and legal description is contained on Tab A

hereto;

          WHEREAS, 7109 S Calumet LLC is the owner of record of the real estate located at

7109-19 South Calumet Avenue, Chicago, Illinois 60619 ("7109-19 South Calumet"), whose

commonly known address, permanent index number, and legal description is contained on Tab A

hereto;

          WHEREAS, 7749-49 S. Yates LLC is the owner of record of the real estate located at

7749-59 South Yates Avenue, Chicago, Illinois 60649 ("7749-59 South Yates"), whose




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commonly known address, permanent index number, and legal description is contained on Tab A

hereto;

          WHEREAS, SSPH 6951 S Merrill LLC is the owner of record of the real estate located at

6949-59 South Merrill Avenue, Chicago, Illinois 60649 ("6949-59 South Merrill"), whose

commonly known address, permanent index number, and legal description is contained on Tab A

hereto;

          WHEREAS, the Court finds that the sales prices reflected in the Purchase And Sale

Agreements that the Receiver has accepted for the conveyances of 7600-10 South Kingston,

7546-48 South Saginaw, 7656-58 South Kingston, 8201 South Kingston, 8326-58 South Ellis,

4520-26 South Drexel, 7450 South Luella, 6749-59 South Merrill, 7110-16 South Cornell, 7109-

19 South Calumet, 7749-59 South Yates, and 6949-59 South Merrill (collectively, the

"Properties") are consistent with the fair market value of the Properties;

          WHEREAS, Kevin B. Duff, as receiver (“Receiver”) for the Receivership Defendants,

has filed a Fifth Motion For Approval Of The Sale Of Certain Real Estate And The Avoidance

Of Certain Mortgages, Liens, Claims, And Encumbrances (the “Motion”); and

          WHEREAS, the Court finds that Receiver has given fair, adequate, and sufficient notice

to all interested parties, including all mortgagees and other encumbrancers affected by the

Motion;

          NOW, THEREFORE, it is hereby ORDERED that:

          1.     The Motion is GRANTED.

          2.     The Receiver is authorized to sell the real property and improvements at 4520-26

South Drexel free and clear of that certain Multifamily Mortgage, Assignment Of Rents And

Security Agreement recorded August 9, 2017, as Document No. 1722149130 in favor of CBRE

Capital Markets, Inc. and last assigned to U.S. Bank, N.A., as Trustee for the Registered Holders



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of J.P. Morgan Chase Commercial Mortgage Securities Corp., Multifamily Mortgage Pass-

Through Certificates, Series 2018-SB41, as evidenced by Document No. 1732457116.

       3.      The Receiver is authorized to sell the real property and improvements at 7450 South

Luella free and clear of:

               a.      that certain Mortgage recorded July 14, 2015, as Document No.

       1519519126 in favor of Burnham 401K Trust, as to an undivided 0.75% interest; Sunwest

       Trust Custodian for Francis Webb Jr IRA, as to an undivided 4.55% interest; Gerry and

       Clarice Recamara, as to an undivided 5.05% interest; FDD Properties LLC, as to an

       undivided 10.10% interest; Edge Investments, LLC, as to an undivided 7.07% interest;

       Howard R Stoops and Betty J Stoops JTWROS, as to an undivided 8.42% interest; Equity

       Trust Company Custodian FBO Kevin Bybee IRA, as to an undivided 8.42% interest; 2nd

       City Solo 401K Trust, as to an undivided 16.84% interest; James A. Tutsock, as to an

       undivided 30.39% interest; and Penny Adams, as to an undivided 8.42% interest;

               b.      that certain Mortgage And Security Agreement recorded May 23, 2017, as

       Document No. 1714316084 in favor of UBS AG; the accompanying Assignment Of Leases

       And Rents recorded May 23, 2017, as Document No. 1714316085; and the accompanying

       Financing Statement filed May 23, 2017, as Document No. 1714316085;

               c.      that certain lis pendens recorded July 2, 2018, as Document No.

       1818318077 in connection with the case captioned Anson Markwell, as Trustee for the

       Amark Investment Trust v. EquityBuild, Inc., et al., United States District Court for the

       Southern District of Texas, Houston Division, Case No. 4:18-cv-01274.

       4.      The Receiver is authorized to sell the real property and improvements at 6749-59

South Merrill free and clear of that certain Multifamily Mortgage, Assignment Of Rents And

Security Agreement recorded February 8, 2018, as Document No. 1803919055 and last assigned



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to U.S. Bank, N.A., as Trustee for the Registered Holders of J.P. Morgan Chase Commercial

Mortgage Securities Corp., Multifamily Mortgage Pass-Through Certificates, Series 2018-SB50,

as evidenced by Document No. 1817957034.

       5.     The Receiver is authorized to sell the real property and improvements at 7110-16

South Cornell free and clear of that certain Multifamily Mortgage, Assignment Of Rents And

Security Agreement recorded February 8, 2018, as Document No. 1803919055 and last assigned

to U.S. Bank, N.A., as Trustee for the Registered Holders of J.P. Morgan Chase Commercial

Mortgage Securities Corp., Multifamily Mortgage Pass-Through Certificates, Series 2018-SB50,

as evidenced by Document No. 1817957034.

       6.     The Receiver is authorized to sell the real property and improvements at 7109-19

South Calumet free and clear of:

              a.      that certain Mortgage recorded October 17, 2014, as Document No.

       1429050012 in favor of Russell Waite and Ursula Waite, as to an undivided 2.78% interest;

       Peggy Christensen Living Trust dated September 16, 2011, as to an undivided 5.56%

       interest; Ashwin D. Patel, as to an undivided 11.56% interest; Navin Vardya, as to an

       undivided 5.56% interest; iPlanGroup Agent for Custodian FBO Mark Young IRA, as to

       an undivided 5.56% interest; Edge Investments, LLC, as to an undivided 3.61% interest;

       EZ NJ Ventures, LLC, as to an undivided 2.78% interest; Jerome B. Shaffer Trust, as to an

       undivided 5.56% interest; Focus4 Investments, LLC, as to an undivided 2.78% interest;

       R.D. Meredith General Contractors, LLC 401K Plan, as to an undivided 8.33% interest;

       Steven Canning, as to an undivided 5.56% interest; Optima Property Solutions, LLC, as to

       an undivided 11.11% interest; R2V2 Investments, LLC, as to an undivided 1.67% interest;

       Brown Rental Properties, LLC, as to an undivided 5.56% interest; iPlanGroup Agent for

       Custodian FBO Charles Michael Anglin IRA, as to an undivided 4.33% interest; 1839 Fund



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       I, LLC, as to an undivided 2.78% interest; Shankar Thiruppathi, as to an undivided 5.56%

       interest; John Love, as to an undivided 1.94% interest; Jackie Rowe, as to an undivided

       0.50% interest; Joe Siracusa, as to an undivided 2.78% interest; and Scott E. Pammer, as

       to an undivided 4.17% interest;

               b.     that certain Multifamily Mortgage, Assignment Of Rents And Security

       Agreement recorded February 7, 2017, as Document No. 1703816048 in favor of Red

       Mortgage Capital, LLC and last assigned to U.S. Bank, N.A., as Trustee for the Registered

       Holders of J.P. Morgan Chase Commercial Mortgage Securities Corp., Multifamily

       Mortgage Pass-through Certificates, Series 2017-SB30, by virtue of Document No.

       1713608071 recorded May 16, 2017; and

               c.     that certain lis pendens recorded July 2, 2018, as Document No.

       1818318076 in connection with the case captioned Anson Markwell, as Trustee for the

       Amark Investment Trust v. EquityBuild, Inc., et al., United States District Court for the

       Southern District of Texas, Houston Division, Case No. 4:18-cv-01274.

       7.      The Receiver is authorized to sell the real property and improvements at 7749-59

South Yates free and clear of:

               a.     that certain Mortgage, Assignment Of Leases And Rents, Fixture Filing,

       And Security Agreement recorded April 4, 2017, as Document No. 1709445117 in favor

       of 1111 Crest Drive LLC, as to an undivided 50% interest; Abraham Aaron Ebriani, as to

       an undivided 14% interest; Hamid Esmail, as to an undivided 14% interest; and Farsaa Inc,

       as to an undivided 22% interest;

               b.     that certain Assignment Of Mortgage recorded January 4, 2019, as

       Document No. 1900434067;




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             c.      that certain Mortgage recorded June 23, 2017, as Document No.

      1717413022 in favor of Advanta IRA Services, LLC FBO Dwight L. Plymale IRA

      #8006189, as to an undivided 3.35% interest; American Estate & Trust FBO Donald R.

      Hendrickson IRA, as to an undivided .35% interest; American Estate & Trust FBO Karen

      L. Hendrickson IRA, as to and undivided .35% interest; American Estate & Trust LC, FBO

      Lynn Kupfer’s IRA, as to an undivided 3.45% interest; American Estate and Trust, LC

      FBO Edward J. Netzel IRA, as to an undivided .35% interest; Amit Hammer, as to an

      undivided 1.04% interest; Cadaval Investment Trust FBO Manuel Cadaval Solo 401K, as

      to an undivided .86% interest; Clearwood Funding, LLC, as to an undivided 1.73% interest;

      David M. Harris, as to an undivided 3.45% interest; Duke E. Heger and Viviana Heger, as

      to an undivided 1.21% interest; Ed Bancroft, as to an undivided .17% interest; EquityBuild,

      Inc., as to an undivided 34.13% interest; Grathia Corporation, as to an undivided 3.45%

      interest; iPlan Group Agent for Custodian FBO Christopher Mora IRA, as to an undivided

      .21% interest; iPlan Group Agent for Custodian FBO Dana Speed IRA, as to an undivided

      5.83% interest; iPlan Group Agent for Custodian FBO Filomena Mora IRA, as to an

      undivided .11% interest; iPlan Group Agent for Custodian FBO Joshua Mora IRA, as to

      an undivided .14% interest; iPlan Group Agent for Custodian FBO Rama Voddi IRA, as

      to an undivided 1.14% interest; iPlan Group Agent for Custodian FBO Rosa Ricciardi IRA,

      as to an undivided .58% interest; iPlan Agent for Custodian FBO Janice G. Burrell IRA,

      as to an undivided 1.73% interest; iPlan Group Agent for Custodian FBO Paula Levand

      IRA, as to an undivided .41% interest; iPlan Group Agent for Custodian FBO Teena

      Ploeger IRA, as to an undivided .64% interest; iPlan Group Agent for Custodian FBO Todd

      Colucey IRA, as to a .28% interest; John E. Bloxham, as to an undivided 1.21% interest;

      John Witzigreuter, as to an undivided 1.73% interest; Joseph P. McCarthy, as to an



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       undivided .35% interest; Joshua A. Lapin, as to an undivided .86% interest; Keith P.

       Rowland and Jane E. Rowland, as to an undivided 1.73% interest; Keith Randall, as to an

       undivided 2.42% interest; Keven D. & Laura H. Allred JTWROS, as to an undivided 1.73%

       interest; KKW Investments, LLC, as to an divided .10% interest; Madison Trust Company

       Custodian FBO Guenter Scheel IRA M1702087, as to an undivided .86% interest; Madison

       Trust Company Custodian FBO James R. Talman IRA, as to an undivided .69% interest;

       Manuel Cadaval, as to an undivided .86% interest; Manuel Cadaval Custodian for Jacob

       A. Cadaval, as to an undivided .86% interest; Michael F. Grant & L. Gretchen Revocable

       Trust dated March 16, 2012, as to an undivided 1.73% interest; Michael Grow Jr., as to an

       undivided 3.45% interest; Naveen Kwatra, as to an undivided .86% interest; Optima

       Property Solutions, LLC, as to an undivided 3.45% interest; Patrick Connely, as to an

       undivided .69% interest; PNW Investments, LLC, as to an undivided .41% interest;

       Quantum Growth Holdings, LLC, as to an undivided .19% interest; Raymond Thompson

       Investment Trust, LLC, as to an undivided 1.04% interest; Seadog Properties, LLC, as to

       an undivided .83% interest; Shlomo Zussman, as to an undivided 1.73% interest; Steve

       Weera Tonasut and Esther Kon Tonasut, as trustees of the Tonasut Family Trust dated June

       14, 2004, as to an undivided 1.73% interest; Steven G. Mouty Trust, as to an undivided

       1.73% interest; Summit Trust Company, trustee David R. Theil MC PS PL Profit Sharing

       Keogh FBO David R. Theil Plan Administrator, as to an undivided .86% interest; Tolu

       Makinda, as to an undivided 1.04% interest; Wesley Pittman, as to an undivided 1.10%

       interest; and White Tiger Revocable Trust, as to an undivided 1.73% interest.

       8.     The Receiver is authorized to sell the real property and improvements at 7600-10

South Kingston free and clear of:




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             a.      that certain Mortgage recorded February 4, 2016 as Document No.

      1603550265 in favor of Equity Trust Company Custodian FBO John Allred IRA Account

      No 125952, as to a 1.39% interest; Equity Trust Company FBO Glenda K. Allred IRA

      Account No. 187991, as to a 0.19% interest; Equity Trust Company Custodian FBO Carly

      A. Allred Roth IRA Account No. 163781, as to a 0.14% interest; Fraser Realty Capital,

      LLC, as to a 0.70% interest; Spectra Investments, LLC, as to a 4.43% interest; Quest IRA

      Inc. FBO Rebeca E. Savory-Romero IRA Account No. 15528-11, as to a 1.40% interest;

      iPlanGroup Agent for Custodian FBO Frank Sohm IRA, as to a 0.55% interest; Private

      Finance Solutions, LLC, as to a 0.82% interest; Arthur Bertrand, as to a 0.61% interest;

      Equity Trust Company Custodian FBO Paula Levand CESA, as to a 0.65% interest; Don

      Minchow, as to a 3.86% interest; Asians Investing in Real Estate, LLC, as to a 5.26%

      interest; iPlanGroup Agent for Custodian FBO Jason Ragan IRA, as to a 1.04% interest;

      NuView IRA Inc. FBO Janet Eileen Taylor IRA, as to a 12.63% interest; Towpath

      Investments, LLC, as to a 0.88% interest; AdvantalRA Trust, LLC FBO Terry Merrill No.

      6820601, as to a 2.11% interest; Equity Trust Company Custodian FBO David M. Williams

      IRA No. Z51886, as to a 0.26% interest; TruStar Real Estate, LLC, as to a 7.37% interest;

      Vantage FBO Joseph S. Ratkovic IRA No. 16325, as to a 5.26% interest; David Marcus,

      as to a 31.42% interest; Paul N. Wilmesmeier, as to a 0.88% interest; CM Group, LLC, as

      to a 3.86% interest; Uyen Dinh, as to a 0.25% interest; Timothy Sharp, as to a 1.75%

      interest; iPlanGroup Agent for Custodian FBO Stephen J. Apple ROTH IRA, as to a 1.53%

      interest; Charwin Properties, LLC, as to a 0.18% interest; Nehasri ltd., as to a 1.86%

      interest; Janet Eileen Taylor, as to a 1.75% interest; Robert Maione, as to a 3.86% interest;

      and EquityBuild, Inc., as to a 3.10% interest.




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               b.     That certain Mortgage, Assignment Of Leases And Rents, Security

       Agreement And Fixture Filing recorded May 7, 2018, as Document No. 1812734048; that

       certain Assignment Of Leases And Rents recorded May 7, 2018 as Document No.

       1812734049; and that certain Financing Statement filed May 7, 2018 as Document No.

       1812734050;

               c.     that certain lis pendens recorded July 2, 2018, as Document No.

       1818318079 in connection with the case captioned Anson Markwell, as Trustee for the

       Amark Investment Trust v. EquityBuild, Inc., et al., United States District Court for the

       Southern District of Texas, Houston Division, Case No. 4:18-cv-01274; and

               d.     that certain lis pendens recorded August 15, 2018, as Document No.

       1822706116 in connection with that certain case captioned Michigan Shores Apartments,

       LLC v. EquityBuild, Inc., SSDF7 Portfolio 1, LLC, [and] Liberty EBCP LLC, Circuit Court

       of Cook County, Case No. 2018-CH-09098.

       9.      The Receiver is authorized to sell the real property and improvements at 8201 South

Kingston free and clear of:

               a.     that certain Mortgage recorded January 13, 2017 as Document No.

       1701318123 in favor of Matthew P. Hutchings, as to an undivided 18.18% interest;

       iPlanGroup Agent for Custodian FBO Mark Young IRA, as to an undivided 7.27% interest;

       Mark Young, as to an undivided 6.06% interest, Stuart Edelman, as to an undivided 9.09%

       interest; Madison Trust Company Custodian FBO Stuart Edelman # M1510082, as to an

       undivided 6.06% interest; Madison Trust Company Custodian FBO Arvind Kinjarapu IRA

       #M1608088, as to an undivided 12.12% interest; Madison Trust Company Custodian FBO

       David M. Geldart IRA #M1608105, as to an undivided 1.21% interest; Harendra Pal, as to

       an undivided 12.12% interest; Seadog Properties, LLC as to an undivided 7.27% interest;



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       iPlanGroup Agent for Custodian FBO Shelton Gandy IRA, as to an undivided 6.06%

       interest; Amit Hammer, as to an undivided 6.06% interest; Fraser Realty Investments, LLC

       as to an undivided 2.42% interest; iPlanGroup Agent for Custodian FBO Vladimir

       Matviishin IRA, as to an undivided 2.42% interest; MayREI, LLC, as to an undivided

       3.03% interest, and Umbrella Investment Partners, LLC, as to an undivided 0.61% interest.

              b.      That certain Mortgage, Assignment Of Leases And Rents, Security

       Agreement And Fixture Filing recorded May 7, 2018, as Document No. 1812734048; that

       certain Assignment Of Leases And Rents recorded May 7, 2018 as Document No.

       1812734049; and that certain Financing Statement filed May 7, 2018 as Document No.

       1812734050;

              c.      that certain lis pendens recorded July 2, 2018, as Document No.

       1818318080 in connection with the case captioned Anson Markwell, as Trustee for the

       Amark Investment Trust v. EquityBuild, Inc., et al., United States District Court for the

       Southern District of Texas, Houston Division, Case No. 4:18-cv-01274; and

              d.      that certain lis pendens recorded August 15, 2018, as Document No.

       1822706116 in connection with that certain case captioned Michigan Shores Apartments,

       LLC v. EquityBuild, Inc., SSDF7 Portfolio 1, LLC, [and] Liberty EBCP LLC, Circuit Court

       of Cook County, Case No. 2018-CH-09098.

       10.    The Receiver is authorized to sell the real property and improvements at 7656-58

South Kingston free and clear of:

              a.      that certain Mortgage recorded January 8, 2015 as Document No.

       1500616026 in favor of "The Persons Listed on Exhibit A;

              b.      that certain Mortgage, Assignment Of Leases And Rents, Security

       Agreement And Fixture Filing recorded May 7, 2018, as Document No. 1812734048; that



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       certain Assignment Of Leases And Rents recorded May 7, 2018 as Document No.

       1812734049; and that certain Financing Statement filed May 7, 2018 as Document No.

       1812734050; and

               c.      that certain lis pendens recorded July 2, 2018, as Document No.

       1818318079 in connection with the case captioned Anson Markwell, as Trustee for the

       Amark Investment Trust v. EquityBuild, Inc., et al., United States District Court for the

       Southern District of Texas, Houston Division, Case No. 4:18-cv-01274;

       11.     The Receiver is authorized to sell the real property and improvements at 8326-58

South Ellis free and clear of:

               a.      that certain Mortgage recorded July 10, 2017, as Document No.

       1719113030 in favor of Agee Family Trust, as to an undivided 1.25% interest; Annie

       Chang, as to an undivided 0.17% interest; Applefield Family Trust Dated July 25, 1997

       Paul S. Applefield and Robin Kahn Applefield, Trustees, as to an undivided 2.63% interest;

       Blue Mountain Ventures (S/D IRA), as to an undivided 1.64% interest; Brad & Linda Lutz,

       as to an undivided 1.25% interest; CAMA Plan F.B.O. Judith D Ferrara, Roth IRA, as to

       an undivided 0.63% interest; Danielle DeVarne, as to an undivided 1.25% interest; David

       and Leanne Ruesch, as to an undivided 1.25% interest; David Marcus, as to an undivided

       3.00% interest; DeeAnn Nason, as to an undivided 1.25% interest; Eleven St. Felix Street

       Realty Corp., as to an undivided 1.25% interest; EquityBuild, Inc., as to an undivided

       8.16% interest; Fredric R. Gottlieb, MD, PA Money Purchase Pension Plan, as to an

       undivided 1.88% interest; Fredric R. Gottlieb, Revocable Trust, DTD 7/31/08, as to an

       undivided 2.11% interest; Freyja Partners, a CA Limited Partnership, approved by

       Sangham Partners, LLC, Lyman Black manager, as to an undivided 1.25% interest; Girl

       Cat Capital West LLC, as to an undivided 2.50% interest; H. Coleman Scheuller, as to an



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      undivided 1.00% interest; Harendra Pal, as to an undivided 1.03% interest; Harvey Singer,

      as to an undivided 1.63% interest; Hoang-Small Trust, as to an undivided 1.25% interest;

      iPlan Group Agent for Custodian FBO Marvette Cofield IRA, as to an undivided 0.25%

      interest; iPlan Group Agent for Custodian FBO C Michael E Fowler IRA, as to an

      undivided 1.58% interest; iPlan Group Agent for Custodian FBO Ganpat Seunath

      Traditional IRA, as to an undivided 0.75% interest; iPlan Group Agent for Custodian FBO

      James B. Ploeger IRA, as to an undivided 0.43% interest; iPlan Group Agent for Custodian

      FBO Mark Young IRA, as to an undivided 1.13% interest; iPlan Group Agent for

      Custodian FBO Michael Dirnberger IRA, as to an undivided 0.13% interest; iPlan Group

      Agent for Custodian FBO Swetha Voddi IRA, as to an undivided 0.35% interest; iPlan

      Group Agent for Custodian FBO Virginia Oton IRA, as to an undivided 0.24% interest;

      IRA Services Trust Custodian FBO Ronald Stephen Klein IRA, as to an undivided 1.25%

      interest; John Wysocki, as to an undivided 0.25% interest; Joseph P. McCarthy, as to an

      undivided 0.38% interest; Keith Randall, as to an undivided 2.50% interest; Kevin Randall,

      as to an undivided 1.75% interest; KKW Investments, LLC, as to an undivided 0.15%

      interest; Kon Family Trust dated April 26, 2002, as to an undivided 1.25% interest; Leonard

      A. Grosso, as to an undivided 1.25% interest; Madison Trust Co, Custodian FBO Sonia

      Silver IRA #M1612049, as to an undivided 1.25% interest; Madison Trust Company

      Custodian FBO Arvind Kinjarapu IRA #M1608088, as to an undivided 0.26% interest;

      Madison Trust Company Custodian FBO David E. Chambers Roth IRA M1701035, as to

      an undivided 0.70% interest; Madison Trust Company Custodian FBO David E. Chambers

      Traditional IRA M1071034, as to an undivided 0.57% interest; Madison Trust Company

      Custodian FBO George Black M1612041, as to an undivided 1.70% interest; Madison

      Trust Company Custodian FBO Judy Newton IRA, as to an undivided 1.25% interest;



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      Madison Trust Company Custodian FBO Scott Eaton IRA, as to an undivided 1.50%

      interest; Madison Trust Company Custodian FBO Nathan Hennefer M1612122, as to an

      undivided 1.10% interest; MayREI LLC, as to an undivided 1.25% interest; Michael Burns,

      as to an undivided 1.25% interest; Michael F. Grant & L. Gretchen Grant Revocable Trust

      Dated March 16 2012, as to an undivided 0.88% interest; Mike Prokop, as to an undivided

      1.25% interest; Next Generation TS FBO Elain Sison Ernst IRA 2410, as to an undivided

      2.50% interest; Nicholas C Jenks and Joyce R Jenks JTWROS, as to an undivided 0.63%

      interest; Optima Property Solutions, LLC, as to an undivided 1.25% interest; Pat Desantis,

      as to an undivided 6.25% interest; Paul Harrison, as to an undivided 0.63% interest; Paul

      N. Wilmesmeier, as to an undivided 1.25% interest; Pensco Trust Company Custodian

      FBO Kathleen Robinson IRA, as to an undivided 0.31% interest; Peter Gelinas, as to an

      undivided 0.32% interest; Phillip Silver Trust dated 12/11/08, as to an undivided 1.25%

      interest; Phyllis Harte and Irys Schenker, as to an undivided 0.38% interest; Raymond

      Thompson Investment Trust, LLC, as to an undivided 1.25% interest; Samuel R. Cratis, as

      to an undivided 1.88% interest; Self Directed IRA Services, Inc. Custodian FBO Asbury

      Robert Lockett IRA #201632849, as to an undivided 2.50% interest; Shaw Family Trust, a

      revocable trust, as to an undivided 1.25% interest; Simon Usuga, as to an undivided 1.25%

      interest; Stephen W. and Bonnie L Young Revocable Trust, as to an undivided 1.25%

      interest; Steven Bald, as to an undivided 1.50% interest; Strategis Wealth Ventures, LLC,

      as to an undivided 0.25% interest; Susan Kalisiak, as to an undivided 1.00% interest; The

      Bellandi Group, LLC, as to an undivided 1.25% interest; The Moore/Ferrer family 2004

      trust, as to an undivided 2.50% interest; TruStar Real Estate, LLC, as to an undivided

      0.63% interest; Umbrella Investment Partners, LLC, as to an undivided 0.31% interest;

      Vantage Custodia FBO Sidney Haggains IRA, as to an undivided 0.50% interest; Viren R.



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       Patel, as to an undivided 1.25% interest; Vladimir Matviishin, dba Network Expert, as to

       an undivided 1.25% interest; and Wiegert Tierie, as to an undivided 2.50% interest.

              b.      that certain Mortgage, Assignment Of Leases And Rents, Security

       Agreement And Fixture Filing recorded May 7, 2018, as Document No. 1812734045; that

       certain Assignment Of Leases And Rents recorded May 7, 2018 as Document No.

       1812734046; and that certain Financing Statement filed May 7, 2018 as Document No.

       1812734047.

              c.      that certain lis pendens recorded July 2, 2018, as Document No.

       1818318078 in connection with the case captioned Anson Markwell, as Trustee for the

       Amark Investment Trust v. EquityBuild, Inc., et al., United States District Court for the

       Southern District of Texas, Houston Division, Case No. 4:18-cv-01274; and

              d.      that certain lis pendens recorded August 15, 2018, as Document No.

       1822706116 in connection with that certain case captioned Michigan Shores Apartments,

       LLC v. EquityBuild, Inc., SSDF7 Portfolio 1, LLC, [and] Liberty EBCP LLC, Circuit Court

       of Cook County, Case No. 2018-CH-09098.

       12.    The Receiver is authorized to sell the real property and improvements at 7546-48

South Saginaw free and clear of:

              a.      that certain Mortgage recorded February 4, 2016 as Document No.

       1603550263 in favor of Paul N. Wilmesmeier, as to an undivided 5.45% interest; Equity

       Trust Company Custodian FBO Marvette Cofield SEP IRA, as to an undivided 0.73%

       interest; Equity Trust Company Custodian FBO Marvette Cofield Roth IRA, as to an

       undivided 1.09% interest; Peter P. Nuspl, as to an undivided 6.22% interest; Kevin Scheel,

       as to an undivided 0.55% interest; Michael & Gretchen Grant, JTWROS, as to an undivided

       8.00% interest; Louis Duane Velez, LLC, as to an undivided 3.64% interest; Sohm



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      Strategic Investments, LLC, as to an undivided 3.64% interest; Joseph P. McCarthy, as to

      an undivided 3.25% interest; Eleven St Felix Street Realty Corp., as to an undivided 3.64%

      interest; Katie Whitlock, as to an undivided 3.64% interest; iPlanGroup Agent for

      Custodian FBO Richard Lohman IRA, as to an undivided 10.91% interest; iPlanGroup

      Agent for Custodian FBO Gina Ricciardi Meyer IRA, as to an undivided 2.18% interest;

      Gregory M. Wetz, as to an undivided 3.64% interest; GRB Properties, LLC, as to an

      undivided 0.73% interest; Horizon Trust Company Custodian FBO Terry M. McDonald

      IRA, as to an undivided 6.35% interest; Penny Adams Inc. Solo 401K Trust, as to an

      undivided 2.98% interest; Asians Investing in Real Estate, LLC, as to an undivided 14.55%

      interest; John Wysocki, as to an undivided 0.87% interest; iPlanGroup Agent for Custodian

      FBO Jacqueline Rowe IRA, as to an undivided 1.24% interest; Equity Trust Company

      Custodian FBO Sidney Haggins IRA, as to an undivided 1.45% interest; Petra Zoeller, as

      to an undivided 3.64% interest; Equity Trust Company Custodian FBO John B. Allred IRA

      (acct. no. 125952), as to an undivided 1.67% interest; Samir S. Totah and Norma S. Totah

      Declaration of Trust dated March 2000, as to an undivided 3.64% interest; and Hiroyuki

      Roy Chin & Lillian S. Chin JTWROS, as to an undivided 3.65% interest;

             b.      that certain Assignment Of Partial Interest In Mortgage recorded

      October 19, 2017, as Document No. 1734944037;

             c.      that certain Assignment Of Partial Interest In Mortgage recorded December

      15, 2017, as Document No. 1728613039;

             d.      that certain Mortgage, Assignment Of Leases And Rents, Security

      Agreement And Fixture Filing recorded May 7, 2018, as Document No. 1812734045; that

      certain Assignment Of Leases And Rents recorded May 7, 2018 as Document No.




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        1812734049; and that certain Financing Statement filed May 7, 2018 as Document No.

        1812734050;

                e.      that certain lis pendens recorded July 2, 2018, as Document No.

        1818318078 in connection with the case captioned Anson Markwell, as Trustee for the

        Amark Investment Trust v. EquityBuild, Inc., et al., United States District Court for the

        Southern District of Texas, Houston Division, Case No. 4:18-cv-01274; and

                f.      that certain lis pendens recorded August 15, 2018, as Document No.

        1822706115 in connection with that certain case captioned Michigan Shores Apartments,

        LLC v. EquityBuild, Inc., SSDF7 Portfolio 1, LLC, [and] Liberty EBCP LLC, Circuit Court

        of Cook County, Case No. 2018-CH-09098.

        13.     The Receiver is authorized to sell the real property and improvements at 6949-59

South Merrill free and clear of that certain Mortgage, Assignment Of Leases And Rents, Security

Agreement And Fixture Filing recorded September 14, 2017 as Document 1725729063 in favor

of Thorofare Asset Based Lending REIT Fund IV, LLC.

        14.     The Receiver is hereby vested with full power and authority to execute any and all

closing documents associated with the conveyances of the Properties, including, but not limited

to, deeds, bills of sale, affidavits of title, and settlement statements.

        15.     The proceeds from the sales of the Properties shall be held by the Receiver in

separate subaccounts for which the Receiver shall maintain an accounting as to all sums deposited

therein, and shall not be available to pay operating expenses of the Receivership nor for any other

expense or distribution, absent further order of Court.

                                                         Entered:


                                                         The Honorable John Z. Lee

                                                         Date:


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                                 TAB A
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7600-10 SOUTH KINGSTON
CHICAGO, ILLINOIS 60649
SSDF7 PORTFOLIO 1 LLC
21-30-309-030-0000

LOTS 1, 2 AND 3, IN BLOCK 7, IN SOUTH SHORE PARK, BEING A SUBDIVISION OF THE WEST HALF OF THE
SOUTHWEST QUARTER (EXCEPT STREETS) OF SECTION 30, TOWNSHIP 38 NORTH, RANGE 15, EAST OF
THE THIRD PRINCIPAL MERIDIAN, IN COOK COUNTY, ILLINOIS.

7546-48 SOUTH SAGINAW
CHICAGO, ILLINOIS 60649
SSDF7 PORTFOLIO 1 LLC
21-30-304-020-0000

THE SOUTH HALF OF LOT 10 IN DIVISION 2 OF WESTFALL'S SUBDIVISION OF 208 ACRES, BEING THE EAST
HALF OF THE SOUTHWEST QUARTER AND THE SOUTHEAST FRACTIONAL QUARTER OF SECTION 30,
TOWNSHIP 38 NORTH, RANGE 15 EAST OF THE THIRD PRINCIPAL MERIDIAN, IN COOK COUNTY, ILLINOIS.

7656-58 SOUTH KINGSTON
CHICAGO, ILLINOIS 60649
SSDF7 PORTFOLIO 1 LLC
21-30-309-026-0000

LOT 18 IN BLOCK 7 IN SOUTH SHORE PARK, BEING SUBDIVISION OF THE WEST HALF OF THE SOUTHWEST
QUARTER IN SECTION 30, TOWNSHIP 38 NORTH, RANGE 15 EAST OF THE THIRD PRINCIPAL MERIDIAN,
IN COOK COUNTY, ILLINOIS.

8201 SOUTH KINGSTON
CHICAGO, ILLINOIS 60617
SSDF7 PORTFOLIO 1 LLC
21-31-126-001-0000

LOT 38 (EXCEPT THE SOUTH 28 AND ONE HALF FEET THEREOF) AND ALL OF LOTS 39 AND 40 IN BLOCK 4
IN THE SUBDIVISION OF LOTS 1 TO 10, BOTH INCLUSIVE, IN CHARLES RINGER'S SOUTH SHORE ADDITION,
BEING A SUBDIVISION OF THE EAST HALF OF THE SOUTHWEST QUARTER OF THE NORTHWEST QUARTER
OF SECTION 31, TOWNSHIP 38 NORTH, RANGE 15 EAST OF THE THIRD PRINCIPAL MERIDIAN (EXCEPT
THE SOUTH 33 FEET THEREOF TAKEN FOR WIDENING EAST 83RD STREET) IN COOK COUNTY, ILLINOIS.

8326-32 SOUTH ELLIS
CHICAGO, ILLINOIS 60619
SSDF7 PORTFOLIO 1 LLC
20-35-303-096-0000

THE NORTH 87.50 FEET OF LOTS 11 TO 24, INCLUSIVE, (TAKEN AS A TRACT), IN BLOCK 1, IN MOORE'S
SUBDIVISION OF THE NORTHEAST QUARTER OF THE NORTHWEST QUARTER OF THE SOUTHWEST
QUARTER OF SECTION 35, TOWNSHIP 38 NORTH, RANGE 14 EAST OF THE THIRD PRINCIPAL MERIDIAN,
IN COOK COUNTY, ILLINOIS.
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8334-40 SOUTH ELLIS
CHICAGO, ILLINOIS 60619
SSDF7 PORTFOLIO 1 LLC
20-35-303-097-0000

THE SOUTHERLY 87.50 FEET OF THE NORTH 175.00 FEET OF LOTS 11 TO 24, INCLUSIVE, (TAKEN AS A
TRACT), IN BLOCK 1, IN MOORE'S SUBDIVISION OF THE NORTHEAST QUARTER OF THE NORTHWEST
QUARTER OF THE SOUTHWEST QUARTER OF SECTION 35, TOWNSHIP 38 NORTH, RANGE 14 EAST OF THE
THIRD PRINCIPAL MERIDIAN, IN COOK COUNTY, ILLINOIS.

8342-50 SOUTH ELLIS
CHICAGO, ILLINOIS 60619
SSDF7 PORTFOLIO 1 LLC
20-35-303-098-0000

THE SOUTHERLY 87.50 FEET OF THE NORTH 262.50 FEET OF LOTS 11 TO 24, INCLUSIVE, (TAKEN AS A
TRACT), IN BLOCK 1, IN MOORE'S SUBDIVISION OF THE NORTHEAST QUARTER OF THE NORTHWEST
QUARTER OF THE SOUTHWEST QUARTER OF SECTION 35, TOWNSHIP 38 NORTH, RANGE 14 EAST OF THE
THIRD PRINCIPAL MERIDIAN, IN COOK COUNTY, ILLINOIS.

8352-58 SOUTH ELLIS
CHICAGO, ILLINOIS 60619
SSDF7 PORTFOLIO 1 LLC
20-35-303-099-0000

LOTS 11 TO 24, INCLUSIVE, TAKEN AS A TRACT (EXCEPT THE NORTH 262.50 FEET THEREOF), IN BLOCK 1,
IN MOORE'S SUBDIVISION OF THE NORTHEAST QUARTER OF THE NORTHWEST QUARTER OF THE
SOUTHWEST QUARTER OF SECTION 35, TOWNSHIP 38 NORTH, RANGE 14 EAST OF THE THIRD PRINCIPAL
MERIDIAN, IN COOK COUNTY, ILLINOIS.

4520-26 SOUTH DREXEL
CHICAGO, ILLINOIS 60653
SSDF1 4520 S. DREXEL LLC
20-02-311-016-0000

LOTS 5 AND 6 IN HAINES, SIDNEY AND LAYTON'S SUBDIVISION OF BLOCK 6 IN WALKER AND STINSON'S
SUBDIVISION OF THE WEST HALF OF THE SOUTHWEST QUARTER OF SECTION 2, TOWNSHIP 38 NORTH,
RANGE 14 EAST OF THE THIRD PRINCIPAL MERIDIAN, IN COOK COUNTY, ILLINOIS.

7450 SOUTH LUELLA
CHICAGO, ILLINOIS 60649
EQUITYBUILD, INC.
20-25-225-027-0000
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LOT 2 (EXCEPT THE WEST 65 FEET THEREOF) IN HOOKER'S SUBDIVISION OF THE SOUTH 120 FEET OF
LOTS 11 TO 15 INCLUSIVE IN BLOCK 8 IN STAVE AND KLEMM'S SUBDIVISION OF THE NORTHEAST
QUARTER OF SECTION 25, TOWNSHIP 38 NORTH, RANGE 14, EAST OF THE THIRD PRINCIPAL MERIDIAN,
IN COOK COUNTY, ILLINOIS.

6749-59 SOUTH MERRILL
CHICAGO, ILLINOIS 60649
SSDF1 6751 S. MERRILL LLC
20-24-403-006-0000

LOT 9 (EXCEPT THE NORTH 10 FEET THEREOF) AND LOT 10 IN FIRST ADDITION TO BRYN MAWR
HIGHLANDS, A SUBDIVISION OF NORTH THREE QUARTERS OF WEST HALF OF SOUTHEAST QUARTER OF
SECTION 24, TOWNSHIP 38 NORTH, RANGE 14, EAST OF THE THIRD PRINCIPAL MERIDIAN, IN COOK
COUNTY, ILLINOIS.

7110-16 SOUTH CORNELL
CHICAGO, ILLINOIS 60649
SSDF1 7110 S CORNELL LLC
20-25-100-014-0000

LOTS 29, 30, 31 AND 32 IN THE SUBDIVISION OF BLOCK 2 IN CONRAD SEIPP’S SUBDIVISION OF THE WEST
HALF OF THE NORTHWEST QUARTER OF SECTION 25, TOWNSHIP 38 NORTH, RANGE 14, EAST OF THE
THIRD PRINCIPAL MERIDIAN, IN COOK COUNTY, ILLINOIS.

7109-19 SOUTH CALUMET
CHICAGO, ILLINOIS 60619
7109 S CALUMET LLC
20-27-105-003-0000 (PARCEL 1)
20-27-105-004-0000 (PARCEL 2)
20-27-105-005-0000 (PARCEL 3)

PARCEL 1: LOT 11 (EXCEPT THE SOUTH 95 FEET AND 8 INCHES THEREOF) AND THE SOUTH 43 FEET AND 4
INCHES OF LOT 12 IN BLOCK 1 IN PRESCOTT'S SUBDIVISION OF THE EAST HALF OF THE NORTHWEST
QUARTER OF SECTION 27, TOWNSHIP 38 NORTH, RANGE 14, EAST OF THE THIRD PRINCIPAL MERIDIAN,
IN COOK COUNTY, ILLINOIS.

PARCEL 2: THE NORTH 47 FEET AND 7 INCHES OF THE SOUTH 95 FEET AND 8 INCHES OF LOT 11 IN
BLOCK 1 IN PRESCOTT'S SUBDIVISION OF THE EAST HALF OF THE NORTHWEST QUARTER OF SECTION 27,
TOWNSHIP 38 NORTH, RANGE 14, EAST OF THE THIRD PRINCIPAL MERIDIAN, IN COOK COUNTY,
ILLINOIS.

PARCEL 3: THE SOUTH 48 FEET AND 1 INCH OF LOT 11 IN BLOCK 1 IN PRESCOTT'S SUBDIVISION OF THE
EAST HALF OF THE NORTHWEST QUARTER OF SECTION 27, TOWNSHIP 38 NORTH, RANGE 14, EAST OF
THE THIRD PRINCIPAL MERIDIAN, IN COOK COUNTY, ILLINOIS.

7749-59 SOUTH YATES
CHICAGO, ILLINOIS 60649
7749-49 S. YATES LLC
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21-30-318-013-0000

LOTS 19, 20 AND 21 IN BLOCK 12 IN SOUTH SHORE PARK, BEING A SUBDIVISION OF THE WEST HALF OF
THE SOUTHWEST QUARTER OF SECTION 30, TOWNSHIP 38 NORTH, RANGE 15, EAST OF THE THIRD
PRINCIPAL MERIDIAN, IN COOK COUNTY, ILLINOIS.

6949-59 SOUTH MERRILL
CHICAGO, ILLINOIS 60649
SSPH 6951 S MERRILL LLC
20-24-417-014-0000

LOTS 29 AND 30, IN FIRST ADDITION TO BRYN MAWR HIGHLANDS, A SUBDIVISION OF NORTH 3/4 OF
WEST HALF OF THE SOUTHEAST QUARTER OF THE NORTHEAST QUARTER OF SECTION 24, TOWNSHIP 38
NORTH, RANGE 14, EAST OF THE THIRD PRINCIPAL MERIDIAN, IN COOK COUNTY, ILLINOIS.
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                                                                         TAB D
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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

                                                  )
 UNITED STATES SECURITIES                         )
 AND EXCHANGE COMMISSION,                         )
                                                  )
                       Plaintiff,                 )     Civil Action No. 18-cv-5587
                                                  )
 v.                                               )     Hon. John Z. Lee
                                                  )
 EQUITYBUILD, INC., EQUITYBUILD                   )     Magistrate Judge Young B. Kim
 FINANCE, LLC, JEROME H. COHEN,                   )
 and SHAUN D. COHEN,                              )
                                                  )
                       Defendants.                )
                                                  )

                                            ORDER

       WHEREAS, Kevin B. Duff, as receiver (“Receiver”) for Estate of Defendants EquityBuild,

Inc., EquityBuild Finance, LLC, their affiliates, and the affiliate entities of Defendants Jerome

Cohen and Shaun Cohen (collectively, the “Receivership Defendants”), filed a Motion To Amend

Order Appointing Receiver, and the Court having been fully advised in the premises;

       NOW, THEREFORE, it is hereby ORDERED that:

       1.     The Receiver’s Motion is granted.

       2.     The Order Appointing Receiver entered August 17, 2018 (Docket No. 16) is

              amended by deleting 11117 S Longwood LLC from the list of entities enumerated

              in Paragraph 1 and substituting SSPH 11117 S Longwood LLC in its place, and by

              adding SSDF1 4520 S. Drexel LLC as a Receivership Defendant.

                                            ENTERED:

                                            ___________________________________
                                            John Z. Lee, United States District Judge


                                            Date: _________________________
